                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    MISSION COAL COMPANY, LLC, et al.,1                         )        Case No. 18-04177-TOM11
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

                         DEBTORS’ MOTION FOR ENTRY OF
                      AN ORDER (I) AUTHORIZING THE DEBTORS
               TO ENTER INTO AND PERFORM UNDER THE STALKING
             HORSE PURCHASE AGREEMENT, (II) APPROVING BIDDING
              PROCEDURES FOR THE SALE OF THE DEBTORS’ ASSETS,
             (III) SCHEDULING HEARINGS AND OBJECTION DEADLINES
        WITH RESPECT TO THE SALE, (IV) SCHEDULING BID DEADLINES AND
         AN AUCTION, (V) APPROVING THE FORM AND MANNER OF NOTICE
       THEREOF, (VI) APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT
                PROCEDURES, AND (VII) GRANTING RELATED RELIEF

             Mission Coal Company, LLC and its debtor affiliates, as debtors and debtors in possession

in the above-captioned chapter 11 cases (collectively, the “Debtors”),2 respectfully state the

following in support of this motion (this “Motion”):




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak Grove Land Company,
      LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC (6070); Pinnacle Mining
      Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631); Seminole Coal Resources, LLC
      (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal Resources, LLC (1816); and Seneca
      North American Coal, LLC (5102). The location of the Debtors’ service address is: 7 Sheridan Square, Suite
      300, Kingsport, Tennessee 37660.

2     A detailed description of the Debtors and their businesses, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of Kevin Nystrom, Chief Restructuring Officer
      of Mission Coal Company, LLC, in Support of Chapter 11 Petitions and First Day Motions [Docket No. 21]
      (the “First Day Declaration”), filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
      chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), on October 14, 2018
      (the “Commencement Date”), and fully incorporated herein by reference.




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                                              Introduction

        1.      The Debtors commenced these chapter 11 cases to facilitate the consensual sale of

substantially all of their assets through a plan of reorganization that will maximize value for the

benefit of all stakeholders. With that goal in mind, the Debtors seek to expeditiously establish

Court-approved bidding procedures for a sale of substantially of their assets.3

        2.      To that end, the Debtors’ debtor in possession financing facility (the “DIP Facility”)

provides for various case milestones that pave a clear path forward for these chapter 11 cases. In

particular, the DIP milestones provide that: (a) by November 27, 2018, the Debtors file this Motion

(which date has been extended to December 5, 2018); (b) by December 17, 2018, the Debtors file

the Plan; (c) by December 19, 2018, the Debtors obtain entry of the Order approving this Motion;

(d) by January 21, 2019, bids for all or certain of the Debtors’ assets are due; (e) by February 27,

2019, the Debtors will hold an Auction; and (f) by April 12, 2019, the Debtors will have effectuated

the Sale.

        3.      The DIP Lenders have agreed to provide the Stalking Horse Bid to set the floor

price for certain of the Debtors’ assets, in the form of a credit bid by the DIP Lenders pursuant to

the terms of the Stalking Horse Purchase Agreement. The Debtors have determined, in the exercise

of their business judgment, that the best way to maximize the value of their assets for all

stakeholders is to market-test the Stalking Horse Bid through an auction process and to

expeditiously sell the assets to the highest or otherwise best bidder (or bidders).

        4.      To implement the marketing and sale process and thereby maximize value for all

stakeholders, the Debtors submit this Motion, seeking for the Court to (a) approve the Bidding


3   The Debtors anticipate filing a disclosure statement (the “Disclosure Statement”), a chapter 11 plan (the
    “Plan”), and a motion for approval of the Disclosure Statement on December 17, 2019, which will set forth
    the contemporaneous Plan confirmation schedule and will propose that the approval of the Sale occur in
    connection with approval of the Plan at the confirmation hearing.


                                                     2


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Procedures for the sale of substantially all of the Debtors’ assets, (b) set dates and deadlines in

connection therewith (including a bid deadline, the date of the auction, and the hearing dates and

objection deadlines relating to the Sale), (c) approve the form and manner of notice of each of the

foregoing, (d) approve procedures for the assumption and assignment of certain executory

contracts and unexpired leases in connection with the Sale and (e) grant related relief. The Debtors

also seek authority to enter into the Stalking Horse Purchase Agreement with the Stalking Horse

Bidder, which importantly, does not provide for a break-up fee or expense reimbursement and will

serve as a competitive baseline bid for the auction for the Debtors’ assets.

       5.      Time is of the essence. The Debtors face important milestones and deadlines under

the DIP Facility that, absent extension, could lead either to the Debtors having to cease operations

or incur significant expense to refinance the DIP Facility. At the same time, the Debtors seek to

minimize the time and expense in chapter 11, and ensure sufficient liquidity to fund their chapter

11 process. The Sale would resolve these chapter 11 cases, cut off the expense of bankruptcy, and

permit the Debtors to distribute the value generated by the sale of assets to their stakeholders. The

Debtors hope and expect to continue discussions with creditors regarding their sale and

restructuring efforts and obtain substantial consensus regarding the chapter 11 process quickly.

       6.      The Debtors believe that an expeditious Sale process will maximize the ultimate

value realized by its stakeholders. Moreover, the Debtors believe that the Bidding Procedures,

entry into the Stalking Horse Purchase Agreement, and the related relief requested in this Motion

are in the best interests of the Debtors’ estates and their stakeholders. Accordingly, the Debtors

respectfully request that the Court grant this Motion.

                                         Relief Requested

       7.      The Debtors hereby seek entry of an order (the “Order”), substantially in the form

attached hereto as Exhibit A:

                                                 3


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                           a. authorizing the Debtors to enter into that certain Asset Purchase
                              Agreement attached to the Bidding Procedures Order as Exhibit 1
                              (the “Stalking Horse Purchase Agreement”);4

                           b. approving the proposed bidding procedures attached as Exhibit 2 to
                              the Order (the “Bidding Procedures”) in connection with a sale
                              (the “Sale”) of all, substantially all, or any combination of the Debtors’
                              assets (collectively, the “Assets”) free and clear of all claims, liens, and
                              encumbrances;

                           c. scheduling (x) an auction in connection with the Sale (the “Auction”),
                              (y) hearing dates in connection with approval of the Sale (the “Sale
                              Hearing”); and (z) the objection deadline for the Sale Hearing
                              (collectively, the “Sale Schedule”);

                           d. approving the form and manner of notice of the Auction and Sale
                              Hearing, attached to the Bidding Procedures Order as Exhibit 3 (the
                              “Sale Notice”);

                           e. approving procedures (the “Assumption Procedures”) for the
                              assumption and assignment of certain executory contracts and
                              unexpired leases in connection with the Sale (collectively,
                              the “Assigned Contracts”), and approving the form and manner of
                              notice thereof, attached as Exhibit 4 to the Bidding Procedures Order
                              (the “Cure Notice”); and

                           f. granting any related relief.

                                           Jurisdiction and Venue

        8.       The United States Bankruptcy Court for the Northern District of Alabama

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

General Order of Reference from the United States District Court for the Northern District of

Alabama, dated July 16, 1984, as amended July 17, 1984. The Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to



4   At the time of the filing of this Motion, the Stalking Horse Purchase Agreement has not yet been finalized and
    the terms described herein are subject to material revision in connection with the ongoing negotiations regarding
    the Stalking Horse Purchase Agreement. A current draft of the Stalking Horse Purchase Agreement as proposed
    by the Debtors is attached to the proposed Order as Exhibit 1. The Stalking Horse Bidder has not consented to
    certain items as reflected in the Stalking Horse Purchase Agreement, and all of the Debtors and the Stalking Horse
    Bidder’s respective rights are hereby reserved in full.


                                                         4


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the entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       9.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       10.     The bases for the relief requested herein are sections 105(a) and 363 of the

Bankruptcy Code and Bankruptcy Rules 2002, 3016, 3017, 3020, and 6004.

                                           Background

       11.     The Debtors are engaged in the mining and production of metallurgical coal, also

known as “met” coal, which is a critical component of the steelmaking process. Established

through a series of acquisitions, the Debtors are among the leading producers of met coal in the

United States. The Debtors are headquartered in Kingsport, Tennessee and operate subterranean,

surface, and longwall mining complexes in West Virginia and Alabama.

       12.     On the Commencement Date, each Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their business and managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

The Debtors’ cases have been consolidated for procedural purposes only and are being jointly

administered pursuant to Bankruptcy Rule 1015(b) [Docket No. 63]. On October 25, 2018, the

Bankruptcy Administrator for the Northern District of Alabama appointed the official committee

of unsecured creditors pursuant to section 1102 of the Bankruptcy Code [Docket No. 147].




                                                 5


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                                  Proposed Sale and Bidding Procedures

I.        Summary of Key Terms of the Stalking Horse Purchase Agreement.5

          13.      The pertinent terms of the Stalking Horse Purchase Agreement are summarized in

the following table.6


            Term                                             Summary Description

    Purchase Price             Credit Bid: $145,000,000.00
                               Funding of Wind-Down and Other Chapter 11 Expenses: Prior to the hearing
                               approving the Sale in March, the Company will come to agreement with the
                               Stalking Horse Bidder on the amounts of various escrow accounts necessary to
                               fund professional fees, pre-closing payroll obligations and chapter 11
                               administrative expenses and wind-down costs.

    Bid Protections            Breakup Fee: None
                               Expenses Reimbursement: None

    Acquired Assets            Generally, Buyer is purchasing all assets related to the operations of Maple
                               Eagle (West Virginia) and Oak Grove (Alabama) mining facilities.
                               Buyer is going to acquire certain assets of Pinnacle and has the right between
                               signing and closing to determine what assets of Pinnacle and Seminole
                               Alabama that it will acquire.
                               Specific assets that Buyer is acquiring include:
                                   •    Inventory and Equipment
                                   •    Assumed Contracts (for which it will pay cure costs)
                                   •    Owned and leased real property
                                   •    Coal reserves related to the acquired mines
                                   •    Cash, including cash collateral used to secure surety bonds associated
                                        with acquired assets, and Accounts Receivable
                                   •    Certain Avoidance Actions against trade creditors
                                   •    Insurance Policies
                                   •    Proceeds from the sale of any Excluded Assets other than Avoidance
                                        Actions up to a permitted amount



5     Capitalized terms used in this section but not defined herein shall have the meanings ascribed to them in the
      Stalking Horse Purchase Agreement.

6     The following summary is provided for convenience purposes only.


                                                         6


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         Term                                           Summary Description
                              •   Claims of the Company against third parties

Excluded Assets           Buyer will not be acquiring certain assets, namely assets under benefit plans,
                          employee records and files, tax returns, the North River Mine and Kellerman
                          Mine, and any entities (subsidiaries).

Assumed Liabilities       Buyer will assume certain liabilities of the business, including liabilities for:
                              •   Reclamation under transferred permits
                              •   Reclamation at Pinnacle (unless another buyer purchases and assumes
                                  that)
                              •   Assumed contracts and any cure costs associated with them
                              •   Outstanding trade payables in accordance with the DIP Budget
                              •   Transfer Taxes
                              •   Accrued and unpaid real property taxes

Excluded Liabilities      The Buyer will not be assuming numerous liabilities, including liabilities for
                          workers compensation, certain employee related liabilities, including under the
                          Black Lung Act and Collective Bargaining Agreements

Sale of Assets Free and On the Closing Date, the Acquired Assets will be transferred to Buyer free and
Clear of Interests      clear of all obligations, Liabilities and Encumbrances (including all successor
                        liability and any successorship obligations under any Collective Bargaining
                        Agreement, and/or with respect to any Benefit Plan), other than the Permitted
                        Encumbrances and the Assumed Liabilities (Section 7.9).

Closing Conditions       The APA is conditioned on the UMWA waiving the successor clause in the
                         CBA or the Bankruptcy Court approved the rejection of the CBA.
                         In addition, the APA contains usual and customary conditions to closing
                         relating to the truth of representations and warranties, performance of
                         covenants, receipt of Regulatory Approvals (e.g., HSR), no Material Adverse
                         Effect having occurred and the Bankruptcy Court entering the Sale Order.

Termination Events        The APA may be terminated (Section 11.1) at any time prior to the Closing
                          only by:
                              •   Mutual written consent
                              •   Written notice from either party if (i) a Governmental Authority issues
                                  a final ruling or order prohibiting the transaction, (ii) the Closing does
                                  not occur on or prior to April 12, 2018, (iii) Buyer is not determined
                                  by the Sellers to be the Successful Bidder or Backup Bidder at the end
                                  of the auction or (iv) the Bankruptcy Court dismisses any of the cases
                                  or converts the cases into chapter 7 cases
                              •   Written notice from Buyer (i) upon the occurrence of any termination
                                  event set forth in the Final DIP Order, (ii) the termination of the DIP
                                  Credit Agreement, (iii) if any Seller seeks to have the Bankruptcy

                                                    7


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          Term                                         Summary Description
                                   Court take an action as described in (b)(iv) above or (v) the occurrence
                                   of a Material Adverse Effect
                               •   Written notice from a Party if the other Party fails to perform its
                                   obligations under the APA or commits a breach which cannot be cured
                                   within ten days

 Covenants                 The APA includes covenants made or agreed to by the Parties typical and
                           customary for transactions of this nature, including covenants relating to:
                               •   Buyer and its Representatives receiving reasonable access to the
                                   Sellers’ personnel, properties, books, Permits, Contracts, records and
                                   reports. It cannot do Phase IIs, however can complete a review of
                                   Reclamation reports
                               •   The Sellers maintaining operations in the ordinary course and seeking
                                   approvals for certain material actions
                               •   The Sellers delivering to Buyer any modifications or corrections with
                                   respect to the scheduled list of surety bonds and/or Permits
                               •   Various filing dates and procedural requirements in connection with
                                   Bankruptcy Court matters

II.     The Bidding Procedures.

        14.      The Debtors’ entry into the Stalking Horse Purchase Agreement is designed to

incentivize potential bidders and thereby maximize the potential value of their assets for the benefit

of the Debtors’ estates and their various stakeholders.           The Debtors request approval and

authorization of the Stalking Horse Purchase Agreement, subject only to higher or otherwise better

offers in accordance with the procedures set forth in the Bidding Procedures attached as

Schedule 2 to the Order.

        15.      The proposed Bidding Procedures are designed to permit a fair, efficient,

competitive, and value-maximizing auction process for the Debtors’ assets, consistent with the

timeline of these chapter 11 cases, to confirm that the bid represented by the Stalking Horse

Purchase Agreement (the “Stalking Horse Bid,” and the bidder thereunder, the “Stalking Horse

Bidder”) is the best offer, or promptly identify the alternative bid that is higher or otherwise better.



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        16.      The Bidding Procedures will provide potential bidders with ample notice and time

to conduct thorough due diligence to submit binding bids in advance of the Bid Deadline. Indeed,

the Debtors and their advisors have already commenced a marketing process to test the market

value of their assets, providing numerous parties with the diligence necessary to make an offer. In

creating the Bidding Procedures, the Debtors are seeking to balance their interests in

consummating the Sale on a timeline that ensures the Stalking Horse Bidder’s willingness to

provide a floor offer while at the same time preserving the opportunity to attract the highest or

otherwise best offer. The Bidding Procedures are designed to encourage all prospective bidders

to put their best bid forward, bring finality to the Debtors’ chapter 11 process, and create a path

towards the highest or otherwise best available recoveries to the Debtors’ stakeholders.

        17.      Because the Bidding Procedures are attached as Exhibit 2 to the proposed Bidding

Procedures Order, they are not restated fully herein. Generally speaking, however, the Bidding

Procedures establish, among other things:7

        •        the Debtors will serve the Bidding Procedures Order (setting forth the Sale
                 Schedule), Bidding Procedures, and Sale Notice on all relevant notice parties as
                 soon as practicable after entry of the Bidding Procedures Order;

        •        the availability of, access to, and conduct during due diligence by “Potential
                 Bidders”;

        •        the deadlines and requirements for submitting competing bids and the method and
                 criteria by which such competing bids are deemed to be “Qualified Bids” sufficient
                 to trigger the Auction and participate in the Auction;

        •        the manner in which Qualified Bids will be evaluated by the Debtors to determine
                 the starting bid for the Auction;

        •        the conditions for having the Auction and procedures for conducting the Auction,
                 if any; and



7   The following summary is provided for convenience purposes only. To the extent any of the terms
    described below are inconsistent with the Bidding Procedures, the Bidding Procedures control in all respects.


                                                       9


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           •        various other matters relating to the sale process generally, including the
                    designation of the Back-Up Bid (as defined in the Bidding Procedures), return of
                    any good faith deposits, and certain reservations of rights.

           18.      Importantly, the Bidding Procedures recognize and comply with the Debtors’

fiduciary obligations to maximize sale value, and, as such, do not impair the Debtors’ ability to

consider all Qualified Bids made at or prior to the Auction, and, as noted, preserve the Debtors’

right to modify the Bidding Procedures as necessary or appropriate to maximize value for

the Debtors’ estates.

III.       Proposed Sale Schedule.

           19.      The Debtors are seeking approval of the Bidding Procedures and the Sale Schedule

to establish a clear and open process for the solicitation, receipt, and evaluation of third-party bids

on a timeline that would allow the Debtors to consummate a sale of the Assets. A defined path

toward effectuating the Sale will drive the sale process in an expeditious and efficient manner and

is designed to encourage all prospective bidders to put their best bids forward at the outset of these

chapter 11 cases in order to provide the highest or otherwise best available recoveries to the

Debtors’ stakeholders without unduly prejudicing, these chapter 11 estates.

           20.      To further ensure that the Debtors’ proposed Auction and sales process maximizes

value for the benefit of the Debtors’ estates, the Debtors will use the time following entry of the

Bidding Procedures to continue the process, initiated shortly after the Commencement Date, to

actively market their Assets. Subject to the Court’s availability, the key dates and deadlines the

Debtors seek to establish pursuant to this Order are as follows, provided that the Debtors may

amend the Sale Schedule, in consultation with the Consultation Parties8 and subject to the terms

of the DIP Facility (as amended and restated), from time to time, as necessary:



8      “Consultation Parties” means the following parties: (a) the DIP Lenders (as defined in the Final DIP Order) and
       their counsel and financial advisors, including Akin Gump Strauss Hauer & Feld LLP and Houlihan Lokey;

                                                          10


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                    a.       Bid Deadline: January 21, 2019, at 4:00 p.m. (prevailing Central Time)
                             is the deadline by which all Qualified Bids must be actually received by the
                             parties specified in the Bidding Procedures (the “Bid Deadline”).

                    b.       Auction: The Auction, if necessary, will be held on February 27, 2019, at
                             10:00 a.m. (prevailing Central Time) at the offices of counsel to the
                             Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New
                             York 10022.

                    c.       Sale Objection Deadline: The deadline by which all objections to the Sale
                             (including to any Successful Bids or any Assigned Contract Objection (as
                             defined below)) must be filed with the Court and served so as to be
                             actually received by the appropriate notice parties (the “Sale Objection
                             Deadline”), is Wednesday, March 6, 2019, at 4:00 p.m. (prevailing
                             Central Time). The deadline by which responses to objections to the Sale
                             must be filed is Friday, March 15, 2019 at 4:00 p.m. (prevailing Central
                             Time).

                    d.       Sale Hearing: The hearing approving the Sale to the Successful Bidder
                             shall take place before the Court on Wednesday, March 20, 2019, at 10:00
                             a.m. (prevailing Central Time).

          21.       Upon entry of the Order, the Debtors will notify parties of these dates in connection

with their forthcoming motion for approval of the Disclosure Statement.

IV.       Notice of Auction.

          22.       On or within three business days after entry of the Order, the Debtors will cause the

Sale Notice, substantially in the form attached as Exhibit 3 to the Order, to be served on the

following parties or their respective counsel, if known: (a) the Office of the Bankruptcy

Administrator for the Northern District of Alabama; (b) counsel to the Committee; (c) counsel to

the agent under the Debtors’ proposed debtor in possession credit agreement; (d) counsel to the

agent under the Debtors’ prepetition first-lien credit agreement; (e) counsel to the lenders under


      (b) counsel and financial advisors to the official committee of unsecured creditors appointed in the Debtors’
      chapter 11 cases (the “Committee”); and (c) counsel and financial advisors to WPP LLC, by NRP (Operating)
      LLC, its sole member (“NRP”) to the extent provided for in the Agreed Order and Settlement Agreement Related
      to Motion to Assume Oak Grove Coal Mining Lease [Docket No. 299]. Notwithstanding the foregoing, a party
      shall not be a Consultation Party if such party is a bidder at the Auction; provided, however, if any such
      Consultation Party notifies the Debtors in writing that it irrevocably forfeits its rights to be a bidder, the foregoing
      restriction shall no longer apply with respect to such Consultation Party upon the Debtors’ receipt of such notice.


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the Debtors’ debtor in possession credit agreement and prepetition first-lien credit agreement;

(f) counsel to Mission Coal Funding, LLC, in its capacity as the lender under the Debtors’

prepetition second-lien credit agreement; (g) the United States Attorney’s Office for the Northern

District of Alabama; (h) the Internal Revenue Service; (i) the Environmental Protection Agency;

(j) the office of the attorneys general for the states in which the Debtors operate; (k) the Securities

and Exchange Commission; (l) the Pension Benefit Guarantee Corporation; (m) the United Mine

Workers of America; (n) the United Mine Workers of America Pension Plan; (o) counsel to the

Stalking Horse Bidder; (p) all parties who have expressed a written interest in some or all of the

Assets; (q) all known holders of liens, encumbrances, and other claims secured by the Assets;

(r) each governmental agency that is an interested party with respect to the Sale and transactions

proposed thereunder; and (s) any party that has requested notice pursuant to Bankruptcy Rule 2002.

        23.    In addition, within five business days of entry of the Order, the Debtors will publish

the Sale Notice, with any modifications necessary for ease of publication, once in the USA Today

(National Edition) to provide notice to any other potential interested parties.

        24.    The Debtors submit that the Sale Notice is reasonably calculated to provide all

interested parties with timely and proper notice of the proposed sale, including the date, time, and

place of the Auction (if one is held) and the Bidding Procedures and the dates and deadlines related

thereto. Accordingly, the Debtors request that the form and manner of the Sale Notice be approved

and that the Court determine that no other or further notice of the Auction is required.

V.      Summary of the Assumption and Assignment Procedures.

        25.    The Debtors propose the Assumption Procedures set forth below for notifying the

Contract Counterparties to executory contracts and unexpired leases of proposed cure amounts in

the event the Debtors decide to assume and assign such contracts or leases in connection with the

Sale.

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       A.      Notice of Assumption and Assignment.

       26.     On or before January 14, 2019 (the “Assumption and Assignment Service Date”),

the Debtors shall file with the Court and serve via first class mail, electronic mail, or overnight

delivery the Cure Notice annexed as Exhibit 4 to the Bidding Procedures Order on all executory

contract and unexpired lease Contract Counterparties (other than any Debtor) and, include as

Exhibit A to the Cure Notice, a list (the “Assigned Contracts Schedule”) that specifies: (a) each

of the Debtors’ executory contracts and unexpired leases that may be assumed and assigned in

connection with the Sale (i.e., the Assigned Contracts), including the name of the Contract

Counterparty to each such contract, and whether or not the underlying agreement would be

considered an executory contract or unexpired lease under applicable nonbankruptcy law; (b) the

proposed amount necessary, if any, to cure all monetary defaults, if any, under each Assigned

Contract (the “Cure Costs”); and (c) the deadline by which any Contract Counterparty to an

Assigned Contract may file an objection to the proposed assumption, assignment, cure, and/or

adequate assurance and the procedures relating thereto. The Debtors shall serve, via first class

mail, a customized version of the Cure Notice, without the Assigned Contracts Schedule, which

will include: (w) instructions (the “Omni Instructions”) regarding how to view the Assigned

Contracts Schedule on the Debtors’ case website (the “Case Website”); (x) information necessary

and appropriate to provide notice of the relevant proposed assumption and assignment of Assigned

Contracts and rights thereunder; (y) Cure Costs, if any; and (z) the procedures for objecting thereto

((x)-(z) collectively, the “Necessary Notice Information”), on each Contract Counterparty to the

Assigned Contracts. The Debtors shall serve on all parties that requested notice pursuant to

Bankruptcy Rule 2002, via ECF, a modified version of the Cure Notice that contains the Omni

Instructions and Necessary Notice Information. Pursuant to the Bidding Procedures Order, service



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as set forth herein shall be deemed proper, due, timely, good, and sufficient notice and no other or

further notice will be necessary.

       27.     A Contract Counterparty listed on the Assigned Contract Schedule may file an

objection (an “Assigned Contract Objection”) only if such objection is to the proposed assumption

and assignment of the applicable Assigned Contract or the proposed Cure Costs, if any. All

Assigned Contract Objections must: (i) be in writing; (ii) comply with the applicable provisions of

the Bankruptcy Rules, Local Bankruptcy Rules, and any order governing the administration of

these chapter 11 cases; (iii) state with specificity the nature of the objection and, if the objection

pertains to the proposed Cure Costs, state the cure amount alleged to be owed to the objecting

Contract Counterparty, together with any applicable and appropriate documentation in support

thereof; and (iv) be filed with the Court and served and actually received no later than the Sale

Objection Deadline (the “Cure Objection Deadline”).

       28.     If a Contract Counterparty files an Assigned Contract Objection in a manner that is

consistent with the requirements set forth above, and the Stalking Horse Bidder or other Successful

Bidder has designated in writing that it wishes to take assignment of such Assigned Contract, and

the parties are unable to consensually resolve the dispute prior to the Sale Hearing, such objection

will be resolved at the Sale Hearing or such later date as determined by the Court. To the extent

that any Assigned Contract Objection cannot be resolved by the parties, such Assigned Contract

shall be assumed and assigned only upon satisfactory resolution of the Assigned Contract

Objection, to be determined in the Stalking Horse Bidder’s or other Successful Bidder’s discretion.

To the extent an Assigned Contract Objection remains unresolved, the Assigned Contract may be

conditionally assumed and assigned, subject to the consent of the Stalking Horse Bidder or other

Successful Bidder, pending a resolution of the Assigned Contract Objection after notice and a

hearing. If an Assigned Contract Objection is not satisfactorily resolved, the Stalking Horse

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Bidder or other Successful Bidder may determine that such Assigned Contract should be rejected

and not assigned, in which case the Stalking Horse Bidder or other Successful Bidder will not be

responsible for any Cure Costs in respect of such contract.

       B.      Supplemental Cure Notice.

       29.     If   (i) the   Debtors   discover    contracts   inadvertently   omitted   from    the

Assigned Contracts Schedule, (ii) the Successful Bidder identifies other executory contracts or

unexpired leases that it desires to assume and assign in connection with the Sale, or (iii) the

previously state Cure Cost associated with any assigned Contract requires modification, the

Debtors may, in accordance with the Stalking Horse Purchase Agreement or as otherwise agreed

by the Debtors and the Successful Bidder, at any time after the Assumption and Assignment

Service Date: (a) supplement the Assigned Contracts Schedule with previously omitted Assigned

Contracts; (b) remove any Assigned Contracts from the list of executory contracts and unexpired

leases ultimately selected as Assigned Contracts that the Successful Bidder proposes be assumed

and assigned to it in connection with the Sale or add to such list; and/or (c) modify the previously

stated Cure Costs associated with any Assigned Contract.

       30.     In the event that the Debtors exercise any of the rights reserved above, the Debtors

shall promptly serve a supplemental notice of assumption and assignment by electronic

transmission, hand delivery, or overnight mail on the Contract Counterparty, and its attorney, if

known, at the last known address available to the Debtors (a “Supplemental Cure Notice”). Each

Supplemental Cure Notice shall include the same information with respect to listed Assigned

Contracts as would have been included in the Notice of Assumption and Assignment

(a “Supplemental Assigned Contracts Schedule”).

       31.     Any Contract Counterparty that receives a Supplemental Cure Notice may file an

objection (a “Supplemental Assigned Contract Objection”) only if such objection is to the

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proposed assumption and assignment of the applicable Assigned Contract or the proposed Cure

Costs, if any. All Supplemental Assigned Contract Objections must: (a) state, with specificity, the

legal and factual basis for the objection as well as what Cure Costs are required, if any; (b) include

appropriate documentation in support thereof; and (c) be filed no later than 4:00 p.m. (prevailing

Central Time) on the date that is the later of (i) the Sale Objection Deadline and (ii) 14 days

following the date of service of such Supplemental Cure Notice, which date will be set forth in the

Supplemental Cure Notice (the “Supplemental Assigned Contract Objection Deadline”).

       32.     If a Contract Counterparty files a Supplemental Assigned Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute, the Debtors shall seek an expedited hearing before the Court

(a “Supplemental Assigned Contract Hearing”) to determine the Cure Costs, if any, and approve

the assumption of the relevant Assigned Contracts. If there is no such objection, then the Debtors

shall obtain an order of this Court fixing the Cure Costs and approving the assumption and

assignment of any Assigned Contract listed on a Supplemental Cure Notice.

       C.      Additional Notice of Assumption and Assignment Procedures.

       33.     If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice (or Supplemental Cure Notice) shall be

controlling, notwithstanding anything to the contrary in any Assigned Contract or any other

document, and (b) the Contract Counterparty will be deemed to have consented to the assumption

and assignment of the Assigned Contract and the Cure Costs, if any, and will be forever barred

from objecting to the assumption and assignment of such Assigned Contract and rights thereunder,



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including the Cure Costs, if any, and from asserting any other claims related to such Assigned

Contract against the Debtors or the Successful Bidder, or the property of any of them.

       34.     Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed no later than the later of the Sale Objection Deadline or

Supplemental Assigned Contract Objection Deadline, as applicable, and such objections will be

resolved at the Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The

Debtors may, with the consent of the Successful Bidder, adjourn the resolution of any such

objection to a later hearing.

       35.     For the avoidance of doubt, the inclusion of an Assigned Contract on the Assigned

Contracts Schedule or Supplemental Assigned Contracts Schedule shall not obligate the Debtors

to assume any such Assigned Contract or obligate the Stalking Horse Bidder or a Successful Bidder

to take assignment of any such Assigned Contract. The Stalking Horse Bidder or other Successful

bidder shall determine whether to take assignment of any Assigned Contracts pursuant to the terms

of the Stalking Horse Purchase agreement or other asset purchase agreement, as applicable.

                                          Basis for Relief

I.     The Stalking Horse Purchase Agreement and Bidding Procedures Are Fair, Designed
       to Maximize the Value Received for the Assets, and Are Consistent with the Debtors’
       Reasonable Business Judgment.

       36.     Bankruptcy Code section 363(b) provides that “[t]he [debtor in possession], after

notice and a hearing, may use, sell or lease, other than in the ordinary course of business, property

of the estate . . . .” 11 U.S.C. § 363(b)(1). Courts have made clear that a debtor’s business

judgment is entitled to substantial deference with respect to the procedures to be used in selling an

estate’s assets. See, e.g., In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (“Under Section 363,

the debtor in possession can sell property of the estate . . . if he has an ‘articulated business

justification.’”) (internal citations omitted); see also In re Martin, 91 F.3d 389, 395 (3d Cir. 1996)

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(explaining that courts usually defer to the trustee’s “legitimate business justification” with respect

to the “disposition of assets of the estate”); In re Integrated Res., Inc., 147 B.R. 650, 656–57

(S.D.N.Y. 1992) (noting that bidding procedures that have been negotiated by a trustee are to be

reviewed according to the deferential “business judgment” standard, under which such procedures

and arrangements are “presumptively valid”).

        37.     The paramount goal in any proposed sale of property of the estate is to maximize

the proceeds received by the estate. See In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998)

(“The purpose of procedural bidding orders is to facilitate an open and fair public sale designed to

maximize value for the estate.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir.

1997) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the value of the estate

at hand”); In re Integrated Res., Inc., 147 B.R. at 659 (“[I]t is a well-established principle of

bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with respect to

such sales is to obtain the highest price or greatest overall benefit possible for the estate.”) (internal

citations omitted).

        38.     To that end, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate

and therefore are appropriate in the context of bankruptcy transactions. See, e.g., In re Integrated

Res., Inc., 147 B.R. at 659 (bidding procedures “are important tools to encourage bidding and to

maximize the value of the debtor’s assets”); In re Fin. News Network, Inc., 126 B.R. 152, 156

(Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition of assets . . . [should] provide an

adequate basis for comparison of offers, and [should] provide for a fair and efficient resolution of

bankrupt estates”).

        39.     The Debtors have carefully evaluated a number of qualitative and quantitative

factors in designing a process that they believe will maximize the value of their estates, produce

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maximum recoveries, and result in a successful restructuring of their estates. This process includes

both entry into the Stalking Horse Purchase Agreement and approval of the Bidding Procedures,

which are designed to promote active bidding from seriously interested parties and to elicit the

highest or otherwise best offers available for substantially all of the Debtors’ assets. The Debtors

are confident that the Bidding Procedures will allow the Debtors to solicit additional offers and

conduct the sale in a controlled, fair, and open fashion that will encourage participation by

financially capable bidders who will offer the best package for the assets and who can demonstrate

the ability take on the assets, obligations, and liabilities being transferred. In particular, the

Bidding Procedures contemplate an open auction process with minimum barriers to entry and

provide potential bidding parties with sufficient time to perform due diligence and acquire the

information necessary to submit a timely and well-informed bid.

       40.     In addition, the Bidding Procedures provide Potential Bidders that may have

otherwise applicable rights of first refusal (and similar rights) a fair opportunity to effectively

exercise those rights by participating in the marketing and sale process. Accordingly, the Debtors

should be deemed to have complied with or satisfied any such provisions by conducting a sale

pursuant to the Bidding Procedures. See In re Farmland Indus., Inc., 284 B.R. 111, 119-20 (Bankr.

W.D. Mo. 2002) (relying on the fact that the first refusal right holder did not receive notice of the

auction to reopen the auction to the highest bidder and the right holder); but see In re Mr. Grocer,

77 B.R. 349, 352 (Bankr. D.N.H. 1987) (holding that rights of first refusal are per se unenforceable

under section 365(f) of the Bankruptcy Code).

       41.     At the same time, the Bidding Procedures provide the Debtors with an opportunity

to consider competing bids and select the highest or otherwise best offers for the completion of the

sale. As such, creditors of the Debtors’ estates can be assured that the consideration obtained will

be fair and reasonable at or above market.

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       42.     The Debtors submit that the Stalking Horse Purchase Agreement and the Bidding

Procedures will encourage competitive bidding, are appropriate under the relevant standards

governing auction proceedings and bidding incentives in bankruptcy proceedings, and are

consistent with other procedures previously approved in this district. See, e.g., In re Walter

Energy, Inc., No. 15-02741-TOM11 (TOM) (Bankr. N.D. Ala. Nov. 25, 2015) (approving similar

bidding procedures); In re BFW Liquidation, LLC, f/k/a Bruno’s Supermarkets, LLC, No. 09-

00634 (TOM) (Bankr. N.D. Ala. Mar. 27, 2009); In re Bill Heard Enters., Inc., No. 08-83029-

JAC-11 (JAC) (Bankr. N.D. Ala. Oct. 15, 2008) (same). Similar relief is commonly granted by

bankruptcy courts in other Districts. See, e.g., In re Westmoreland Coal Company, No. 18-35672

(DRJ) (Bankr. S.D. Tex. Nov. 15, 2018) (providing for similar bidding procedures); In re Patriot

Coal Corporation, No. 15-32450-KLP (Bankr. E.D. Va. Jun. 25, 2015) (providing for similar

bidding procedures); In re EMAS CHIYODA Subsea Ltd.., No. 17-31146 (MI) (Bankr. S.D. Tex.

Apr. 24, 2017) (providing for similar bidding procedures); In re Vanguard Nat. Res., LLC, No.

17-30560 (MI) (Bankr. S.D. Tex. Apr. 13, 2017) (same).

       43.     Accordingly, for all of the foregoing reasons, the Debtors believe that the Stalking

Horse Purchase Agreement and the Bidding Procedures: (a) will encourage robust bidding for the

Assets; (b) are consistent with other procedures previously approved by courts in this District; and

(c) are appropriate under the relevant standards governing auction proceedings and bidding

incentives in bankruptcy proceedings and should be approved.

II.    The Form and Manner of the Sale Notice Should Be Approved.

       44.     Pursuant to Bankruptcy Rule 2002(a), the Debtors are required to provide creditors

with 21-days’ notice of a hearing where the Debtors will seek to use, lease, or sell property of the

estate outside the ordinary course of business. Bankruptcy Rule 2002(c) requires any such notice

to include the time and place of the auction and the hearing and the deadline for filing any

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objections to the relief requested therein. The Debtors seek approval of the Sale Notice as proper

notice of the Auction. The Debtors submit that notice of this Motion and the related hearing to

consider entry of the Order, coupled with service of the Sale Notice, as provided for herein,

constitutes good and adequate notice of the Auction and the proceedings with respect thereto in

compliance with, and satisfaction of, the applicable requirements of Bankruptcy Rule 2002.

Accordingly, the Debtors request that this Court approve the form and manner of the Sale Notice.

III.   The Assets May Be Sold Free and Clear of Liens, Claims, Interests and
       Encumbrances under Bankruptcy Code Section 363(f).

       45.     Bankruptcy Code section 363(f) authorizes a debtor to sell assets free and clear of

all liens, claims, interests and encumbrances provided that one of the following conditions is met:

          i.   applicable non-bankruptcy law permits sale of such property free and clear of such

               interests;

         ii.   such entity consents;

        iii.   such interest is a lien and the price at which such property is to be sold is greater

               than the aggregate value of all liens on such property;

        iv.    such interest is in bona fide dispute; or

         v.    such entity could be compelled, in a legal or equitable proceeding, to accept a

               money satisfaction of such interest.

11 U.S.C. § 363(f)(1) - (5).

       46.     As section 363(f) of the Bankruptcy Code is stated in the disjunctive, when

proceeding pursuant to section 363(b), it is only necessary for a debtor to meet one of the five

conditions of section 363(f). See id.; Mich. Employment Sec. Comm'n v. Wolverine Radio Co. (In

re Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy Code

section 363(f) written in disjunctive; holding that court may approve sale "free and clear" provided


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at least one of the subsections of section 363(f) is met); In re Zeigler, 320 B.R. 362, 381 (Bankr.

N.D.Ill. 2005); In re Dundee Equity Corp., No. 89-B-10233, 1992 Bankr. LEXIS 436, at *12

(Bankr. S.D.N.Y. Mar. 6, 1992) ("Section 363(f) is in the disjunctive, such that the sale free of the

interest concerned may occur if any one of the conditions of §363(f) have been met."); In re

Bygaph, Inc., 56 B.R. 596, 606 n.8 (Bankr. S.D.N.Y. 1986) (same).

        47.     The Debtors anticipate that the Sale will satisfy one of the five requirements set

forth under section 363(f) of the Bankruptcy Code, either because there are proceeds sufficient to

cover such liens or interests, the affected parties consent to the Sale of the applicable Assets or

some other bases exist under section 363(f) of the Bankruptcy Code to warrant the sale of the

applicable Assets free and clear of such liens or interests. Accordingly, the Debtors anticipate that

one or more prongs of section 363(f) of the Bankruptcy Code will be satisfied with respect to

parties that assert liens on or interests in the Assets.

IV.     Credit Bidding Should Be Authorized Under Section 363(k) of the Bankruptcy Code.

        48.     A secured creditor is allowed to “credit bid” the amount of its claim in a sale.

Section 363(k) of the Bankruptcy Code provides, in relevant part, that unless the court for cause

orders otherwise, the holder of a claim secured by property that is the subject of the sale “may bid

at such sale, and, if the holder of such claim purchases such property, such holder may offset such

claim against the purchase price of such property.” 11 U.S.C. § 363(k). Even if a secured creditor

is undersecured as determined in accordance with section 506(a) of the Bankruptcy Code, section

363(k) allows such secured creditor to bid the total face value of its claim and does not limit the

credit bid to the claim’s economic value. See In re Submicron Sys. Corp., 432 F.3d 448, 459-60

(3d Cir. 2006) (explaining that “[i]t is well settled among district court and bankruptcy courts that

creditors can bid the full face value of their secured claims under section 363(k)”).



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       49.     In this district, absent cause for restricting credit bidding, courts have consistently

ruled in favor of reserving a secured creditor’s right to credit bid its claim. See, e.g., In re Walter

Energy, Inc., No. 15-02741-TOM11 (TOM) (Bankr. N.D. Ala. Nov. 25, 2015) (order approving

bid procedures which authorized parties with secured claims to credit bid); In re BFW Liquidation,

LLC, f/k/a Bruno’s Supermarkets, LLC, No. 09-00634 (TOM) (Bankr. N.D. Ala. Mar. 27, 2009)

(same); In re Bill Heard Enters., Inc., No. 08-83029-JAC-11 (JAC) (Bankr. N.D. Ala. Oct. 15,

2008) (same). Similar relief is commonly granted by bankruptcy courts in other Districts. See,

e.g., In re Offshore Fabricators, LLC, No. 17-35623 (MI) (Bankr. S.D. Tex. Nov. 9, 2017) (order

approving bid procedures which authorized parties with secured claims to credit bid); In re Bennu

Titan LLC (f/k/a ATP Titan LLC), No. 17-30497 (DRJ) (Bankr. S.D. Tex. Aug. 17, 2017) (same).

       50.     Accordingly, the DIP Lenders, the DIP Agent, and other validly secured creditors

should be entitled to credit bid some or all of the claims secured by their collateral in accordance

with the Bidding Procedures, pursuant to section 363(k) of the Bankruptcy Code.

V.     The Assumption and Assignment Procedures Should Be Approved.

       51.     To facilitate and effectuate the Sale, the Debtors are seeking approval of the

Assumption and Assignment Procedures.           The Assumption and Assignment Procedures are

reasonable and necessary to properly notify parties of potential assumptions and/or assignments

and provide the contract and lease counterparties with sufficient time to determine the accuracy of

the proposed cure amount and whether the Debtors have provided adequate assurance of future

performance.

       52.     The Debtors believe that they can and will demonstrate at the Sale Hearing that the

requirements for assumption and assignment of the Assigned Contracts to the Successful Bidder

will be satisfied. As required by the Bidding Procedures, the Debtors will evaluate the financial

wherewithal of potential bidders before designating such party a Qualified Bidder or Successful

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Bidder (e.g., financial credibility, willingness, and ability of the interested party to perform under

the Assigned Contracts), including as it relates to such Qualified Bidder’s willingness, and ability

to perform under the Assigned Contracts assigned to the Successful Bidder.                Further, the

Assumption and Assignment Procedures provide the Court and other interested parties ample

opportunity to evaluate and, if necessary, challenge the ability of the Successful Bidder to provide

adequate assurance of future performance and object to the assumption of the Assigned Contracts

or proposed cure amounts. The Court therefore will have a sufficient basis to authorize the Debtors

to reject or assume and assign the Assigned Contracts as set forth in the definitive agreement of

the Successful Bidder.

       53.     Accordingly, the Debtors submit that the Assumption and Assignment Procedures

should be approved as reasonable and necessary measures to adequately notify parties in interest

and conducting the proposed sale process in a fair, efficient, and proper manner.

                                               Notice

       54.     The Debtors will provide notice of this Motion to: (a) the Office of the Bankruptcy

Administrator for the Northern District of Alabama; (b) counsel to the Committee; (c) counsel to

the agent under the Debtors’ proposed debtor in possession credit agreement; (d) counsel to the

agent under the Debtors’ prepetition first-lien credit agreement; (e) counsel to the lenders under

the Debtors’ debtor in possession credit agreement and prepetition first-lien credit agreement;

(f) counsel to Mission Coal Funding, LLC, in its capacity as the lender under the Debtors’

prepetition second-lien credit agreement; (g) the United States Attorney’s Office for the Northern

District of Alabama; (h) the Internal Revenue Service; (i) the Environmental Protection Agency;

(j) the office of the attorneys general for the states in which the Debtors operate; (k) the Securities

and Exchange Commission; (l) the Pension Benefit Guarantee Corporation; (m) the United Mine

Workers of America; (n) the United Mine Workers of America Pension Plan; (o) counsel to the

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Stalking Horse Bidder; (p) all parties who have expressed a written interest in some or all of the

Assets; (q) all known holders of liens, encumbrances, and other claims secured by the Assets;

(r) each governmental agency that is an interested party with respect to the Sale and transactions

proposed thereunder; and (s) any party that has requested notice pursuant to Bankruptcy Rule 2002.

The Debtors submit that, in light of the nature of the relief requested, no other or further notice is

required.


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       WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Birmingham, Alabama             /s/ Daniel D. Sparks
Dated: December 5, 2018         Daniel D. Sparks
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                                Co-Counsel to the Debtors




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                                 Exhibit A

                              Proposed Order




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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    MISSION COAL COMPANY, LLC, et al.,1                         )        Case No. 18-04177-TOM11
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )
                                                                )        Re: Docket No. __

                      ORDER (I) AUTHORIZING THE DEBTORS
              TO ENTER INTO AND PERFORM UNDER THE STALKING
            HORSE PURCHASE AGREEMENT, (II) APPROVING BIDDING
             PROCEDURES FOR THE SALE OF THE DEBTORS’ ASSETS,
            (III) SCHEDULING HEARINGS AND OBJECTION DEADLINES
          WITH RESPECT TO THE SALE, (IV) SCHEDULING BID DEADLINES
       AND AN AUCTION, (V) APPROVING THE FORM AND MANNER OF NOTICE
       THEREOF, (VI) APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT
               PROCEDURES, AND (VII) GRANTING RELATED RELIEF

             Upon consideration of the motion (the “Motion”)2 of the above captioned debtors and

debtors in possession (the “Debtors”) for the entry of an order (this “Order”): (a) authorizing the

Debtors to enter into that certain Asset Purchase Agreement attached hereto as Exhibit 1

(the “Stalking Horse Purchase Agreement”); (b) approving the proposed bidding procedures

attached as Exhibit 2 to this Order (the “Bidding Procedures”); (c) scheduling an auction;

(d) approving the form and manner of notice thereof; (e) scheduling dates and deadlines in

connection with the sale (the “Sale”) of all, substantially all, or any combination of the Debtors’


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak Grove Land Company,
      LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC (6070); Pinnacle Mining
      Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631); Seminole Coal Resources, LLC
      (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal Resources, LLC (1816); and Seneca
      North American Coal, LLC (5102). The location of the Debtors’ service address is: 7 Sheridan Square, Suite
      300, Kingsport, Tennessee 37660.
2     Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Motion
      or the Bidding Procedures, as applicable.



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assets (the “Assets”); (f) approving the form and manner of notice thereof; (g) approving

procedures for assuming and assigning the Debtors’ executory contracts and unexpired leases (the

“Assumption Procedures”); and (h) granting related relief; all as more fully set forth in the Motion;

and upon the First Day Declaration; and this court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334 and the Amended Standing Order; and this court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this court having found that it may enter a final

order consistent with Article III of the United States Constitution; and this court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing, if any, before this court (the “Hearing”); and this court having determined that the legal

and factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this court; and after due deliberation and

sufficient cause appearing therefor, THE COURT FINDS THAT:

        A.     The findings of fact and conclusions of law herein constitute the court’s findings of

fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are

adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

such.




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       B.      Jurisdiction and Venue. This court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334. Venue in this court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       C.      The statutory bases for the relief requested in the Motion are sections 105 and 363

of the Bankruptcy Code, Bankruptcy Rules 2002, 3016, 3017, 3020, and 6004.

       D.      Notice of the Bidding Procedures Motion. Notice of the Motion, the Hearing, and

the proposed entry of this Order was adequate and sufficient under the circumstances of these

chapter 11 cases, and such notice complied with all applicable requirements of the Bankruptcy

Code, the Bankruptcy Rules, and the Bankruptcy Local Rules. Notice of the Motion has been

given to: (a) the Office of the Bankruptcy Administrator for the Northern District of Alabama;

(b) counsel to the Committee; (c) counsel to the agent under the Debtors’ debtor-in-possession

credit agreement; (d) counsel to the agent under the Debtors’ prepetition first-lien credit

agreement; (e) counsel to the lenders under the Debtors’ debtor-in-possession credit agreement

and prepetition first-lien credit agreement; (f) counsel to Mission Coal Funding, LLC, in its

capacity as the lender under the Debtors’ prepetition second-lien credit agreement; (g) the United

States Attorney’s Office for the Northern District of Alabama; (h) the Internal Revenue Service;

(i) the Environmental Protection Agency; (j) the office of the attorneys general for the states in

which the Debtors operate; (k) the Securities and Exchange Commission; (l) the Pension Benefit

Guarantee Corporation; (m) the United Mine Workers of America; (n) the United Mine Workers

of America Pension Plan; (o) counsel to the Stalking Horse Bidder; (p) all parties who have

expressed a written interest in some or all of the Assets; (q) all known holders of liens,

encumbrances, and other claims secured by the Assets; (r) each governmental agency that is an

interested party with respect to the Sale and transactions proposed thereunder; (s) the

counterparties to any executory contract or unexpired lease to which a Debtor is a party (the


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“Contract Counterparties”); (t) all known creditors of the Debtors; and (u) any party that has

requested notice pursuant to Bankruptcy Rule 2002. Accordingly, no further notice of the Motion,

the Hearing, or this Order is necessary or required.

          E.   The Debtors have articulated good and sufficient reasons for this Court to:

(a) authorize the Debtors to enter into the Stalking Horse Purchase Agreement attached hereto as

Exhibit 1; (b) approve the Bidding Procedures attached hereto as Exhibit 2; (c) schedule the Bid

Deadline, the Auction, the Sale Objection Deadline, and the Sale Hearing; and (d) approve the

form of the Sale Notice attached hereto as Exhibit 3; (e) approve the Assumption Procedures and

the form and manner of notice of the Cure Notice attached hereto as Exhibit 4; and (f) grant related

relief.

          F.   Stalking Horse Purchase Agreement. The Debtors have demonstrated and proven

to the satisfaction of this Court that their entering into the Asset Purchase Agreement (the “Stalking

Horse Purchase Agreement”) with New Coal Acquisition Co., LLC (including its assignees or

designees, the “Stalking Horse Bidder”) and performance thereunder is in the best interests of the

Debtors, their creditors, and their estates, and that performance under the Stalking Horse Purchase

Agreement represents a prudent exercise of the Debtors’ sound business judgment. The Debtors

have articulated good, sufficient, and sound business justifications and compelling circumstances

for the entry into and performance under the Stalking Horse Purchase Agreement in that, among

other things, the Stalking Horse Bid constitutes the highest or otherwise best restructuring proposal

that the Debtors have received to date and the approval of the Stalking Horse Purchase Agreement

is a necessary and constructive step toward the consummation of a sale of all, substantially all, or

any combination of the Debtors’ assets, and the Stalking Horse Purchase Agreement allows the

Debtors to solicit the highest or otherwise best bid for their assets through the Bidding Procedures.


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           G.   The Stalking Horse Purchase Agreement was negotiated by the parties at

arm’s-length and in good faith by the Debtors and the Stalking Horse Bidder. Furthermore, the

Stalking Horse Purchase Agreement will serve as a minimum or floor bid on which the Debtors,

their creditors, suppliers, vendors, and other bidders may rely. The Stalking Horse Bidder is

providing a material benefit to the Debtors and their creditors by increasing the likelihood that,

given the circumstances, the best possible price for the Debtors’ assets will be received.

Accordingly, the Debtors entry into the Stalking Horse Purchase Agreement is reasonable and

appropriate, and represents the best method for maximizing value for the benefit of the Debtors’

estates.

           H.   Bidding Procedures. The Bidding Procedures are reasonable and appropriate and

represent the best available method for maximizing value for the benefit of the Debtors’ estates.

           I.   The Bidding Procedures were negotiated at arm’s length, in good faith, and without

collusion. The Bidding Procedures balance the Debtors’ interests in emerging expeditiously from

the chapter 11 cases while preserving the opportunity to attract value-maximizing proposals

beneficial to the Debtors’ estates, their creditors, and other parties in interest.

           J.   The Sale Notice. The Sale Notice, substantially in the form attached hereto as

Exhibit 3, and incorporated herein by reference as if fully set forth in this Order, is appropriate

and reasonably calculated to provide all interested parties with timely and proper notice of the

Auction.

           K.   The Cure Notice. The Cure Notice, substantially in the form attached hereto as

Exhibit 4, and incorporated herein by reference as if fully set forth in this Order, is appropriate

and reasonably calculated to provide all interested parties with timely and proper notice of the

Assumption and Assignment Procedures.


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IT IS HEREBY ORDERED THAT:

         1.        The Motion is granted as provided herein.

         2.        All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the court at the hearing on the Motion or by stipulation filed

with the court, are overruled.

         3.        The Debtors’ entry into and performance under the Stalking Horse Purchase

Agreement, substantially in the form attached hereto as Exhibit 1, is hereby approved, and the

Stalking Horse Purchase Agreement is binding on the Debtors, including any chapter 7 or chapter

11 trustee or other fiduciary appointed for the Debtors’ estates; provided that consummation of the

Sale to the Stalking Horse Bidder or any other Successful Bidder shall remain subject to entry of

a Court order approving the Sale to the Stalking Horse Bidder or any other Successful Bidder.

I.       Important Dates and Deadlines.

         4.        The following dates and deadlines are hereby approved (and may be amended from

time to time by the Debtors in consultation with the Consultation Parties by filing an appropriate

notice on the Court’s docket and posting such notice on the website of Omni).3

         5.        Unless extended by the Debtors, with the consent of the DIP Lenders and in

consultation with the other Consultation Parties, the deadline by which all bids for the Assets must




3    “Consultation Parties” means the following parties: (a) the DIP Lenders (as defined in the Final DIP Order) and
     their counsel and financial advisors, including Akin Gump Strauss Hauer & Feld LLP and Houlihan Lokey;
     (b) the DIP Agent (as defined in the Final DIP Order) and their counsel; (c) counsel and financial advisors to the
     official committee of unsecured creditors appointed in the Debtors’ chapter 11 cases (the “Committee”); and
     (d) counsel and financial advisors to WPP LLC, by NRP (Operating) LLC, its sole member (“NRP”) to the extent
     provided for in the Agreed Order and Settlement Agreement Related to Motion to Assume Oak Grove Coal Mining
     Lease [Docket No. 299]. Notwithstanding the foregoing, a party shall not be a Consultation Party if such party
     is a bidder at the Auction; provided, however, if any such Consultation Party notifies the Debtors in writing that
     it irrevocably forfeits its rights to be a bidder, the foregoing restriction shall no longer apply with respect to such
     Consultation Party upon the Debtors’ receipt of such notice.

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be actually received by the parties specified in the Bidding Procedures is Monday, January 21,

2019, at 4:00 p.m., prevailing Central Time.

       6.      The date and time of the Auction, if needed, is Wednesday, February 27, 2019,

at 10:00 a.m., prevailing Central Time, which time may be extended by the Debtors, with the

consent of the DIP Lenders and in consultation with the other Consultation Parties, upon written

notice filed with the Court, to be held at the offices of Kirkland & Ellis LLP, located at 601

Lexington Avenue, New York, New York 10022. The Debtors shall send written notice of the

date, time, and place of the Auction to Qualified Bidders no later than two (2) business days before

such Auction, and shall post notice of the same no later than two (2) business days before such

Auction on the website of the Debtors’ notice and claims agent, Omni Management Group

(“Omni”) at https://omnimgt.com/sblite/missioncoal/.

       7.      The deadline to object to approval of the Sale (the “Sale Objection Deadline”) is

set for Wednesday, March 6, 2019, at 4:00 p.m., prevailing Central Time. The deadline by

which responses to any objections to approval of the Sale must be filed is Friday, March 15, 2019

at 4:00 p.m., prevailing Central Time.

       8.      The hearing to consider approval of the Sale (the “Sale Hearing”) will take place

on Wednesday, March 20, 2019, at 10:00 a.m., prevailing Central Time.

       9.      Notwithstanding the foregoing, the Court’s approval of the foregoing schedule is

without prejudice to all parties’ rights to object to the approval of any sale contemplated under this

Order at the Sale Hearing on any grounds.

II.    The Stalking Horse Purchase Agreement.

       10.     The administrative agent under the Debtors’ debtor in possession financing facility,

at the direction of the lenders thereunder (collectively, the “DIP Lender”) including their respective


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 assignees or designees (including the Stalking Horse Bidder) shall be deemed a Qualified Bidder,

 and the bid of the Stalking Horse Bidder contemplated by the Stalking Horse Purchase Agreement

 (the “Stalking Horse Bid”) shall be deemed a Qualified Bid. The Stalking Horse Bidder is not

 required to make a Good Faith Deposit. Subject to the terms of the DIP Order, no person or entity

 shall be entitled to any expense reimbursement, break-up fee, “topping,” termination, or other

 similar fee or payment in connection with any Sale.

III.    The Bidding Procedures.

        11.     The Bidding Procedures, substantially in the form attached hereto as Exhibit 1, are

 hereby approved in their entirety, and the Bidding Procedures shall govern the submission, receipt,

 and analysis of all bids relating to the proposed sale of the Assets. Any party desiring to bid on

 one or more individual Assets or all or substantially all of the Assets shall comply with the Bidding

 Procedures and this Order. The Debtors are authorized to take any and all actions necessary to

 implement the Bidding Procedures.

        12.     Each bidder participating at the Auction shall be required to confirm that it has not

 engaged in any collusion with respect to the bidding or the sale, as set forth in the Bidding

 Procedures.

        13.     Any Qualified Bidder who has a valid and perfected lien on any Assets of the

 Debtors’ estates (a “Secured Creditor”) and the right and power to credit bid claims secured by

 such liens, shall have the right to credit bid all or a portion of such Secured Creditor’s secured

 claims within the meaning of section 363(k) of the Bankruptcy Code; provided that a Secured

 Creditor shall have the right to credit bid its secured claim only with respect to the collateral by

 which such Secured Creditor is secured; provided, further, that a Secured Creditor shall not be

 entitled to any Bid Protections; provided, further, that the Stalking Horse Bidder shall have the


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right (including as part of any applicable Overbid) to credit bid all or a portion of the value of the

secured portion of its claims for the Assets pursuant to Bankruptcy Code section 363(k), including

any secured claims on account of its adequate protection liens, which amount shall be no less than

approximately $203,340,782, plus all accrued and unpaid interest (the “DIP Claim Amount”).

Notwithstanding the foregoing, nothing shall affect any rights of parties in interest, if any, with

respect to challenging whether any Qualified Bidder has a valid secured claim and such bidder’s

right to credit bid if the Court determines that such bidder does not have a valid secured claim.

For the avoidance of doubt, the Stalking Horse Bidder shall be considered a Qualified Bidder with

respect to its right to acquire all or any of the Assets by credit bid.

        14.     The Debtors may, in consultation with the Consultation Parties: (a) determine

which Qualified Bid or combination of Qualified Bids is the highest or otherwise best offer for

each Asset or Assets; (b) reject at any time before entry of an Order of the court approving the

Successful Bid, any bid that, in the discretion of the Debtors, is (i) inadequate or insufficient,

(ii) not in conformity with the requirements of the Bankruptcy Code or the Bidding Procedures, or

(iii) contrary to the best interests of the Debtors’ estates and their creditors; and (c) at or before the

conclusion of the Auction, may impose such other terms and conditions upon Qualified Bidders

as the Debtors determine, in consultation with the Consultation Parties, to be in the best interests

of the Debtors’ estates in these cases.

        15.     The Debtors are deemed to have complied with all contractual rights of first

refusals, or similar contractual purchasing rights, regarding the Assets. The Bidding Procedures

and the notice thereof provide all parties in interest with notice of, and the opportunity to

participate in, any potential Sale and/or Auction.




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IV.    Notice Procedures.

       16.     The form of Sale Notice substantially in the form attached hereto as Exhibit 3 is

approved.

       17.     On or before three business days after the entry of this Order, the Debtors shall

serve the Bidding Procedures Order and Bidding Procedures by first-class mail or courier service

upon: (a) the Office of the Bankruptcy Administrator for the Northern District of Alabama; (b)

counsel to the Committee; (c) counsel to the agent under the Debtors’ proposed

debtor-in-possession credit agreement; (d) counsel to the agent under the Debtors’ prepetition

first-lien credit agreement; (e) counsel to the lenders under the Debtors’ debtor-in-possession

credit agreement and prepetition first-lien credit agreement; (f) counsel to Mission Coal Funding,

LLC, in its capacity as the lender under the Debtors’ prepetition second-lien credit agreement;

(g) the United States Attorney’s Office for the Northern District of Alabama; (h) the Internal

Revenue Service; (i) the Environmental Protection Agency; (j) the office of the attorneys general

for the states in which the Debtors operate; (k) the Securities and Exchange Commission; (l) the

Pension Benefit Guarantee Corporation; (m) the United Mine Workers of America; (n) the United

Mine Workers of America Pension Plan; (o) counsel to the Stalking Horse Bidder; (p) all parties

who have expressed a written interest in some or all of the Assets; (q) all known holders of liens,

encumbrances, and other claims secured by the Assets; (r) each governmental agency that is an

interested party with respect to the Sale and transactions proposed thereunder; (s) the

counterparties to any executory contract or unexpired lease to which a Debtor is a party (the

“Contract Counterparties”); (t) all known creditors of the Debtors; and (u) any party that has

requested notice pursuant to Bankruptcy Rule 2002.




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V.          The Assumption Procedures.

            18.    The Assumption and Assignment Procedures set forth in the Bidding Procedures

     Motion regarding the assumption and assignment of the Assigned Contracts proposed to be

     assumed by the Debtors and assigned to a Successful Bidder are approved.


                   A.     Cure Notice. On or before January 14, 2019, with the Consent of the
                          Stalking Horse Bidder (such consent not to be unreasonably withheld or
                          conditioned) and subject to consultation with the Consultation Parties, the
                          Debtors shall file with the Court and serve via first class mail, electronic
                          mail, or overnight delivery, the Cure Notice annexed as Exhibit 4 to this
                          Order on all Contract Counterparties, and post the Cure Notice to the Case
                          Website (https://omnimgt.com/sblite/missioncoal/).

                   B.     Content of Cure Notice. The Cure Notice shall notify the applicable
                          Contract Counterparties that the Assigned Contracts may be subject to
                          assumption and assignment in connection with a proposed sale transaction,
                          and contain the following information: (i) a list of the Assigned Contracts;
                          (ii) the applicable Contract Counterparties; (iii) the Debtors’ good faith
                          estimates of the Cure Costs; and (iv) the deadline by which any Contract
                          Counterparty to an Assigned Contract may file an objection to the proposed
                          assumption, assignment, cure, and/or adequate assurance and the
                          procedures relating thereto; provided that service of a Cure Notice does not
                          constitute an admission that such Assigned Contract is an executory
                          contract or unexpired lease or that such Assigned Contract will be assumed
                          at any point by the Debtors or assumed and assigned pursuant to any
                          Successful Bid.

                   C.     Customized Cure Notice. The Debtors shall serve on all Contract
                          Counterparties, via first class mail or electronic mail, a customized version
                          of the Cure Notice, without the Assigned Contracts Schedule, which will
                          include: (a) the Omni Instructions; (b) information necessary and
                          appropriate to provide notice of the relevant proposed assumption and
                          assignment of Assigned Contracts and rights thereunder; (c) Cure Costs, if
                          any; and (d) the Necessary Notice Information. The Debtors shall serve on
                          the Rule 2002 Notice List, via first class mail or electronic mail, a modified
                          version of the Cure Notice that contains the Omni Instructions and
                          Necessary Notice Information. Service as set forth herein shall be deemed
                          proper, due, timely, good, and sufficient notice and no other or further
                          notice is necessary.

                   D.     Objections. Objections, if any, to a Cure Notice must: (i) be in writing;
                          (ii) comply with the applicable provisions of the Bankruptcy Rules, Local
                          Bankruptcy Rules, and any order governing the administration of these
                                                   11



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                chapter 11 cases; (iii) state with specificity the nature of the objection and,
                if the objection pertains to the proposed Cure Costs, state the cure amount
                alleged to be owed to the objecting Contract Counterparty, together with
                any applicable and appropriate documentation in support thereof; and
                (iv) be filed with the Court and served so as to be actually received by
                counsel to the Debtors prior to March 6, 2019, at 4:00 p.m. (prevailing
                Central Time); provided that the Debtors, subject to consultation with the
                Consultation Parties, may modify the Cure Objection Deadline by filing a
                notice of such modification on the Court’s docket.

          E.    Effects of Filing an Objection to a Cure Notice. A properly filed and
                served objection to a Cure Notice will reserve such objecting party’s rights
                against the Debtors only with respect to the assumption and assignment of
                the Assigned Contract at issue, and/or objection to the accompanying Cure
                Costs, as set forth in the objection, but will not constitute an objection to the
                remaining relief requested in the Sale to the Successful Bidder.

          F.    Dispute Resolution. Any objection to the proposed assumption and
                assignment of an Assigned Contract, or Cure Costs, that remain unresolved
                as of the Sale Hearing, shall be heard at the Sale Hearing (or at such later
                date as may be fixed by the Court). Upon entry of an order by the Court
                resolving such Assigned Contract Objection, the assignment, if approved
                by the Court, shall be deemed effective as of the later of either (i) the date
                such Contract Counterparty receives the Cure Notice, or (ii) the Effective
                Date. To the extent that any Assigned Contract Objection cannot be
                resolved by the parties, such Assigned Contract shall be assumed and
                assigned only upon satisfactory resolution of the Assigned Contract
                Objection, to be determined in the Stalking Horse Bidder’s or other
                Successful Bidder’s reasonable discretion. To the extent an Assigned
                Contract Objection remains unresolved, the Assigned Contract may be
                conditionally assumed and assigned, subject to the consent of the Stalking
                Horse Bidder or other Successful Bidder, pending a resolution of the
                Assigned Contract Objection after notice and a hearing. If an Assigned
                Contract Objection is not satisfactorily resolved, the Stalking Horse Bidder
                or other Successful Bidder may determine that such Assigned Contract
                should be rejected and not assigned, in which case the Stalking Horse
                Bidder or other Successful Bidder will not be responsible for any Cure Costs
                in respect of such contract.

          G.    Supplemental Cure Notice. The Debtors reserve the right, with the
                consent of the Successful Bidder(s) and subject to consultation with the
                Consultation Parties, at any time after the Assumption and Assignment
                Service Date, to: (a) supplement the Assigned Contract Schedule attached
                to the Cure Notice with previously omitted Assigned Contracts in
                accordance with the definitive agreement for a Sale; (b) remove any
                Assigned Contracts from the list of executory contracts and unexpired
                leases ultimately selected as Assigned Contracts that a Successful Bidder
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                      proposes be assumed and assigned to it in connection with a Sale or add to
                      such list; and/or (c) modify the previously stated Cure Cost associated with
                      any Assigned Contracts (a “Supplemental Assigned Contracts Schedule”).
                      In the event that the Debtors exercise any of the rights reserved above, the
                      Debtors will promptly provide the Consultation Parties with notice and an
                      opportunity to object to any such actions, and thereafter will serve a
                      Supplemental Cure Notice by electronic transmission, hand delivery, or
                      overnight mail on the applicable Contract Counterparty, and its attorney, if
                      known, to each impacted Assigned Contract at the last known address
                      available to the Debtors. Each Supplemental Cure Notice will include the
                      same information with respect to listed Assigned Contracts as was included
                      in the Cure Notice. Any Assigned Contract Counterparty listed on a
                      Supplemental Cure Notice may file a Supplemental Assigned Contract
                      Objection only if such objection is to the proposed assumption and
                      assignment of the applicable Assigned Contract or the proposed Cure Costs,
                      if any. All Supplemental Assigned Contract Objections must: (a) state with
                      specificity the legal and factual basis thereof as well as what Cure Costs the
                      objecting party believes are required, if any; (b) include appropriate
                      documentation in support of the objection; and (c) be filed and served on
                      the Objection Recipients no later than 4:00 p.m. (prevailing Central Time)
                      on the date that is the later of (i) the Sale Objection Deadline and
                      (ii) fourteen days from the date of service of such Supplemental Cure
                      Notice, which date will be set forth in the Supplemental Cure Notice (the
                      “Supplemental Assigned Contract Objection Deadline”).

               H.     Supplemental Hearing. If a Contract Counterparty files a Supplemental
                      Assigned Contract Objection in a manner that is consistent with the
                      requirements set forth above, and the parties are unable to consensually
                      resolve the dispute, the Debtors will seek a Supplemental Assigned Contract
                      Hearing to determine the Cure Costs, if any, and approve the assumption of
                      the relevant Assigned Contracts. If there is no such objection, then the
                      Debtors will obtain entry of an order, including by filing a certification of
                      no objection, fixing the Cure Costs and approving the assumption of any
                      Assigned Contract listed on a Supplemental Cure Notice.

       19.     If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice (or Supplemental Cure Notice) shall be

controlling, notwithstanding anything to the contrary in any Assigned Contract or any other

document, and (b) the Contract Counterparty will be deemed to have consented to the assumption

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and assignment of the Assigned Contract and the Cure Costs, if any, and will be forever barred

from objecting to the assumption and assignment of such Assigned Contract and rights thereunder,

including the Cure Costs, if any, and from asserting any other claims related to such Assigned

Contract against the Debtors or the Successful Bidder, or the property of any of them.

       20.     Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed no later than the later of the Sale Hearing or Supplemental

Assigned Contract Objection Deadline, as applicable, and such objections will be resolved at the

Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The Debtors may

adjourn the resolution of any such objection to a later hearing.

       21.     The inclusion of an Assigned Contract on the Assigned Contract Schedule,

Supplemental Assigned Contract Schedule, and/or in a Supplemental Cure Notice will not:

(a) obligate the Debtors to assume any Assigned Contract listed thereon or obligate the Successful

Bidder to take assignment of such Assigned Contract; or (b) constitute any admission or agreement

of the Debtors that such Assigned Contract is an executory contract or unexpired lease. Only those

Assigned Contracts that are included on a schedule of assumed and assigned contracts attached to

the definitive sale agreement with the Successful Bidder (including amendments or modifications

to such schedules in accordance with such agreement) will be assumed and assigned to the

Successful Bidder.

       22.     Solely in respect of the procedures for assuming and assigning, or rejecting,

Executory Contracts or Unexpired Leases, in the event of any inconsistencies between this Order,

the Bidding Procedures Motion, or the Bidding Procedures, this Order shall govern in all respects.




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VI.    Miscellaneous.

       23.     Notwithstanding anything to the contrary in the Motion or this Order, the relief set

forth herein shall be subject to the terms, conditions, limitations, and requirements of the Final

Order (I) Authorizing Postpetition Secured Financing Pursuant to 11 U.S.C. §§ 105(a), 361, 362,

363, 364(c)(1), 364(c)(2), 363(c)(3), 364(d)(1) and 364(e), (II) Authorizing the Debtors’ Use of

Cash Collateral Pursuant to 11 U.S.C. § 363, (III) Granting Adequate Protection Pursuant to 11

U.S.C. §§ 361, 363, and 364, and (IV) Scheduling a Final Hearing Pursuant to Bankruptcy Rules

4001(b) and 4001(c) (together with any approved budget (including any permitted variances) in

connection therewith, the “Final DIP Order”), and to the extent there is any inconsistency between

the terms of the Final DIP Order and any action taken or proposed to be taken under this Order,

the terms of the Final DIP Order (together with any approved budget (including any permitted

variances) in connection therewith) shall control.

       24.     The failure to include or reference a particular provision of the Bidding Procedures

specifically in this Order shall not diminish or impair the effectiveness or enforceability of such

provision.

       25.     Nothing in this Order shall preclude (a) the Debtors from considering, negotiating

and filing, (b) any party in interest from proposing to and negotiating with the Debtors, or (c) any

party in interest from seeking relief to file, in each case, a plan of reorganization in lieu of or in

connection with a sale of less than substantially all of the Debtors’ assets.

       26.     In the event of any inconsistency between this Order and the Motion and/or the

Bidding Procedures, this Order shall govern in all respects.




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       27.     Notwithstanding anything to the contrary in the Bidding Procedures, any

exclusivity, “no shop,” or other provision in any Bid that purports to limit the Debtors’ ability to

market the Assets shall be null and void.

       28.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

       29.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       30.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       31.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: __________, 2018
 Birmingham, Alabama                        THE HONORABLE TAMARA O. MITCHELL
                                            UNITED STATES BANKRUPTCY JUDGE




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                                  Exhibit 1

                      Stalking Horse Purchase Agreement




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                                                                    SUBJECT TO FRE 408
                                                         FOR DISCUSSION PURPOSES ONLY
                                           SUBJECT TO FURTHER NEGOTIATION AND REVIEW




                                         ASSET PURCHASE AGREEMENT

                                         DATED AS OF DECEMBER 5,   2018

                                                BY AND AMONG

                              NEW COAL ACQUISITION CO, LLC, AS BUYER

                                                     AND

                                         MISSION COAL COMPANY, LLC,

                                                     AND

           CERTAIN SUBSIDIARIES OF MISSION COAL COMPANY, LLC, AS THE SELLERS




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                                ASSET PURCHASE AGREEMENT
               THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of
December [], 2018 (the “Execution Date”), is made and entered into by and among New Coal
Acquisition Co, LLC, a Delaware limited liability company (“Buyer”), Mission Coal Company,
LLC, a Delaware limited liability company (the “Company”), and the Additional Sellers (as
defined below) (together with the Company, the “Sellers” and each entity individually a “Seller”).
Capitalized terms used herein and not otherwise defined herein have the meanings set forth in
Article 1.
                                           RECITALS
              WHEREAS, the Sellers are engaged in the business of mining, processing,
marketing and selling coal through certain mining complexes;
              WHEREAS, on October 14, 2018, the Sellers filed voluntary petitions (the
“Bankruptcy Cases”) under chapter 11 of Title 11 §§101-1330 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District of Alabama
(the “Bankruptcy Court”);
               WHEREAS, in accordance with the Bidding Procedures and subject to the terms
and conditions set forth in this Agreement and the entry of the Sale Order, the Sellers desire to
sell to Buyer all of the Acquired Assets and to assign to Buyer all of the Assumed Liabilities,
Buyer desires to purchase from the Sellers all of the Acquired Assets and assume all of the
Assumed Liabilities, and the Parties intend to effectuate the transactions contemplated hereby,
upon the terms and conditions hereinafter set forth;
              WHEREAS, the Acquired Assets and Assumed Liabilities shall be purchased and
assumed by Buyer pursuant to the Sale Order, free and clear of all Encumbrances (other than
Permitted Encumbrances), pursuant to Sections 105, 363 and 365 of the Bankruptcy Code, and
Rules 4001, 6004 and 6006 of the Federal Rules of Bankruptcy Procedure;
              WHEREAS, the Sellers’ ability to consummate the transactions set forth in this
Agreement is subject to, among other things, the entry of the Sale Order by the Bankruptcy Court;
and
                WHEREAS, the board of managers (or similar governing body) of each Seller has
determined that it is advisable and in the best interests of such Seller and its constituencies to
enter into this Agreement and to consummate the transactions provided for herein, subject to
entry of the Sale Order, and each has approved the same.
              NOW, THEREFORE, in consideration of the premises and the mutual promises
herein made, and in consideration of the foregoing and of the representations, warranties,
covenants, agreements and conditions herein contained, the receipt and sufficiency of which are
hereby acknowledged, the Parties, intending to be legally bound hereby, agree as follows:




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                                          ARTICLE 1

                                          DEFINITIONS

               1.1    Definitions.
               For purposes of this Agreement, the following terms have the meanings specified
or referenced below.
                “Accounts Receivable” means, with respect to each Seller, specifically excluding
any Excluded Asset (including the Pinnacle Business), all accounts receivable, notes receivable,
purchase orders, negotiable instruments, completed work or services that has not been billed,
chattel paper, notes and other rights to payment, including those consisting of all accounts
receivable in respect of services rendered or products sold to customers by such Seller, any other
miscellaneous accounts receivable of such Seller, and any claim, remedy or other right of such
Seller related to any of the foregoing, together with all unpaid financing charges accrued thereon
and any payments with respect thereto.
               “Accrued Payroll” means all wages and other related obligations that have
accrued since the end of the last payroll period immediately prior to the Closing Date.
               “Acquired Assets” has the meaning set forth in Section 2.1.
                “Action” means any action, suit, petition, plea, charge, claim, demand, hearing,
inquiry, arbitration, complaint, grievance, summons, litigation, mediation, proceeding (including
any civil, criminal, administrative, investigative or appellate proceeding), prosecution, contest,
inquest, audit, examination, investigation or similar matter by or before any Governmental
Authority.
               “Additional Sellers” means:
                (i)   Beard Pinnacle, LLC, an Oklahoma limited liability company; and
               (ii)   Oak Grove Land Company, LLC, Oak Grove Resources, LLC, Pinnacle
                      Land Company, LLC, Pinnacle Mining Company, LLC, Seminole
                      Alabama Mining Complex, LLC, Seminole Coal Resources, LLC,
                      Seminole West Virginia Mining Complex, LLC, Seneca Coal Resources,
                      LLC, and Seneca North American Coal LLC, each a Delaware limited
                      liability company.
              “Affiliate” has the meaning set forth in Rule 12b-2 of the regulations promulgated
under the Exchange Act.
               “Agreement” has the meaning set forth in the introductory paragraph.
               “Alabama Contract Mining Agreement” has the meaning set forth in Section
7.7(a)(iv).
               “Alabama Mining License” has the meaning set forth in Section 7.7(a)(ii)(1).
               “Alabama Mining Permits” has the meaning set forth in Section 7.7(a)(iii)(1).
               “Allocation” has the meaning set forth in Section 3.2.




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               “Alternative Transaction” means (i) the filing of a plan of reorganization
contemplating the sale or retention of all or any portion of the Acquired Assets that is
inconsistent with the terms of this Agreement or (ii) a sale, lease or other disposition directly or
indirectly by merger, consolidation, tender offer, share exchange or otherwise to one or more
third parties of all or substantially all of the Acquired Assets, in each case excluding the
transactions contemplated hereby.
               “Antitrust Law” means, collectively, the HSR Act, Title 15 of the United States
Code §§ 1-7, (the Sherman Act), Title 15 of the United States Code §§ 12-27 and Title 29 of the
United States Code §§ 52-53, (the Clayton Act), the Federal Trade Commission Act (15 U.S.C.§
41 et seq.) and the rules and regulations promulgated thereunder and any other Legal
Requirements that are designed or intended to prohibit, restrict or regulate actions having the
purpose or effect of monopolization or restraint of trade or lessening of competition through
merger or acquisition, as such of the foregoing are enacted and in effect as of the date hereof.
               “Applicant Violator System” has the meaning set forth in Section 5.9(g).
               “Apportioned Taxes” has the meaning set forth in Section 8.1(b).
               “Assumed Contracts” has the meaning set forth in Section 2.5(a)(i).
               “Assumed Liabilities” has the meaning set forth in Section 2.3.
              “Assumption Agreement” means an Assignment and Assumption Agreement in
customary form reasonably acceptable to the Parties.
               “Available Contracts” has the meaning set forth in Section 2.5(a)(i).
               “Avoidance Action” means any claim, right or cause of action of any Seller
arising under Chapter 5 of the Bankruptcy Code and any analogous state law claims relating to
the Acquired Assets or the Business.
               “Backup Bidder” has the meaning set forth in the Bidding Procedures.
               “Bankruptcy Cases” has the meaning set forth in the recitals.
               “Bankruptcy Code” has the meaning set forth in the recitals.
               “Bankruptcy Court” has the meaning set forth in the recitals.
               “Benefit Plan” and “Benefit Plans” have the meanings set forth in Section 5.11(a).
               “Bid Deadline” has the meaning set forth in Section 7.5(b).
              “Bidding Procedures” means bid procedures in substantially the form attached
hereto as Exhibit A (with other changes approved by Buyer and the Sellers), as the same may be
modified and then approved by the Bankruptcy Court pursuant to the Bidding Procedures Order.
                “Bidding Procedures Motion” means the motion filed by the Sellers pursuant to,
inter alia, Sections 363 and 365 of the Bankruptcy Code to obtain the Bidding Procedures Order
and approve the transactions contemplated hereby.
                 “Bidding Procedures Order” means an Order of the Bankruptcy Court in
substantially the form attached hereto as Exhibit B (with other changes approved by Buyer and
the Sellers), as the same may be modified and approved by the Bankruptcy Court.



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               “Bill of Sale” means a Bill of Sale in customary form reasonably acceptable to the
Parties.
               “Black Lung Act” means the Federal Coal Mine Safety and Health Act of 1969,
the Black Lung Benefits Act of 1972, the MSHA, the Black Lung Benefits Reform Act of 1977,
or and the Black Lung Benefits Amendments of 1981.
            “Black Lung Assumed Liabilities” means any Black Lung Liability relating to
any Buyer Employee now existing or hereafter arising.
              “Black Lung Liability” means any liability or benefit obligations related to black
lung claims and benefits under the Black Lung Act, and liabilities and benefits related to
pneumoconiosis, silicosis, exposure to isocyanates or other lung disease arising under any federal
or state law.
                “Business” means the business and operations of the Sellers (wherever such
business and operations are situated or conducted) related to the Acquired Assets, including (i)
the business and operations related to metallurgical coal, exploration and extraction and related
operations at the Maple Eagle (West Virginia) and Oak Grove (Alabama) mining facilities and (ii)
the selling, marketing, purchasing and blending of coal and related operations related to the
Acquired Assets, in each case of the foregoing clauses (i) and (ii), other than with respect to such
business and operations to the extent they relate to any Excluded Assets or Excluded Liabilities.
               “Business Day” means any day of the year on which national banking institutions
in New York, New York are open to the public for conducting business and are not required,
unable to or authorized to close.
              “Buyer” has the meaning set forth in the introductory paragraph and shall also
include any Buyer Designee.
               “Buyer Designee” has the meaning set forth in Section 4.4.
               “Buyer Employees” has the meaning set forth in Section 8.5(a).
               “Cash Consideration” means an amount equal to the sum of (i) cash equal to
$50,000, of which $50,000 shall be allocated as consideration for the Avoidance Actions
included in the Acquired Assets, plus (ii) the Wind-Down Escrow Amount plus (iii) the Payroll
Escrow Amount plus (iv) the Estate Retained Professional Fees Escrow Amount, which amounts
shall be negotiated between Buyer and the Sellers in accordance with Section 7.10.
               “Claim” means a “claim” as defined in Section 101(5) of the Bankruptcy Code,
against any Seller.
               “Closing” has the meaning set forth in Section 4.1.
               “Closing Date” has the meaning set forth in Section 4.1.
                “Closing Required Permits” means all Governmental Authorizations (including
Permits) (i) held by the Sellers with respect to or that relate to the Business and (ii) necessary for
the operation and conduct of the Business and Acquired Assets.
               “Coal Act” means the Coal Industry Retiree Health Benefit Act of 1992, 26 U.S.C.
§§ 9701, et seq.




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              “Coal Reserves” means any and all of the coal located upon or within the Owned
Real Property or Leased Real Property to the extent owned by the Sellers, but excluding, for the
avoidance of doubt, any such coal at the Pinnacle Business.
               “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985.
               “Code” means the Internal Revenue Code of 1986.
               “Collective Bargaining Agreement” has the meaning set forth in Section 5.10(a).
               “Company” has the meaning set forth in the introductory paragraph.
               “Confidential Information” has the meaning set forth in Section 12.2.
               “Contract” means any legally binding agreement, contract, obligation, promise,
undertaking, lease (including Leases, Lessor Leases and Occupancy Agreements), sublease,
purchase order, arrangement, license, commitment, insurance policy or other binding
arrangement or understanding (in each case whether written or oral), and any amendments,
modifications or supplements thereto.
              “Copyrights” means all United States and foreign copyright rights in any original
works of authorship, whether registered or unregistered, including all copyright registrations and
applications.
               “Credit Bid and Release” has the meaning set forth in Section 3.1(c).
                 “Cure Costs” means all monetary liabilities, including pre-petition monetary
liabilities, of the Sellers that must be paid or otherwise satisfied to cure all of the Sellers’
monetary defaults under the Assumed Contracts pursuant to Section 365 of the Bankruptcy Code
at the time of the assumption thereof and assignment to Buyer as provided hereunder as such
amounts are determined by the Bankruptcy Court or approved pursuant to the assignment and
assumption procedures provided for in the Bidding Procedures Order.
               “Cure Notice” means, with respect to each Available Contract, the notice
submitted by the Sellers to the counterparty or counterparties thereto pursuant to the Bidding
Procedures Order setting forth, among other things, the Cure Cost amount with respect thereto as
calculated by the Sellers.
               “Data Room” means that certain SecureDocs virtual data room maintained under
the name “Mustang” by or on behalf of the Company in connection with the Bankruptcy Cases at
https://advantage.securedocs.com/.
                “Deeds” means (i) unless otherwise provided in a Schedule to this Agreement
with respect to conveyance of a particular parcel of Real Property, special (or limited) warranty
deeds, or jurisdictional equivalents, as the case may be, in recordable form for the appropriate
jurisdiction, reasonably acceptable to Buyer, transferring title to the Real Property other than
Leased Real Property and Improvements thereon (subject only to Permitted Encumbrances), and
(ii) if expressly provided in a Schedule to this Agreement with respect to conveyance of a
particular parcel of Real Property, the type of deed or other instrument so specified.
               “Determination Date” has the meaning set forth in Section 2.5(a)(i).
              “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-
In-Possession Credit Agreement dated as of October 16, 2018, by and among the Company, as



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borrower, the guarantors from time to time party thereto, the DIP Lenders and Wilmington
Savings Fund Society, FSB, as administrative agent, as restated, amended and restated,
supplemented, waived and/or otherwise modified prior to the date hereof.
               “DIP Documents” has the meaning set forth in the Final DIP Order.
               “DIP Lenders” has the meaning set forth in the Final DIP Order.
               “Disclosure Schedules” means the Disclosure Schedules attached hereto, dated as
of the date hereof, delivered or made available by the Sellers to Buyer in connection with the
execution of this Agreement, as the same may be supplemented and amended pursuant to Section
7.6.
              “Disclosure Statement” means a Disclosure Statement for the Plan of
Reorganization, in form and substance acceptable to the Required Lenders.
                 “Documents” means all of the documents that are used in, held for use in, or that
are related to the Business.
              “Employees” means all of the employees of the Sellers on the Execution Date, as
well as any additional persons who become employees of the Sellers in the Ordinary Course of
Business of the Sellers during the period from the Execution Date through and including the
Closing Date.
                 “Encumbrance” means any “interest”, as that term is used in Section 363(f) of the
Bankruptcy Code, charge, lien, Claim, right, demand, mortgage, lease, debt, losses, damage,
demand, fine, judgment, penalty, liability, obligation, commitment, assessment, cost, expense,
loss, expenditure, charge, fee, penalty, fine, contribution, premium, sublease, hypothecation,
deed of trust, pledge, security interest, option, right of use or possession, right of first offer or
first refusal, rights of others, easement, restrictive covenant, right of way, preemptive right,
conditional sale, servitude, conditional sale agreement or restriction (whether on voting, sale,
transfer, defenses, set-off or recoupment rights, disposition or otherwise), encroachment,
encumbrance, third party interest or other restriction or limitation of any kind, whether imposed
by Contract, Legal Requirement, equity or otherwise.
                 “Environmental, Health and Safety Laws” means any and all Legal Requirements
concerning or relating to (a) public health and safety (to the extent relating to Release of or
exposure to Hazardous Substances), (b) worker/occupational health and safety (to the extent
relating to Release of or exposure to Hazardous Substances), (c) land use, zoning, odor or noise,
or (d) pollution or protection of the environment, including those relating to (i) the presence, use,
manufacturing, refining, production, generation, handling, transportation, treatment, recycling,
storage, disposal, distribution, importing, labeling, testing, processing, discharge, Release,
threatened Release, control, or cleanup involving Hazardous Substances, (ii) SMCRA (including
its implementing regulations and any state analogs), (iii) MSHA, (iv) human health as affected
by hazardous or toxic substances, (v) acid mine drainage, and (vi) mining operations and
activities to the extent relating to Reclamation.
               “Environmental Permit” means any and all permits, licenses, approvals, consents,
waivers, franchises, filings, accreditations, registrations, certifications, notifications, exemptions,
clearances and any other authorization required under any applicable Environmental, Health and
Safety Law (including those required under any applicable Environmental, Health and Safety
Laws for the construction, maintenance and operation of any coal mine or related processing


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facilities or Reclamation and restoration of land, water and any current, abandoned or former
mines, and of any other environment affected by such mines, as required pursuant to any
applicable Environmental, Health and Safety Law).
               “Equipment” means all furniture, fixtures, equipment, computers, machinery,
vehicles, apparatus, appliances, implements, telephone systems, signage, supplies and all other
tangible personal property of every kind and description, and Improvements and tooling used, or
held for use, in connection with the operation of the Business, wherever located, including
communications equipment, information technology assets, and any attached and associated
hardware, routers, devices, panels, cables, manuals, cords, connectors, cards, and vendor
documents, and including all warranties of the vendor applicable thereto.
                 “ERISA” means the Employee Retirement Income Security Act of 1974.
                “ERISA Affiliate” means any Person, trade or business that would be considered
a single employer with any Seller or any Subsidiary of any Seller under Sections 414(b), (c), (m)
or (o) of the Code or Section 4001(b) of ERISA or would be under “common control” with any
Seller or any Subsidiary of any Seller within the meaning of Section 4001(a)(14) of ERISA. Any
former ERISA Affiliate shall continue to be considered an ERISA Affiliate within the meaning
of this definition with respect to the period such entity was an ERISA Affiliate and with respect
to Liabilities arising during such period (but, for the avoidance of doubt, not after such period)
for which such Person could be liable under the Code or ERISA.
                 “Escrow Proposal” has the meaning set forth in Section 7.10(a).
               “Estate Retained Professional Fee Claims” means any administrative claim for the
compensation of Professionals and the reimbursement of expenses incurred by such
Professionals in connection with the Bankruptcy Cases through and including the Closing Date
to the extent such fees and expenses have not been paid pursuant to an order of the Bankruptcy
Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of a
Professional’s requested fees and expenses, then the amount by which such fees or expenses are
reduced or denied shall reduce the applicable Estate Retained Professional Fee Claim.
               “Estate Retained Professional Fees Escrow Account” means an escrow account
established pursuant an escrow agreement in form and substance satisfactory to the Sellers and
Buyer, which shall be funded at Closing by Buyer with a portion of the Cash Consideration equal
to the Estate Retained Professional Fees Escrow Amount.
                [“Estate Retained Professional Fees Escrow Amount” means the reasonable
estimate of the aggregate amount of (i) Estate Retained Professional Fee Claims and other unpaid
fees and expenses the Professionals have incurred or will incur in rendering services to the
Sellers or a statutory committee of unsecured creditors in the Bankruptcy Cases prior to and as of
the Closing Date, and (ii) the fees and expenses associated with the administration of the Estate
Retained Professional Fees Escrow Account, in each case as determined between Buyer and the
Sellers in accordance with Section 7.10.]1


1
    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is: “means an amount negotiated between Buyer and the Sellers in accordance with
    Section 7.10 to fund (i) Estate Retained Professional Fee Claims and other unpaid fees and expenses the
    Professionals have incurred or will incur in rendering services to the Sellers or a statutory committee of


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                “Exchange Act” means the Securities Exchange Act of 1934.
                “Excluded Assets” has the meaning set forth in Section 2.2.
                “Excluded Contracts” has the meaning set forth in Section 2.5(a)(i).
                “Excluded Liabilities” has the meaning set forth in Section 2.4.
                “Execution Date” has the meaning set forth in the introductory paragraph.
                “Extended Contract Period” has the meaning set forth in Section 2.5(a)(i).
                “FASB 410” has the meaning set forth in Section 5.20(a).
                “FCPA” has the meaning set forth in Section 5.18.
               “Final DIP Order” means the Final Order (I) Authorizing Postpetition Secured
Financing Pursuant to 11 U.S.C. §§ 105(A), 361, 362, 363, 364(C)(1), 364(C)(2), 364(C)(3),
364(D)(1) and 364(E), (II) Authorizing the Debtors’ Use of Cash Collateral Pursuant to 11 U.S.C.
§363, (III) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 363 and 364 and (IV)
Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(B) and 4001(C) [Docket No.
300].
                 “Final Order” means a judgment or Order of the Bankruptcy Court (or any other
court of competent jurisdiction) entered by the clerk of the Bankruptcy Court (or such other court)
on the docket in the Bankruptcy Cases (or the docket of such other court), which has not been
modified, amended, reversed, vacated or stayed (other than such modifications or amendments
that are consented to by Buyer) and as to which (A) the time to appeal, petition for certiorari, or
move for a new trial, stay, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or motion for new trial, stay, reargument or rehearing shall then be pending
or (B) if an appeal, writ of certiorari, new trial, stay, reargument or rehearing thereof has been
sought, such Order or judgment of the Bankruptcy Court (or other court of competent
jurisdiction) shall have been affirmed by the highest court to which such order was appealed, or
certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have expired,
as a result of which such Action or Order shall have become final in accordance with Bankruptcy
Rule 8002; provided, that the possibility that a motion under Rule 60 of the Federal Rules of
Civil Procedures, or any analogous rule under the Bankruptcy Rules, may be filed relating to
such Order, shall not cause an Order not to be a Final Order.
                “First Lien Credit Documents” has the meaning set forth in the Final DIP Order.
               “FLSA” means Fair Labor Standards Act and any state or local laws governing
wages, hours, and/or overtime pay.
              “GAAP” means generally accepted accounting principles in the United States of
America, consistently applied.
                “Gas Well” means any coal bed methane gas well operated by any Seller.
              “Governmental Authority” means any United States federal, state or local or any
foreign government, multi-national organization, quasi-governmental authority, or other similar

   unsecured creditors in the Bankruptcy Cases prior to and as of the Closing Date, and (ii) the fees and expenses
   associated with the administration of the Estate Retained Professional Fees Escrow Account.”



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recognized governmental authority or regulatory or administrative authority, agency or
commission or any court, tribunal or judicial body having jurisdiction.
               “Governmental Authorization” means any approval, consent, license, Permit,
waiver or other authorization issued, granted or otherwise made available by or under the
authority of any Governmental Authority.
                 “Hazardous Substance” means any “pollutant,” “contaminant,” “hazardous
waste,” “hazardous material” or “hazardous substance” under any Environmental, Health and
Safety Laws or any other substance, pollutant, contaminant, waste or related material, or
combination thereof, whether solid, liquid, or gaseous in nature, subject to regulation,
investigation, remediation, control or corrective action under any Environmental, Health and
Safety Laws, in each case due to its toxic, hazardous, dangerous or deleterious properties or
characteristics.
              “Hearing” means the hearing to consider approval of the transactions
contemplated hereby.
               “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976,
and the rules and regulations promulgated thereunder.
              “Improvements” means the buildings, structures, fixtures, systems, facilities,
easements, rights-of-way, privileges, improvements, PP&E, licenses, hereditaments,
appurtenances and all other rights and benefits appurtenant to the Owned Real Property or
Leased Real Property.
                 “Indebtedness” means, at any time and with respect to any Person: (a) all
indebtedness of such Person for borrowed money; (b) all indebtedness of such Person for the
deferred purchase price of property or services (other than Trade Payables, other expense
accruals and deferred compensation items arising in the Ordinary Course of Business); (c) all
obligations of such Person evidenced by notes, bonds, debentures or other similar instruments
(other than performance, surety and appeal bonds arising in the Ordinary Course of Business in
respect of which such Person’s liability remains contingent); (d) all indebtedness of such Person
created or arising under any conditional sale or other title retention agreement with respect to
property acquired by such Person (even though the rights and remedies of the seller or lender
under such agreement in the event of default are limited to repossession or sale of such property);
(e) all obligations of such Person under leases which have been or should be, in accordance with
GAAP, recorded as capital leases, to the extent required to be so recorded; (f) all reimbursement,
payment or similar obligations of such Person, contingent or otherwise, under acceptance, letter
of credit or similar facilities; (g) all Indebtedness of others referred to in clauses (a) through (f)
above guaranteed directly or indirectly by such Person; and (h) all Indebtedness referred to in
clauses (a) through (g) above secured by (or for which the holder of such Indebtedness has an
existing right, contingent or otherwise, to be secured by) any Encumbrance upon or in property
(including accounts and contract rights) owned by such Person, even though such Person has not
assumed or become liable for the payment of such Indebtedness.
                “Intellectual Property” means all intellectual property, including all Copyrights,
Patents, Trademarks and Trade Secrets, owned, used or licensed by the Sellers and used or held
for use in the Business or the Acquired Assets.
               “Inventory” has the meaning set forth in Section 2.1(a).


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               “IRS” has the meaning set forth in Section 5.11(b).
                “Knowledge” means, with respect to any matter in question, in the case of the
Sellers, the actual knowledge of any of the individuals listed on Schedule 1.1(a) after due inquiry.
               “Lease” has the meaning set forth in the definition of “Leased Real Property.”
              “Lease Assignments” means one or more assignment and assumption agreements
to assign to Buyer any Leases that are to be assumed by Buyer pursuant to this Agreement, in
customary form and reasonably acceptable to the Parties.
                “Leased Real Property” means, specifically excluding any Excluded Asset
(including the Pinnacle Business), the interests in the real property and real property let, leased
or subleased by the Sellers, as tenant, subtenant, lessee or sublessee, or in which a Seller has
been granted a possessory interest or right to use or occupy all or any portion of the same
including as the same are evidenced by any and all mining leases, coal leases, coal mining leases,
underground coal mining and gob gas leases, coal land leases, coal degasification leases, use
agreements or other occupancy agreements and all short form leases, memoranda and
amendments relating to the foregoing together with, in each case to the extent let, leased, used or
occupied by the Sellers in connection with the Business or the Acquired Assets, any and all
underground and surface coal reserves, mineral rights, oil and gas rights and interests, mining
rights, surface rights, water rights, rights of way unrecouped minimum, advance or pre-paid
production royalties, all buildings and other structures, facilities or Improvements located
thereon, all fixtures, systems, Equipment and items of personal property of the Sellers attached
or appurtenant thereto, and all easements, licenses, rights and appurtenances relating to the
foregoing (and any present or future rights, title and interests arising from or related to the
foregoing) (each such lease a “Lease,” and collectively, the “Leases”).
                “Legal Requirement” means any federal, state, provincial, local, municipal,
foreign, international, or multinational law (statutory, common or otherwise), constitution, treaty,
convention, ordinance, equitable principle, code, rule, regulation or Order enacted, adopted,
promulgated, issued or applied by any Governmental Authority or other similar authority,
including for the avoidance of doubt MSHA, OSHA, and any Mining Law.
               “Lessor Leases” has the meaning set forth in Section 5.4(b).
               “Liability” means a Claim or Encumbrance of any kind or nature whatsoever
(whether known or unknown, asserted or unasserted, absolute or contingent, accrued or
unaccrued, liquidated or unliquidated, or due or to become due).
                “Material Adverse Effect” means any change, event, state of facts or occurrence
that individually or in the aggregate (taking into account all other such changes, events, states of
fact or occurrences) has had, or would be reasonably expected to have, a material adverse change
in or material adverse effect on (a) the Acquired Assets or the assets, properties, prospects,
financial condition or results of operations of the Business (excluding the Excluded Assets and
the Excluded Liabilities), in each case taken as a whole or (b) the ability of the Sellers to
consummate the transactions contemplated hereby or to perform any of their obligations under
this Agreement, but excluding any change or effect to the extent that it results from or arises out
of (i) any reasonably anticipated effects of the filing, commencement or prosecution of the
Bankruptcy Cases; (ii) the execution and delivery of this Agreement or the announcement
thereof or consummation of the transactions contemplated hereby; (iii) changes in Legal


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Requirements or accounting regulations (including GAAP); (iv) any specific action required to
be taken (or omitted) hereby or taken (or omitted) at the written request of Buyer; (v) general or
technological changes in the industries in which the Sellers compete; (vi) any failure of the
Business to achieve external or internal forecasts or financial projections; (vii) any breach of this
Agreement by Buyer; (viii) any changes in financial or securities markets or any change or effect
of economic or political conditions (including acts of terrorism, hostilities, sabotage, military
actions or war, or any material worsening of such acts of terrorism, hostilities, sabotage, military
actions or war); or (ix) acts of nature (including earthquakes, storms, severe weather, fires, floods
and natural catastrophes) in each case of clauses (iii), (v) and (viii) to the extent that such
conditions do not disproportionately affect the Sellers, taken as a whole, as compared to other
companies that are principally engaged in the same Business as the Sellers.
               “Material Contract” means any Contract pursuant to which (i) any Seller enters
into a new, or a renewal of an existing, obligation or agreement having a term greater than or
equal to one (1) year (as renewed, as applicable) or (ii) any Seller may be obligated to incur
potential aggregate Liabilities greater than or equal to $100,000 per annum.
               “Mining” has the meaning set forth in the definition of Mining Law.
               “Mining Financial Assurances” has the meaning set forth in Section 5.20(a).
               “Mining Law” means all Legal Requirements relating to the exploration,
extraction, processing, storage and transportation of coal and non-coal minerals and to the
Reclamation of lands used for such activities (collectively referred to as “Mining”), including (i)
SMRCA and (ii) MSHA.
              “Mining Permits” means all applicable Permits related to Mining or otherwise
required by Mining Law.
                “MSHA” means the Federal Mine Safety and Health Act of 1977, 30 U.S.C. § §
801 et. seq., and state analogs.
              “Multiemployer Plan” means a “multiemployer plan,” within the meaning of
Section 4001(a)(3) of ERISA.
                “Neutral Accountant” shall mean a national independent accounting firm selected
by the Sellers and reasonably acceptable to Buyer.
              “Obligations” means all of the Sellers’ respective obligations arising out of the
DIP Documents and the First Lien Credit Documents for principal, interest, fees, costs, expenses,
prepayment premium, indemnification obligations, charges and all other obligations of whatever
nature owing, whether or not contingent, whenever arising, accrued, accruing, due, owing or
chargeable under the DIP Documents and the First Lien Credit Documents.
               “Occupancy Agreements” has the meaning set forth in Section 5.4(d).
               “Order” means any award, writ, injunction, judgment, order, ruling, decision,
subpoena, mandate, precept, command, directive, consent, approval, award, decree or similar
determination or finding entered, issued, made or rendered by any Governmental Authority or an
arbitrator, mediator or other judicially sanctioned Person or body.




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                “Ordinary Course of Business” means, with respect to any Person, the ordinary
and usual course of normal day-to-day operations of such Person and its business, consistent
with its past practice.
               “OSHA” means the Occupational Safety and Health Act and state analogs.
               “Outside Date” has the meaning set forth in Section 11.1(b)(ii).
                “Owned Real Property” means, specifically excluding any Excluded Asset
(including the Pinnacle Business), all real property owned by any Seller, and all right, title and
interest of such Seller therein, together with all of such Seller’s right, title and interest in and to
the following: (i) all buildings, structures, systems, hereditaments and Improvements located on
such real property owned by such Seller, (ii) all Improvements, fixtures, systems, mine
infrastructure, preparation plant structures and Improvements, loadout structures and
Improvements, storage facilities, rail sidings, machinery, apparatus, equipment and items of
personal property affixed to such real property owned by such Seller, (iii) all rights of way,
easements, if any, in or upon such real property owned by such Seller, licenses and all rights-of-
way, beneficial easements, licenses, and other rights, privileges and appurtenances belonging or
in any way pertaining to such real property interests owned by such Seller (including the right,
title and interest of such Seller in and to any Coal Reserves, mineral rights, underground and
surface coal and mining rights, royalty rights, support rights and waivers, subsidence rights,
water and water rights relating or appurtenant to such real property owned by such Seller), (iv)
all strips and gores and any land lying in the bed of any public road, highway or other access way,
open or proposed, adjoining such real property owned by such Seller, and (v) any leases out to
third parties affecting such real property owned by such Seller, subject to any consents as may be
required.
               “Party” or “Parties” means, individually or collectively, as applicable, Buyer and
the Sellers.
              “Patents” means United States and foreign patents and patent applications, as well
as any continuations, continuations-in-part, divisions, extensions, reexaminations, reissues,
renewals and patent disclosures related thereto.
               “Payroll Escrow Account” means an escrow account established pursuant an
escrow agreement in form and substance satisfactory to the Sellers and Buyer, which shall be
funded at Closing by Buyer with a portion of the Cash Consideration equal to the Payroll Escrow
Amount.
                “Payroll Escrow Amount” means an amount negotiated between Buyer and the
Sellers in accordance with Section 7.10 to fund (i) Accrued Payroll and payroll taxes related
thereto, (ii) amounts due and owing under the key employee incentive program sought in the
Seller’s Motion for Entry of an Order (I) Approving the Debtors’ (A) Key Employee Incentive
Plan and (B) Key Employee Retention Plan and (II) Granting Related Relief, filed by the Sellers
with the Bankruptcy Court on November 28, 2018 [Docket No. 354], and payroll taxes related
thereto, to the extent such motion is approved by the Bankruptcy Court, and (iii) the fees and
expenses associated with the administration of the Payroll Escrow Account.
                “Permits” means any and all permits (including Environmental Permits and
Mining Permits), licenses, approvals, consents, waivers, franchises, filings, accreditations,
registrations, certifications, certificates of occupancy, easements, rights of way, notifications,


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exemptions, clearances, and authorizations, together with all modifications, renewals,
amendments, supplements and extensions thereof and applications therefor, of or from any
Governmental Authority or issued or granted pursuant to any Legal Requirements, as amended,
supplemented and modified through the Execution Date, that are necessary or required for the
Sellers to own the Acquired Assets or operate the Business.
                   “Permitted Encumbrances” means Encumbrances specifically permitted by the
Sale Order.
               “Permitted Proceeds Amount” means an amount equal to the difference between
(i) the sum of (a) the Cash Consideration plus (b) aggregate amount outstanding under the DIP
Documents and the First Lien Credit Documents less (ii) the sum of (x) the Credit Bid and
Release amount plus (y) $50,000.2
                 “Person” means any individual, corporation (including any non-profit
corporation), partnership, limited liability company, joint venture, unincorporated organization,
estate, trust, association, organization or other legal entity or group (as defined in Section 13(d)(3)
of the Exchange Act,) or Governmental Authority.
                   “Petition Date” means October 14, 2018.
              “Pinnacle Business” means the business and operations of the Sellers associated
with the Pinnacle Mining Complex (as defined in the DIP Credit Agreement).
               “Plan of Reorganization” means a chapter 11 plan of reorganization of the Sellers
filed with the Bankruptcy Court that provides for the payment in full in cash of the Obligations
(as defined in the Final DIP Order) or treatment that is otherwise acceptable to the Required
Lenders, in each case in form and substance acceptable to the Required Lenders.
                   “Post-Closing Tax Period” has the meaning set forth in Section 8.1.
                   “Pre-Closing Tax Period” has the meaning set forth in Section 8.1.
                “Pre-Paid Expenses” means any of the Sellers’ rights with respect to all deposits
(including customer deposits and security deposits (whether maintained in escrow or otherwise)
for rent, electricity, telephone or otherwise), advances, pre-paid expenses, prepayments, rights
under warranties or guarantees, vendor rebates and other refunds of every kind and nature
(whether or not known or unknown or contingent or non-contingent) except that professional fee
retainers and pre-paid deposits related thereto shall not be included in the definition of “Pre-Paid
Expenses”.
                   “Previously Omitted Contract” has the meaning set forth in Section 2.5(b)(i).
               “Previously Omitted Contract Designation” has the meaning set forth in
Section 2.5(b)(i).
               “Previously Omitted Contract Notice” has the meaning set forth in
Section 2.5(b)(ii).




2
    NTD: To equal portion of Cash Consideration allocated Avoidance Actions.



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                 “Proceeding” means any Action, arbitration, audit, hearing, investigation,
litigation, or suit (whether civil, criminal, administrative or investigative) commenced, brought,
conducted, or heard by or before, or otherwise involving, any Governmental Authority.
              “Professional” means any Person retained by the Sellers or a statutory committee
of unsecured creditors in the Bankruptcy Cases pursuant to an Order of the Bankruptcy Court
under Section 327, 363 or 1103 of the Bankruptcy Code.
                 “Purchase Price” has the meaning set forth in Section 3.1.
                 “Qualified Bid” has the meaning set forth in the Bidding Procedures.
              “Real Property” and “Real Properties” means the Owned Real Property and the
Leased Real Property.
               “Reclamation” means reclamation, revegetation, recontouring, abatement, control,
remediation, clean-up or prevention of adverse effects of mining activities.
               “Release” means (a) any releasing, spilling, discharging, disposing, leaking,
pumping, injecting, pouring, depositing, dispersing, emitting, leaching or migrating into the
indoor or outdoor environment, including ambient air, surface water, groundwater and surface or
subsurface strata, or into or out of any property, including the migration of Hazardous
Substances through or in the air, soil, surface water, groundwater, surface or subsurface strata or
property and (b) the abandonment or discarding of barrels, tanks, containers or receptacles,
whether or not sealed or closed, containing Hazardous Substances.
              “Representative” means, with respect to a particular Person, any director, officer,
employee, agent, consultant, advisor or other representative of such Person, including legal
counsel, accountants and financial advisors.
                 “Required Lenders” has the meaning set forth in the DIP Credit Agreement.
               [“Sale Order” means an order of the Bankruptcy Court, in form reasonable
satisfactory to Buyer and the Sellers, approving the consummation of the transactions
contemplated hereby.]3
                 “Sellers” has the meaning set forth in the introductory paragraph.
             “SMCRA” means the Surface Mining Control and Reclamation Act of 1977, 30
U.S.C. §§1201 et seq.
                 “Straddle Period” has the meaning set forth in Section 8.1(b).
               “Subsidiary” means any entity with respect to which a specified Person (or a
Subsidiary thereof) has the power, through the ownership of securities or otherwise, to elect a
majority of the directors or similar managing body.
                 “Successful Bid” has the meaning set forth in the Bidding Procedures.
                 “Successful Bidder” has the meaning set forth in the Bidding Procedures.

3
    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is: “means an order of the Bankruptcy Court, in form satisfactory to Buyer and the
    Sellers, approving the consummation of the transactions contemplated hereby, either (i) outside of a plan of
    reorganization pursuant to Section 363 of the Bankruptcy Code or (ii) pursuant to a plan of reorganization.”



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                 “Tax” or “Taxes” (and with correlative meaning, “Taxable” and “Taxing”) means
(i) any federal, state, provincial, local, foreign or other income, alternative, minimum, add-on
minimum, accumulated earnings, personal holding company, franchise, capital stock, net worth,
capital, profits, intangibles, windfall profits, unclaimed property, escheat, gross receipts, value
added, sales, use, goods and services, excise, customs duties, transfer, conveyance, mortgage,
registration, stamp, documentary, recording, premium, severance, environmental (including taxes
under Section 59A of the Code), natural resources, real property, personal property, ad valorem,
intangibles, rent, occupancy, license, occupational, employment, unemployment insurance,
social security, disability, workers’ compensation, payroll, health care, withholding, estimated or
other similar tax, duty, levy or other governmental charge or assessment or deficiency thereof
(including all interest and penalties thereon and additions thereto whether disputed or not) and (ii)
any liability for any items described in clause (i) payable by reason of contract, transferee
liability or operation of law (including Treasury Regulation Section 1.1502-6) or otherwise.
               “Tax Records” means all Tax Returns, schedules and work papers, and all
material records and other documents relating to Tax matters.
                “Tax Refund” means any Tax refund, credit or similar benefit (including any
interest paid or credited with respect thereto).
               “Tax Return” means any return, declaration, report, claim for refund, information
return or other document (including any related or supporting estimates, elections, schedules,
statements, or information) filed or required to be filed in connection with the determination,
assessment or collection of any Tax or the administration of any laws, regulations or
administrative requirements relating to any Tax.
              “Taxing Authority” means any Governmental Authority having jurisdiction over
the assessment, determination, collection or other imposition of any Taxes.
               “Trade Payables” means accounts payable obligations of the Sellers incurred at
any time, solely to the extent that such obligations relate to the Acquired Assets.
              “Trade Secrets” means trade secrets and other confidential and proprietary
information and know-how.
               “Trademarks” means United States, state and foreign trademarks, service marks,
logos, slogans, trade dress and trade names, Internet domain names and any other similar
designations of source of goods or services, whether registered or unregistered, and registrations
and pending applications to register the foregoing, and all goodwill related to or symbolized by
the foregoing.
                “Transaction Documents” means this Agreement, the Assumption Agreement, the
Bill of Sale, the Transition Services Agreement, Lease Assignments, the escrow agreement(s)
contemplated by Section 4.2, and any other agreements, instruments or documents entered into at
the Closing pursuant to this Agreement.
               “Transfer Taxes” has the meaning set forth in Section 8.1(a).
               “Transferred Permits” has the meaning set forth in Section 2.1(h).
              “Transition Services Agreement” means a transition services agreement pursuant
to which the parties shall provide certain services to one another after the Closing and otherwise
on terms mutually acceptable to the Sellers and Buyer.


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               “Treasury Regulations” means the Treasury regulations promulgated under the
Code.
               “UMWA” means the United Mine Workers of America.
             “UMWA Collective Bargaining Agreements” means all Collective Bargaining
Agreements between the UMWA and any Seller.
               “Unaudited Financial Statements” has the meaning set forth in Section 5.19.
               “Union” and “Unions” have the meanings set forth in Section 5.10(a).
                 “Waiver” means a written waiver in form and substance acceptable to Buyer and
the Sellers signed by Buyer at the Closing waiving on behalf of Buyer certain potential and
existing Avoidance Actions and any other causes of action available to the Sellers or their estates
as set forth in Sections 2.1(o) and 2.1(p) and other Persons as set forth therein.
               “WARN Act” has the meaning set forth in Section 5.10(d).
               “West Virginia Contract Mining Agreement” has the meaning set forth in Section
7.7(b)(iii).
               “West Virginia Mining License” has the meaning set forth in Section 7.7(b)(i)(1).
               “West Virginia Mining Permits” has the meaning set forth in Section 7.7(b)(ii)(1).
               “Wind-Down Budget” means a budget for the reasonable activities and expenses
to be incurred in winding down the Bankruptcy Cases, which budget, activities, and reasonable
expenses shall be agreed to by the Sellers and Buyer, which shall be determined as set forth in
Section 7.10.
              “Wind-Down Escrow Account” means an escrow account established pursuant an
escrow agreement in form and substance satisfactory to the Sellers and Buyer, which shall be
funded at Closing by Buyer with a portion of the Cash Consideration equal to the Wind-Down
Escrow Amount.
               “Wind-Down Escrow Amount” means an amount negotiated between Buyer and
the Sellers in accordance with Section 7.10 to fund (i) the payment of allowed priority and
administrative expense claims, (ii) the costs to wind-down the Bankruptcy Cases in accordance
with the Wind-Down Budget and (iii) the fees and expenses associated with the administration of
the Wind-Down Escrow Account.
               1.2     Other Definitions and Interpretive Matters.
                     (a)     Unless otherwise expressly provided, for purposes of this
Agreement, the following rules of interpretation shall apply:
                               (i)     Calculation of Time Period. When calculating the period of
time before which, within which or following which any act is to be done or step taken pursuant
to this Agreement, the date that is the reference date in calculating such period shall be excluded.
If the last day of such period is a day other than a Business Day, the period in question shall end
on the next succeeding Business Day.
                             (ii)    Contracts, Agreements and Orders. Any reference in this
Agreement to any contract, license, agreement or order means such contract, license, agreement


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or order as amended, supplemented or modified from time to time in accordance with the terms
thereof.
                            (iii) Day. Any reference in this Agreement to “days” (but not
Business Days) means to calendar days.
                              (iv)    Dollars. Any reference in this Agreement to “$” means
United States dollars.
                             (v)     Exhibits and Schedules. All Exhibits and Schedules
attached or annexed hereto or referred to herein are hereby incorporated in and made a part of
this Agreement as if set forth in full herein. Any capitalized terms used in any Exhibit or
Schedule but not otherwise defined therein shall be defined as set forth in this Agreement.
                              (vi)   Gender and Number. Any reference in this Agreement to
gender includes all genders, and any singular term shall be deemed to include the plural, and any
plural term the singular.
                              (vii) Headings. The provision of a table of contents, the division
of this Agreement into Articles, Sections and other subdivisions and the insertion of headings are
for convenience of reference only and shall not affect or be utilized in the construction or
interpretation of this Agreement. All references in this Agreement to any “Section,” “Article” or
“Schedule” are to the corresponding Section, Article or Schedule of this Agreement unless
otherwise specified.
                              (viii) Herein. Words such as “herein,” “hereof” and “hereunder”
refer to this Agreement as a whole and not merely to a subdivision in which such words appear.
                                 (ix)    Including. The word “including” or any variation thereof
means “including, without limitation,” and shall not be construed to limit any general statement
that it follows to the specific or similar items or matters immediately following it.
                               (x)     Law. Any reference to any law in this Agreement means
such law as amended, modified, codified, reenacted, supplemented or superseded in whole or in
part, and in effect from time to time.
                              (xi)    Other. The words “to the extent” shall be interpreted to
mean “to the extent (but only to the extent)”.
                            (xii) Person. Any reference to a Person shall include such
Person’s successors and permitted assigns.
                              (xiii) Made Available. Any reference in this Agreement to “made
available” shall mean that such documents or information referenced shall have been provided in
the Data Room prior to the Execution Date or shall have been provided to Buyer or its
Representatives prior to the Execution Date.
                       (b)     No Strict Construction. Buyer, on the one hand, and the Sellers, on
the other hand, participated jointly in the negotiation and drafting of this Agreement, and, in the
event an ambiguity or question of intent or interpretation arises, this Agreement shall be
construed as jointly drafted by Buyer, on the one hand, and the Sellers, on the other hand, and no
presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
authorship of any provision of this Agreement. Without limiting the foregoing, no rule of strict


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construction construing ambiguities against the draftsperson shall be applied against any Person
with respect to this Agreement.
                                            ARTICLE 2

                                       PURCHASE AND SALE

               2.1     Purchase and Sale.
                Subject to the entry of the Sale Order and upon the terms and subject to the
conditions of this Agreement, on the Closing Date, the Sellers shall unconditionally sell, transfer,
assign, convey and deliver, or cause to be sold, transferred, assigned, conveyed and delivered, to
Buyer and/or a Buyer Designee, and Buyer shall purchase, acquire and accept from the Sellers,
free and clear of all Encumbrances (other than Permitted Encumbrances), all of the Sellers’
direct or indirect right, title and interest in, to or under the following properties, rights, claims
and assets (in each case, except for and to the extent related to the Excluded Assets or the
Excluded Liabilities, as applicable) of every kind and description, wherever situated or located,
real, personal or mixed, tangible or intangible, whether identifiable or contingent, owned, leased,
licensed, used or held for use, in or relating to the Business, whether or not reflected on the
books and records of the Sellers, as the same shall exist on the Closing Date (collectively, the
“Acquired Assets”):
                       (a)    all inventory of any kind or nature, merchandise and goods, related
to the Business or the Acquired Assets and maintained, held or stored by or for the Sellers on the
Closing Date, whether or not prepaid, and wherever located, held or owned, and any prepaid
deposits for any of the same, including all coal inventory located upon or within the Sellers’
Owned Real Property or Leased Real Property or belonging to the Sellers, disposables and
consumables used, or held for use, in connection with the Business, including any goods in
transit (“Inventory”);
                       (b)     all Equipment used in the Business or located on the Real Property,
including (i) any software installed on computers, to the extent such software licenses are
assignable and (ii) those specific assets set forth on Schedule 2.1(b);
                      (c)    subject to Section 2.5, all Assumed Contracts, except to the extent
primarily used in connection with the Excluded Assets;
                     (d)    all (i) Owned Real Property, (ii) Leased Real Property (and any
agreement and rights related thereto or under the applicable Lease to the extent that such
agreement or Lease is an Assumed Contract), (iii) the Lessor Leases (to the extent that a Lessor
Lease is an Assumed Contract) and (iv) Occupancy Agreements (to the extent that an Occupancy
Agreement is an Assumed Contract), in each case, together with all interests in and to all
Improvements located thereon or attached thereto, and other appurtenances thereto, and rights in
respect thereof;
                       (e)     all Coal Reserves to the extent of the Sellers’ interest in such Coal
Reserves;
                       (f)    all rights to subside lands associated with mining operations and all
rights to the waiver of and release from subsidence liability and indemnity rights under any and



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all conveyances, representations and instruments or agreements of any kind and nature
applicable to the Sellers’ coal mining activities and interests;
                    (g)    except to the extent prohibited by law, any rights of the Sellers to
the warranties and licenses received from manufacturers or Sellers of the Equipment,
Improvements or any component thereof;
                       (h)    subject to Sections 2.5(c) and 7.7(c) and obtaining the consents set
forth on Schedule 5.2, all Permits (including Environmental Permits and Mining Permits) held
by the Sellers that relate to the Business or the Acquired Assets, to the extent assignable,
including those designated as “Transferred Permits” on Schedule 2.1(h) (the “Transferred
Permits”); provided, that Schedule 2.1(h) and the definition of “Transferred Permits” shall be
deemed updated and amended to exclude, without further action by any Party, any Permit that
relates to an Excluded Asset;
                      (i)    all rights of the Sellers to use haul roads, utility easements and
other rights of way and easements used in the operation of the Business;
                       (j)     all Intellectual Property;
                       (k)     all Accounts Receivable;
                       (l)     all Pre-Paid Expenses;
                        (m)     all goodwill, customer and referral relationships, other intangible
property and all privileges, relating to, arising from or associated with any of the Acquired
Assets (including the Intellectual Property), the Assumed Liabilities and/or the Business, in each
case arising after the Closing;
                       (n)     to the extent permitted by Legal Requirements and not subject to
attorney-client privilege or other work product privilege, all Documents and other books and
records (financial, accounting and other) except to the extent related to the Excluded Assets or
the Excluded Liabilities, and correspondence, and all customer sales, marketing, advertising,
packaging and promotional materials, files, data, software (whether written, recorded or stored
on disk, film, tape or other media, and including all computerized data), drawings, engineering
and manufacturing data and other technical information and data, and all other business and
other records, in each case, that are used or useful in, held for use in or intended to be used in, or
that arise in any way out of or are related to, the Acquired Assets, the Assumed Liabilities or the
Business; provided, that the Sellers shall be permitted to keep copies of all of the foregoing to the
extent necessary or required by the Bankruptcy Court or in connection with the Bankruptcy
Cases, subject to Section 12.2;
                        (o)    to the extent listed on Schedule 2.1(o), all claims (other than
Avoidance Actions which shall be addressed solely by Section 2.1(p)), interests, rights, rebates,
abatements, remedies, recoveries and benefits of the Sellers, and all claims, demands,
indemnification rights and causes of action, arising under or relating to any of the Acquired
Assets (including Intellectual Property to the extent transferrable or assignable), the Assumed
Liabilities or the Business, including those arising out of Assumed Contracts, express or implied
warranties, representations and guarantees from suppliers, manufacturers, contractors or others to
the extent relating to the operation of the Business or affecting the Equipment, Inventory or other
tangible Acquired Assets or ordered by the Sellers prior to the Closing Date (and in any case, any
component thereof);


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                     (p)    all Avoidance Actions with respect to counterparties to Assumed
Contracts and Trade Payables assumed hereunder;
                         (q)    all cash and cash equivalents, including checks, commercial paper,
treasury bills, certificates of deposit, bank accounts (to the extent transferrable) and other bank
deposits, instruments and investments of the Sellers, including any cash collateral used to secure
surety bonds or other transactional assurances, excluding, for the avoidance of doubt, the Cash
Consideration and prepaid deposits related to professional fee retainers (to which Buyer will
have no claims against, except with respect to revision of amounts remaining in the Estate
Retained Professional Fee Escrow Account as contemplated by Section 7.10); provided, however,
that cash in an amount necessary and sufficient to cover checks in transit relating to items that
were permitted to be paid, but have not been paid, pursuant to the Final DIP Order as of the
Closing Date shall not be included;

                      (r)    all third party directors and officers liability, business interruption,
property or casualty insurance proceeds, to the extent receivable by Buyer or the Sellers in
respect of the Acquired Assets or the Assumed Liabilities after the Closing Date;
                       (s)    all rights, but not obligations, under non-disclosure or
confidentiality, non-compete, or non-solicitation agreements (in each case, to the extent
transferrable) or key employee retention plans or similar arrangements with (or for the benefit of)
employees and agents of the Sellers or with third parties (including any such non-disclosure or
confidentiality, non-compete, or non-solicitation agreements or any key employee retention plans
or similar arrangements entered into in connection with or in contemplation of the auction
contemplated by the Bidding Procedures (in each case, to the extent transferrable) to the extent
relating to the Acquired Assets or the Business and included as an Assumed Contract);
                       (t)     all telephone, telex and telephone facsimile numbers and other
directory listings;
                      (u)     all assets, if any, listed on Schedule 2.1(u) (regardless of whether
such assets are covered by any of the foregoing);
                       (v)     all proceeds and products of any and all of the foregoing Acquired
Assets;

                     (w)    all proceeds from the sale of any of the Excluded Assets other than
Avoidance Actions up to an amount equal to the Permitted Proceeds Amount (all other proceeds
will be an Excluded Asset);

                      (x)     any Tax Refunds of the Sellers with respect to Apportioned Taxes
that are paid by Buyer in accordance with Section 8.1(b);

                        (y)    any insurance policies of the Sellers (to the extent transferrable and
subject to the receipt of any requisite consents) relating to the Acquired Assets or the Assumed
Liabilities solely to the extent Buyer has provided written notice to the Sellers prior to the Bid
Deadline of its intention to acquire such insurance policies; and

                      (z)      the assets of the Sellers associated with the Pinnacle Business set
forth on Schedule 2.1(z).


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                2.2     Excluded Assets.
                Notwithstanding anything to the contrary in this Agreement, nothing herein shall
be deemed to sell, transfer, assign, convey or deliver any of the Excluded Assets to Buyer, and
the Sellers shall retain all right, title and interest to, in and under, and all Liabilities with respect
to, the Excluded Assets. For all purposes of and under this Agreement, the term “Excluded
Assets” shall consist of all assets that are not Acquired Assets, including the following items,
assets and properties (whether or not such assets are otherwise described in Section 2.1):
                        (a)     the assets, if any, listed on Schedule 2.2(a);

                        (b)     any and all Collective Bargaining Agreements;
                     (c)     (i) any Employee personnel files or records and (ii) any and all
Benefit Plan, and any assets, trust agreements, insurance policies, administrative service
agreements and other contracts, files and records in respect thereof;
                         (d)    any shares of capital stock or other equity interest in or issued by
any Seller or any securities convertible into, exchangeable or exercisable for shares of capital
stock of other equity interest in or issued by any Seller, and any shares of capital stock or other
equity interest in or issued by any Subsidiary of any Seller (including, for the avoidance of doubt,
any foreign Subsidiary) or other entity in which any Seller holds an equity interest, or any
securities convertible into, exchangeable or exercisable for shares of capital stock or other equity
interest in or issued by any Subsidiary of any Seller or other entity in which any Seller holds an
equity interest, including the capital stock or equity interest set forth on Schedule 2.2(d).
                       (e)     subject to Section 2.1(n), the limited liability company, partnership
and corporate books and records of internal limited liability company, partnership and corporate
proceedings, minute books, organizational or governing documents, stock ledgers and other
records of the Sellers as they pertain to ownership, organization, qualification to do business or
existence of the Sellers; provided, however, that copies of the foregoing items shall be made
available by the Sellers to Buyer;
                        (f)     Documents that the Sellers are required by Legal Requirements to
retain;
                        (g)     any Contract that is not an Assumed Contract;
                        (h)     all rights under or arising out of insurance policies to the extent not
set forth in Section 2.1(r);
                        (i)     any prepaid deposits related to Professional fee retainers;
                        (j)     the Cash Consideration;
                     (k)    any rights, claims or causes of action of the Sellers under this
Agreement or any other Transaction Document;
                       (l)     any deposits, escrows, surety bonds or other financial assurances
and any cash or cash equivalents securing any surety bonds or financial assurances, in each case,
to the extent relating to the Excluded Assets or Excluded Liabilities and the amounts, deposits
and other financial assurances described on Schedule 2.2(l);




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                        (m)    cash in an amount necessary and sufficient to cover checks in
transit relating to items that were permitted to be paid, but have not been paid, pursuant to the
Final DIP Order as of the Closing Date;
                        (n)   all assets of the Sellers associated with the Pinnacle Business to the
extent not set forth on Schedule 2.1(z);
                      (o)     all Tax Returns of, or filed by, the Sellers or their Affiliates for any
Tax that is an Excluded Liability;
                       (p)     all (1) Avoidance Actions not described in Section 2.1(p) and (2)
other causes of action belonging or available to any of the Sellers or their estates against any of
the Sellers or other Persons set forth in the Waiver;
                         (q)    all proceeds received from the sale or liquidation of any Excluded
Assets;
                       (r)      cash and cash equivalents not included as an Acquired Asset
pursuant to Section 2.1(q);
                         (s)    any Tax Refund of the Sellers that is not described in Section
2.1(x); and
                         (t)    any intercompany receivables between one or more of the Sellers
or their Subsidiaries.

               2.3       Assumed Liabilities.
                Subject to entry of the Sale Order, upon the terms and subject to the conditions of
this Agreement, on the Closing Date, Buyer and/or each relevant Buyer Designee shall, effective
at the time of the Closing, assume and agree to discharge and perform when due, the Liabilities
of the Sellers (and only those Liabilities of the Sellers) which are enumerated in this Section 2.3
(the “Assumed Liabilities”). Except to the extent that any of the following are specified in
Section 2.4, the following Liabilities of the Sellers (and only the following Liabilities) shall
constitute, without duplication, the Assumed Liabilities:
                         (a)    all Liabilities under the Assumed Contracts;
                         (b)    all Cure Costs;
                       (c)     outstanding Trade Payables related to the Acquired Assets incurred
in the Ordinary Course of Business after the Petition Date and during the Bankruptcy Cases to
the extent consistent with the Budget (as defined in the Final DIP Order);
                         (d)    Liabilities arising out of the ownership or operation of the Business
or Acquired Assets for periods following the Closing Date, including with respect to: (i)
workers’ compensation liabilities or occupational health claims relating to any Buyer Employee
arising out of an event that occurs after the Closing Date; (ii) any and all Black Lung Assumed
Liabilities; and (iii) the Release of, or exposure of any Person to, any Hazardous Substances first
occurring after the Closing Date;
                         (e)    Transfer Taxes;
                     (f)     all Taxes with respect to the Acquired Assets attributable to any
Post-Closing Tax Period as defined in Section 8.1(b);


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                        (g)     all Liabilities of the Sellers as a result of any action taken by the
Sellers at Buyer’s or its Affiliates’ request pursuant to Sections 7.7(a)(iv), 7.7(a)(v) and 7.7(a)(vi)
and Sections 7.7(b)(iii), 7.7(b)(iv) and 7.7(b)(v);
                       (h)     all Liabilities of the Sellers with respect to the Transferred Permits
or otherwise arising out of or relating to the Transferred Permits, including: (i) all Liabilities for
Reclamation and, if applicable, post-mining and post-Gas Well operation Liabilities; (ii)
compliance with performance obligations or standards under the Transferred Permits and
associated Legal Requirements; and (iii) obligations to replace and/or increase bonds or other
financial assurance instruments associated with the Transferred Permits, excluding, in each of the
preceding cases (i)-(iii), any civil or administrative fines or penalties or criminal sanctions
imposed by any Governmental Authority for which Sellers or any of their Affiliates have
received a written notice of violation or notice of claim (or other written notice of similar legal
intent or meaning) on or prior to the Closing Date;
                       (i)    all Liabilities to the extent arising out of or relating to compliance
with Environmental, Health and Safety Laws, Mining Law, MSHA, OSHA and any mine or Gas
Well operating or safety compliance matters, related to the Acquired Assets or the acquired Gas
Wells, but excluding any civil or administrative fines or penalties or criminal sanctions imposed
by any Governmental Authority for which Sellers or any of their Affiliates have received a
written notice of violation or notice of claim (or other written notice of similar legal intent or
meaning) on or prior to the Closing Date;
                      (j)      regulatory violations and obligations on or in relation to the
Transferred Permits first arising post-Closing (except, however, for any violations or obligations
arising from any action or inaction taken by any Seller or an Affiliate of any Seller with respect
to Transferred Permits that are not transferred as of the Closing Date);
                        (k)   if, and only to the extent, the Sellers are unable to sell the
Excluded Assets utilized in the Pinnacle Business to a third party purchaser, Liabilities for
Reclamation with respect to the existing Permits issued to the Sellers for the Pinnacle Business,
to the extent that such Liabilities are not funded by the issuers of the Sellers’ surety bonds;
provided, however, that such unfunded Reclamation Liabilities may be satisfied through the
performance of Reclamation by Buyer, the provision by Buyer of Reclamation services from a
third party, and/or the payment by Buyer for Reclamation, as determined by Buyer in its sole and
absolute discretion;
                      (l)     accrued but unpaid Liabilities of the Sellers with respect to Real
Property Taxes assessed with respect to the Acquired Assets, solely to the extent necessary to
transfer the Acquired Assets free and clear of any statutory senior priority lien on such Acquired
Assets;
                        (m)     all Liabilities or other obligations with respect to the WARN Act
arising, accruing, or as a result of actions taken following the Closing Date; and
                       (n)   subject to Section 8.1, all Liabilities with respect to Taxes imposed
on the Business or the Acquired Assets that are attributable to any Post-Closing Tax Period.
The assumption by Buyer of the Assumed Liabilities shall not, in any way, enlarge the rights of
any third parties relating thereto.



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               2.4     Excluded Liabilities.
                 Notwithstanding any provision in this Agreement to the contrary, Buyer shall not
assume and shall not be obligated to assume or be obliged to pay, perform or otherwise discharge
any Liability of, or Liability against, the Sellers, the Sellers’ Subsidiaries, the Business or the
Acquired Assets, of any kind or nature, whether absolute, accrued, contingent or otherwise,
whether due or to become due and whether or not assets, and whether or not known or unknown
or currently existing or hereafter arising or matured or unmatured, direct or indirect, and however
arising, other than the Assumed Liabilities, and the Sellers shall be solely and exclusively liable
with respect to all Liabilities of the Sellers, other than the Assumed Liabilities (such Liabilities
other than Assumed Liabilities, collectively, the “Excluded Liabilities”). Without limiting the
generality of the foregoing, the Excluded Liabilities shall include each of the following
Liabilities of the Sellers and the Sellers’ Subsidiaries other than the Assumed Liabilities:
                       (a)     (i) all Liabilities with respect to (x) any Taxes imposed on or with
respect to the Business or the Acquired Assets that are attributable to any Pre-Closing Tax Period
as determined pursuant to Section 8.1, or (y) any Taxes related to the Excluded Assets and (ii) all
Liabilities for Taxes of any Seller or its stockholders or members, including any Liability of any
Seller for the Taxes of any other Person under Section 1.1502-6 of the U.S. Treasury regulations
(or any similar provision of state, local or foreign law), as a transferee or successor, by contract
or otherwise;
                      (b)     all Liabilities with respect to Actions and Proceedings pending
before the Closing Date or to the extent against or giving rise to Liability against the Business or
the Acquired Assets prior to the Closing Date, even if instituted after the Closing Date;
                       (c)    all Liabilities to any owner or former owner of capital stock or
warrants, holder of Indebtedness for borrowed money, or current or former officer or director of
any Seller or Subsidiary of any Seller;
                       (d)    all Liabilities with respect to any Excluded Asset, including (i) any
Benefit Plan, (ii) Contracts that are not Assumed Contracts, (iii) any and all Collective
Bargaining Agreements, and (iv) Liabilities or other obligations in respect of any compensation
or benefit plans, agreements, policies, practices, programs and arrangements of any ERISA
Affiliate, including any Benefit Plan;
                     (e)     all Liabilities under any futures contracts, options on futures, swap
agreements or forward sale agreements;
                       (f)    drafts or checks outstanding at the Closing to the extent cash is
retained by the Sellers pursuant to Section 2.2(r);
                      (g)     other than the Estate Retained Professional Fees Escrow Amount,
any and all Liabilities for: (i) costs and expenses incurred or owed in connection with the
administration of the Bankruptcy Cases (including all Estate Retained Professional Fee Claims);
and (ii) all costs and expenses incurred in connection with the negotiation, execution and
consummation of the transactions contemplated hereby;
                     (h)     except as set forth in Section 2.3(d), all workers’ compensation
claims and occupational health claims related to the Acquired Assets, including and with respect
to Buyer Employees and former employees of the Sellers who worked or who were employed at
the Acquired Assets;


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                       (i)     any Liability or other obligations of the Sellers, any of their
Subsidiaries or any ERISA Affiliate (or any predecessor of any of the foregoing) arising under,
relating to or with respect to any multiple employer pension plan, single employer pension plan
or Multiemployer Plan and any Liability or other obligations of any ERISA Affiliate arising
under, relating to or with respect to any compensation or benefits agreement, arrangement, plan,
policy, practice or program, including any Benefit Plan;

                        (j)     all Liabilities with respect to Employees, or former Employees, or
both (or their representatives or beneficiaries, contractors or consultants of any Seller, and
employees, contractors or consultants of any ERISA Affiliate, for any action or inaction of any
Seller (or any predecessor of any Seller)) occurring prior to or on the Closing Date, including
with respect to vacation, payroll, sick leave, unemployment benefits, retirement benefits, pension
benefits, employee stock option, equity compensation, employee stock purchase, or profit
sharing plans, health care and other welfare plans, policies, programs, agreements, arrangements,
practices or benefits (including COBRA or the Coal Act), or any other employee plans, policies,
programs, practices, agreements, arrangements or benefits or other compensation of any kind to
any employee, including under any Benefit Plans of any Subsidiary or ERISA Affiliate, and
Liabilities or other obligations of the Sellers and their predecessors pursuant to the WARN Act
to the extent arising or accruing prior to or on the Closing Date;

                     (k)    except as set forth in Section 2.3(d), all Liabilities arising under the
Black Lung Act and workers’ compensation Liabilities related to the Acquired Assets, including
and with respect to Buyer Employees and former employees of the Sellers who worked or who
were employed at the Acquired Assets, including, but not limited to, any such Liabilities arising
under the Black Lung Act and workers’ compensation Liabilities of any Seller or any Seller’s
predecessors;

                      (l)    any and all Liabilities or other obligations to any current or former
Employee, consultant or contractor or any spouse, dependent and/or any beneficiary thereof,
relating to any Benefit Plan and any and all Liabilities or other obligations relating to any
benefits or compensation agreement, arrangement, plan, policy, practice or program of any
ERISA Affiliate, including any Benefit Plans;

                      (m)    any and all Liabilities or other obligations arising under any
employment or consulting agreement, Collective Bargaining Agreement or arrangement, or
severance, retention or termination agreement, plan, policy, practice, program or arrangement
with any employee, consultant or contractor (or its representatives) of any Seller;

                     (n)    other Liabilities relating to the conduct of the Business or to the
Acquired Assets (and the use thereof) arising or accruing at any time on or prior to the Closing;
and

                        (o)    all Liabilities (other than Assumed Liabilities) accruing, arising out
of, or relating to any federal, state or local investigations of, or Claims or actions against, any
Seller or any Employee, agents, vendors or representatives of any Seller, to the extent arising out
of actions taken prior to the Closing.




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               2.5     Assignment and Assumption of Contracts.
                       (a)
                              (i) Schedule 2.5(a) sets forth a list of all executory Contracts
(including all supply agreements, joint venture agreements, operating and joint operating
agreements, participation agreements, exploration agreements (including minerals and coalbed
gas exploration agreements), Leases and Lessor Leases and Occupancy Agreements) relating to
the Business, the Acquired Assets or the Assumed Liabilities to which one or more of the Sellers
are party (the “Available Contracts”), which Schedule 2.5(a) may be updated from time to time
to add or remove any Contracts inadvertently included or excluded from such schedule. On or
before January 28, 2019 (the “Determination Date”), Buyer shall designate in writing which
Available Contracts from Schedule 2.5(a) Buyer wishes to “Assume” (the “Assumed Contracts”),
which Assumed Contracts shall be deemed assumed and effective as of the Closing Date. All
Contracts of the Sellers that are listed on Schedule 2.5(a) and which Buyer does not designate in
writing for assumption shall not be considered an Assumed Contract or Acquired Asset and shall
automatically be deemed “Excluded Contracts” and, for the avoidance of doubt, Buyer shall not
be responsible for any related Cure Costs of any Excluded Contracts; provided, that if an
Available Contract is subject to a cure dispute or other dispute as to the assumption or
assignment of such Available Contract that has not been resolved to the mutual satisfaction of
Buyer and the Sellers prior to the Determination Date, then the Determination Date shall be
extended (but only with respect to such Available Contract) to no later than the earlier of (A) the
date on which such dispute has been resolved to the mutual satisfaction of the Sellers and Buyer,
(B) sixty (60) days after the Closing Date, (C) the date on which such Available Contract is
deemed rejected by operation of 11 U.S.C. § 365(d)(4) and (D) the date required by the
Bankruptcy Court and set forth in either the Bidding Procedures Order or the Sale Order (the
“Extended Contract Period”). If such Available Contract is not expressly assumed by Buyer in
writing by the end of such Extended Contract Period, such Available Contract shall be
automatically deemed an Excluded Contract. Buyer shall be responsible for any obligations or
Liabilities arising during any Extended Contract Period relating to any Available Contract that
has not been assumed or rejected as of the termination date as provided in this Section 2.5(a)(i).
For the avoidance of doubt, except as set forth in Section 2.3, and other than as provided in the
preceding sentence, (x) Buyer shall not assume or otherwise have any Liability with respect to
any Excluded Contract and (y) each Collective Bargaining Agreement to which any Seller is
bound or party to shall be an Excluded Contract.
                             (ii) In addition to the payment of Cure Costs by Buyer, each of the
Sellers and Buyer, as applicable, shall use commercially reasonable efforts to assign, or cause to
be assigned, the Assumed Contracts to Buyer, or to the applicable Buyer Designee, including
taking all actions required by the Bankruptcy Court to obtain an Order containing a finding that
the proposed assumption and assignment of the Assumed Contracts to Buyer satisfies all
applicable requirements of Section 365 of the Bankruptcy Code. Buyer shall use commercially
reasonable efforts to comply with all of the requirements of Section 365 of the Bankruptcy Code
necessary to permit such assumption and assignment.
                             (iii) At the Closing, (x) the Sellers shall, pursuant to the Sale Order
and the Assumption Agreement, assign, or cause to be assigned, to Buyer or the applicable Buyer
Designee (the consideration for which is included in the Purchase Price) each of the Assumed
Contracts that is capable of being assigned and (y) Buyer shall pay promptly all Cure Costs (if


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any) in connection with such assignment (as agreed to among Buyer and the Sellers or as
determined by the Bankruptcy Court) and assume and perform and discharge the Assumed
Liabilities (if any) under the Assumed Contracts, pursuant to the Sale Order and the Assumption
Agreement.
                      (b)    Previously Omitted Contracts.
                             (i) If prior to or following the Closing, it is discovered that a
Contract should have been listed on Schedule 2.5(a) but was not listed on Schedule 2.5(a) and
has not been rejected by the Sellers (any such Contract, a “Previously Omitted Contract”), the
Sellers shall, promptly following the discovery thereof and on a coordinated basis, notify Buyer
in writing of such Previously Omitted Contract and all estimates of Cure Costs (if any) for such
Previously Omitted Contract. Buyer shall thereafter deliver written notice to the Sellers, no later
than five (5) Business Days following notification of such Previously Omitted Contract from the
Sellers, designating such Previously Omitted Contract as “Assumed” or “Rejected” (a
“Previously Omitted Contract Designation”). A Previously Omitted Contract designated in
accordance with this Section 2.5(b)(i) as “Rejected,” or with respect to which Buyer fails to
timely deliver a Previously Omitted Contract Designation, shall be an Excluded Contract.
                              (ii) If Buyer designates a Previously Omitted Contract as
“Assumed” in accordance with Section 2.5(b)(i), the Sellers shall serve a notice (the “Previously
Omitted Contract Notice”) on the counterparties to such Previously Omitted Contract notifying
such counterparties of the Cure Costs with respect to such Previously Omitted Contract and the
Sellers’ intention to assign such Previously Omitted Contract in accordance with this Section 2.5.
The Previously Omitted Contract Notice shall provide the counterparties to such Previously
Omitted Contract with ten (10) Business Days to object, in writing to the Sellers and Buyer, to
the Cure Costs or the assumption of its Contract. If the counterparties, the Sellers and Buyer are
unable to reach a consensual resolution with respect to the objection, the Sellers shall seek an
expedited hearing before the Bankruptcy Court to determine the Cure Costs and approve the
assumption. If no objection is served on the Sellers and Buyer, the Sellers shall obtain an order
of the Bankruptcy Court fixing the Cure Costs and approving the assumption of the Previously
Omitted Contract. Buyer shall be responsible for all Cure Costs relating to such “Assumed”
Previously Omitted Contracts and for any obligations or Liabilities relating to such “Assumed”
Previously Omitted Contracts arising during the Extended Contract Period.
                        (c)    Non-Assignment of Contracts and Permits. Notwithstanding
anything contained in this Agreement to the contrary, this Agreement shall not constitute an
agreement to assign or transfer any Contract or any Permit, if, after giving effect to the
provisions of Sections 363 and 365 of the Bankruptcy Code, an attempt at assignment or transfer
thereof, without the consent or approval required or necessary for such assignment or transfer,
would in any way materially adversely affect any rights of Buyer, as the assignee or transferee,
or constitute a violation of a Legal Requirement or a breach of such Contract or Permit (as the
case may be). If, after giving effect to the provisions of Sections 363 and 365 of the Bankruptcy
Code and the commercially reasonable efforts of the Sellers, such consent or approval is required
but not obtained with respect to an Assumed Contract or a Permit, neither the Sellers nor Buyer
shall be in breach of this Agreement nor shall the Purchase Price be adjusted nor (but subject to
Buyer’s termination right set forth in Section 11.1) shall the Closing be delayed in respect of the
Assumed Contracts or the Permits; provided, however, if the Closing occurs, then, with respect
to any Assumed Contract or Permit for which consent or approval is required but not obtained,


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from and after the Closing, for a period of no more than four (4) months, the Sellers shall
reasonably cooperate, without further consideration, with Buyer in any reasonable arrangement
Buyer may request to provide Buyer with all of the benefits of, or under, the applicable Assumed
Contract or applicable Permit, including enforcement for the benefit of Buyer of any and all
rights of the Sellers against any party to the applicable Assumed Contract or applicable Permit
arising out of the breach or cancellation thereof by such party; provided, however, to the extent
that any such arrangement has been made to provide Buyer with the benefits of, or under, the
applicable Assumed Contract or applicable Permit, from and after the Closing, Buyer shall be
responsible for, and shall promptly pay and perform all payment and other obligations under
such Assumed Contract or Permit (all of which shall constitute, and shall be deemed to be,
Assumed Liabilities hereunder) to the same extent as if such Assumed Contract or Permit had
been assigned or transferred at the Closing with respect to Assumed Contracts and Permits, and
at such applicable later date specified in this Section 2.5(c) with respect to any additional
Assumed Contracts. Any assignment to Buyer of any Assumed Contract or Permit that shall,
after giving effect to the provisions of Sections 363 and 365 of the Bankruptcy Code, require the
consent or approval of any Person for such assignment as aforesaid shall be made subject to such
consent or approval being obtained.

               2.6     Further Assurances.
                         (a)     Except as otherwise provided herein and subject to the terms and
conditions of this Agreement, the Bankruptcy Code and any orders of the Bankruptcy Court,
from and after the Execution Date, the Sellers and Buyer shall use commercially reasonable
efforts to take, or cause to be taken, all reasonable actions and to do, or cause to be done, all
things necessary or desirable under applicable Legal Requirements to consummate the
transactions contemplated hereby, including (i) preparing and filing as promptly as practicable
with any Governmental Authority or other third party all documentation to effect all necessary
filings, notices, petitions, statements, registrations, submissions of information, applications and
other documents and (ii) obtaining and maintaining all approvals, consents, registrations, permits,
authorizations and other confirmations required to be obtained from any Governmental Authority
or other third party that are necessary, proper or advisable to consummate the transactions
contemplated hereby, in each case, after giving effect to the Sale Order.

                         (b)     At and after the Closing, and without further consideration therefor,
the Sellers shall execute and deliver to Buyer such further instruments and certificates as shall be
necessary or desirable, and Buyer will reimburse the Sellers for any out-of-pocket expenses
incurred by the Sellers in connection with actions taken by the Sellers (i) to vest, perfect or
confirm ownership (of record or otherwise) in Buyer and/or one or more Buyer Designees, the
Sellers’ right, title or interest in, to or under any or all of the Acquired Assets and Business,
including the Real Property, free and clear of all Encumbrances (other than Permitted
Encumbrances) or (ii) to otherwise effectuate the purposes and intent of this Agreement and the
other Transaction Documents or for aiding, assisting, collecting and reducing to possession any
of the Acquired Assets and exercising rights with respect thereto. From and after the Closing
Date, Buyer will reimburse the Sellers for any out-of-pocket expenses incurred by the Sellers in
connection with actions taken by the Sellers and each of the Parties shall take, or cause to be
taken, and cooperate with the other Parties to take, or cause to be taken, all reasonable actions,
do or cause to be done all things as may be reasonably requested by Buyer in order to vest,


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perfect or confirm any and all right, title and interest in, to and under such rights, properties or
assets in Buyer or one of more Buyer Designees or otherwise to carry out this Agreement, and
shall execute and deliver all deeds, bills of sale, instruments of conveyance, powers of attorney,
assignments, assumptions and assurances, and as may be required to consummate the
transactions contemplated hereby, it being specifically understood and agreed that,
notwithstanding anything to the contrary herein, no Seller shall have any obligation to (A) record
or pay any recording fees and Taxes in connection with the foregoing (except to the extent Buyer
agrees to reimburse the Sellers for any out-of-pocket expenses incurred by the Sellers in
connection with such recordation or payment), or (B) pay any title insurance fee or premium in
connection with any title insurance commitment or policy Buyer may obtain, in each case,
including any related costs and expenses (except to the extent Buyer agrees to reimburse the
Sellers for any out-of-pocket expenses incurred by the Sellers in connection with such
commitment or policy).

                                           ARTICLE 3

                                        PURCHASE PRICE

               3.1     Consideration.
               The aggregate consideration (the “Purchase Price”) for the purchase, sale,
assignment and conveyance of the Sellers’ right, title and interest in, to and under the Acquired
Assets shall consist of:
                       (a)    the Cash Consideration; plus
                      (b)     the assumption by Buyer or a Buyer Designee, as applicable, of the
Assumed Liabilities from the Sellers, including the assumption of the obligation to pay to the
applicable counterparties of the applicable Assumed Contracts the Cure Costs payable by Buyer
under Section 2.5; plus
                      (c)     the release of the Sellers that are borrowers or guarantors under the
DIP Documents and the First Lien Credit Documents of all or a portion of the Obligations arising
under, or otherwise relating to the DIP Documents and the First Lien Credit Documents, in an
aggregate amount equal to $145,000,000 (the “Credit Bid and Release”) under Section 363(k) of
the Bankruptcy Code.

At the option of Buyer, the Sellers shall retain a designated amount of unrestricted cash that
would otherwise be included in the Acquired Assets, and such cash so retained shall reduce, on a
dollar for dollar basis, the cash amounts that would otherwise be required to be included in the
Purchase Price pursuant to this Section 3.1.

               3.2     Allocation of Purchase Price.
                The sum of the Purchase Price and the amount of the Assumed Liabilities (to the
extent properly taken into account under the Code) shall be allocated among the Acquired Assets
in accordance with Section 1060 of the Code and the Treasury Regulations promulgated
thereunder (the “Allocation”). The Allocation shall be delivered by Buyer to the Sellers within
sixty (60) days after the Closing Date. The Sellers will have the right to raise reasonable
objections to the Allocation within thirty (30) days after Buyer’s delivery thereof, in which event


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Buyer and the Sellers will negotiate in good faith to resolve such dispute. If Buyer and the
Sellers cannot resolve such dispute within fifteen (15) days after the Sellers notify Buyer of such
objections, such dispute with respect to the Allocation shall be resolved promptly by the Neutral
Accountant, the costs of which shall be shared in equal amounts by Buyer, on the one hand, and
the Sellers, on the other hand. The decision of the Neutral Accountant in respect of the
Allocation shall be final and binding upon Buyer and the Sellers. Unless otherwise required by
law, the IRS or any other taxing authority, the allocation of the Purchase Price pursuant to the
Allocation shall be final and binding on the Parties, and the Parties shall follow the Allocation
for purposes of filing IRS Form 8594 (and any supplements to such form) and all other Tax
Returns, and shall not take any position inconsistent therewith. If the IRS or any other taxation
authority proposes a different allocation, the Sellers or Buyer, as the case may be, shall promptly
notify the other party of such proposed allocation. The Sellers or Buyer, as the case may be, shall
provide the other party with such information and shall take such actions (including executing
documents and powers of attorney in connection with such proceedings) as may be reasonably
requested by such other party to carry out the purposes of this Section 3.2. Except as otherwise
required by any Legal Requirement or pursuant to a “determination” under Section 1313(a) of
the Code (or any comparable provision of United States state, local, or non-United States law), (i)
the transactions contemplated by Article 2 of this Agreement shall be reported for all Tax
purposes in a manner consistent with the terms of this Section 3.2; and (ii) neither Party (nor any
of their Affiliates) will take any position inconsistent with this Section 3.2 in any Tax Return, in
any refund claim, in any litigation or otherwise. Notwithstanding the allocation of the Purchase
Price set forth in the Allocation, nothing in the foregoing shall be determinative of values
ascribed to the Acquired Assets or the allocation of the value of the Acquired Assets in any plan
or reorganization or liquidation that may be proposed.

               3.3    Limitation on Buyer Liability.
               For the avoidance of doubt, except for amounts deposited at Closing pursuant to
Section 4.2 or as otherwise expressly provided in this Agreement, Buyer shall have no liability
with respect to the Estate Retained Professional Fees Escrow Account, the Estate Retained
Professional Fees Escrow Amount (and any other Estate Retained Professional Fee Claims), the
Payroll Escrow Account and the Payroll Escrow Amount.
               3.4    Withholding.
                Buyer shall be entitled to deduct and withhold from the Purchase Price otherwise
payable pursuant to this Agreement to the Sellers such amounts as Buyer is required to deduct
and withhold under applicable Legal Requirements. To the extent that amounts are so deducted
and withheld, such amounts shall be treated for all purposes of this Agreement as having been
paid to the Sellers.
                                          ARTICLE 4

                                   CLOSING AND DELIVERIES

               4.1    Closing Date.
             Upon the terms and subject to the conditions hereof, the closing of the sale of the
Acquired Assets and the assumption of the Assumed Liabilities (other than those pertaining to
Previously Omitted Contracts pursuant to Section 2.5(b) and Assumed Contracts subject to a


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cure dispute pursuant to Section 2.5(a)(i)) contemplated hereby (the “Closing”) shall take place
at the offices of Kirkland & Ellis LLP, 601 Lexington, Avenue, New York, NY 10022, no later
than two (2) Business Days following the date on which all the conditions set forth in Article 9
and Article 10 have been satisfied or (if permissible) waived by the Party entitled to waive such
condition (other than the conditions which by their nature are to be satisfied at the Closing, but
subject to the satisfaction or (if permissible) waiver of such conditions), or on such other date
and time as the Sellers and Buyer may mutually agree in writing. The date and time at which the
Closing actually occurs is hereinafter referred to as the “Closing Date.” Upon consummation of
the Closing, the purchase and sale of the Acquired Assets and the assumption of the Assumed
Liabilities hereunder, and the Closing, shall be deemed to have occurred as of 12:01 a.m. (New
York time) on the Closing Date.

               4.2     Buyer’s Deliveries.
               Subject to satisfaction or (if permissible) waiver of the conditions set forth in
Article 9 and Article 10, at the Closing, Buyer shall deliver (or cause one or more of its Affiliates
or Buyer Designees to deliver) to the Sellers:
                     (a)    the Bills of Sale, Lease Assignments, the Assumption Agreement
and each other Transaction Document to which Buyer or a Buyer Designee is a party, duly
executed by Buyer and/or Buyer Designees, as applicable;
                      (b)    solely to the extent necessary at such time for Buyer and/or Buyer
Designees to operate the Business in accordance with applicable Law following the Closing, the
Alabama Contract Mining Agreement and/or the West Virginia Contract Mining Agreement,
duly executed by Buyer and/or Buyer Designees, as applicable;
                     (c)     the Transition Services Agreement, duly executed by Buyer and/or
Buyer Designees, as applicable;
                       (d)     the Waiver, duly executed by Buyer and/or Buyer Designees, as
applicable;
                      (e)      the certificates of Buyer to be received by the Sellers pursuant to
Sections 10.1 and 10.2;
                     (f)     a payoff letter, release letter or other similar document, duly
executed by Buyer and the other applicable parties, regarding the Credit Bid and Release;
                         (g)    evidence, in form and substance reasonably acceptable to the
Sellers, of receipt of the Alabama Mining License and the West Virginia Mining License;
                       (h)     the Cash Consideration in cash by wire transfer of immediately
available funds as follows:
                             (i) the Estate Retained Professional Fees Escrow Amount to be
funded into the Estate Retained Professional Fees Escrow Account;
                              (ii) the Payroll Escrow Amount to be funded into the Payroll
Escrow Account;
                              (iii) the Wind-Down Escrow Amount to be funded into the Wind-
Down Escrow Account; and



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                            (iv) the remainder of the Cash Consideration by wire transfer of
immediately available funds to an account or accounts designated by the Sellers no later than
three (3) Business Days prior to the Closing; and
                      (i)    such other documents as the Sellers may reasonably request that
are customary for a transaction of this nature and necessary to evidence or consummate the
transactions contemplated hereby.

               4.3      Sellers’ Deliveries.
               At the Closing, the Sellers shall deliver to Buyer:
                       (a)    the Bills of Sale, Deeds, Lease Assignments and the Assumption
Agreement, the Transition Services Agreement, and each other Transaction Document to which
any Seller is a party, duly executed by the applicable Sellers; provided, that in the event one or
more of the Deeds and/or motor vehicle titles is not delivered by the Sellers to Buyer on or
before the Closing Date, the Sellers shall deliver such Deeds and/or motor vehicle titles to Buyer
as promptly as reasonably practicable following the Closing Date; provided, further, that, for the
avoidance of doubt, the failure of the Sellers to deliver any Deeds and/or motor vehicle titles to
Buyer on or before the Closing Date shall not be deemed a failure to satisfy this delivery
obligation;

                         (b)   solely to the extent necessary at such time for Buyer and/or Buyer
Designees to operate the Business in accordance with applicable Law following the Closing and
any Seller is a party, the Alabama Contract Mining Agreement and/or the West Virginia Contract
Mining Agreement, duly executed by duly executed by the applicable Sellers;
                       (c)     instruments of assignment of the Patents and Trademarks and other
Intellectual Property that are owned by the Sellers and included in the Acquired Assets, if any,
duly executed by the applicable the Sellers, in form for recordation with the appropriate
Governmental Authorities, in customary form and reasonably acceptable to Buyer;
                       (d)     with respect to the Real Property included in the Acquired Assets,
possession of such Real Property, together with copies (and originals in the Sellers’ possession)
of all instruments, Leases and agreements evidencing the Sellers’ interest in the same, and any
existing surveys, legal descriptions and title policies concerning such Real Property that are in
the possession of the Sellers which shall be deemed to be delivered to the extent located at any of
the Real Property;
                        (e)    a certified copy of the Sale Order;
                        (f)    the certificates of the Sellers to be received by Buyer pursuant to
Sections 9.1 and 9.2;
                     (g)    certificates executed by each Seller, in the form prescribed under
Treasury Regulation Section 1.1445-2(b), that such Seller is not a foreign person within the
meaning of Section 1445(f)(3) of the Code;
                      (h)    releases and termination statements sufficient for Buyer to receive
the Acquired Assets free and clear of all Encumbrances (other than Permitted Encumbrances);




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                       (i)     such other bills of sale, Deeds, endorsements, assignments and
other good and sufficient instruments of conveyance and transfer, in form reasonably satisfactory
to Buyer, as Buyer may reasonably request to vest in Buyer all of the right, title and interest of
the Sellers in, to or under any or all the Acquired Assets, including all Owned Real Property,
subject only to Permitted Encumbrances and Assumed Liabilities;
                       (j)    such ordinary and customary documents (including any factually
accurate affidavits) as may be required by any title company or title insurance underwriter to
enable Buyer to acquire, at Buyer’s sole election and Buyer’s sole cost and expense, one or more
owner policies of title insurance issued by such title company covering any or all of the Real
Property included in the Acquired Assets in form and substance reasonably acceptable to Buyer;
and
                      (k)    such other documents as Buyer may reasonably request that are
customary for a transaction of this nature and necessary to evidence or consummate the
transactions contemplated hereby.

               4.4     Buyer Designees.
                At least ten (10) days prior to the Hearing, Buyer shall be entitled to designate, in
accordance with the terms and subject to the limitations set forth in this Section 4.4, one or more
Affiliates of Buyer to (i) purchase specified Acquired Assets; (ii) assume specified Assumed
Liabilities; and/or (iii) employ Buyer Employees, in each case, as of the Closing Date (any
Person that shall be properly designated by Buyer in accordance with this clause, a “Buyer
Designee”); it being understood and agreed, however, that any such right of Buyer to designate a
Buyer Designee is conditioned upon (x) such Buyer Designee being able to perform the
applicable covenants under this Agreement and, as applicable, any other transaction agreement to
which Buyer is party and demonstrate satisfaction of the requirements of Section 365 of the
Bankruptcy Code (to the extent applicable), including the provision of adequate assurance for
future performance with respect to the Acquired Assets and Assumed Liabilities, (y) any such
designation not creating any Liability (including any Liability relating to Taxes other than Taxes
for which Buyer is liable pursuant to Section 2.3(e)) for the Sellers or their Affiliates that would
not have existed had Buyer purchased the Acquired Assets, assumed the Assumed Liabilities
and/or employed Buyer Employees, and which Liability is not fully reimbursed by or on behalf
of Buyer and (z) such designation not being reasonably expected to cause a delay, or prevent or
hinder the consummation of the transactions contemplated hereby. As soon as reasonably
practicable and in no event later than ten (10) days prior to the Hearing, Buyer shall make any
such designations of Buyer Designees by way of a written notice to be delivered to the Sellers,
and Buyer Designees shall deliver a signed counterpart to this Agreement or joinder agreement
to this Agreement and each other Transaction Document to which Buyer is party. No such
designation shall relieve Buyer of any of its obligations hereunder and any breach hereof by a
Buyer Designee shall be deemed a breach by Buyer. Buyer and Buyer Designees shall be jointly
and severally liable for any obligations of Buyer and such Buyer Designees hereunder. For the
avoidance of doubt, and notwithstanding anything to the contrary herein, all Buyer Designees
appointed in accordance with this Section 4.4 shall be included in the definition of “Buyer” for
all purposes under this Agreement and all such Buyer Designees shall be deemed to have made
all of the representations and warranties of Buyer set forth in this Agreement.




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                                            ARTICLE 5

                     REPRESENTATIONS AND WARRANTIES OF THE SELLERS

               The Sellers hereby jointly and severally represent and warrant to Buyer as follows,
except as disclosed in the Disclosure Schedules:

               5.1     Organization and Good Standing.
               Each Seller is an entity duly organized, validly existing and in good standing
under the laws of the jurisdiction of its organization. Subject to the applicable provisions of the
Bankruptcy Code, each Seller has all requisite corporate or limited liability company power and
authority to own or lease and to operate and use its properties and to carry on its business as now
conducted. The Sellers are duly qualified or licensed to do business and are in good standing in
each jurisdiction where the character of their Business or the nature of their properties makes
such qualification or licensing necessary, except for such failures to be so qualified or licensed or
in good standing as would not, individually or in the aggregate, have a Material Adverse Effect.

               5.2     Authority; Validity; Consents.
                 Each Seller has, subject to entry of the Sale Order, the requisite corporate or
limited liability company power and authority necessary to enter into and perform its obligations
under this Agreement and the other Transaction Documents to which such Seller is a party and to
consummate the transactions contemplated hereby and thereby, and, subject to entry of the Sale
Order, the execution, delivery and performance of this Agreement and such other Transaction
Documents by such Seller and the consummation by such Seller of the transactions contemplated
herein and therein have been duly and validly authorized by all requisite corporate or limited
liability company action on the part of the Sellers. Subject to entry of the Sale Order, this
Agreement has been duly and validly executed and delivered by each Seller and each other
Transaction Document required to be executed and delivered by a Seller at the Closing will be
duly and validly executed and delivered by such Seller at the Closing. Subject to entry of the
Sale Order, this Agreement and the other Transaction Documents constitute, with respect to each
Seller that is party thereto, the legal, valid and binding obligations of such Seller, enforceable
against such Seller in accordance with their respective terms, except as such enforceability may
be limited by bankruptcy, insolvency, reorganization, moratorium or similar laws now or
hereafter in effect relating to creditors’ rights generally or general principles of equity. Subject to
entry of the Sale Order, and assuming the accuracy of the representations and warranties set forth
in Article 6, except (a) as required to comply with the HSR Act and the antitrust legislation of
any other relevant jurisdiction applicable to the purchase of the Acquired Assets or the Business,
(b) for entry of the Sale Order, (c) for notices, filings and consents required in connection with
the Bankruptcy Cases, including the requirements of the Bidding Procedures Order, and (d) for
the notices, filings and consents set forth on Schedule 5.2, the Sellers are not required to give any
notice to, make any registration, declaration or filing with or obtain any consent, waiver or
approval from, any Governmental Authority in connection with the execution and delivery of
this Agreement and the other Transaction Documents to which a Seller is a Party or the
consummation or performance of any of the transactions contemplated hereby and thereby.




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               5.3     No Conflict.
                Except as a result of the Bankruptcy Cases, neither the execution and delivery by
any Seller of this Agreement or any other Transaction Document to which it is (or will be) a
party nor after giving effect to the Sale Order and the Bidding Procedures Order, the
consummation of the transactions contemplated hereby or thereby nor, after giving effect to the
Sale Order and the Bidding Procedures Order, compliance by it with any of the provisions hereof
or thereof will (a) conflict with or result in a violation of (i) any provision of the certificate of
incorporation or bylaws (or other organizational or governing documents) of such Seller or (ii)
any material Order binding upon such Seller or by which the Business or any Acquired Assets
are subject or bound, (b) violate, conflict with, or result in a breach of any of the terms of, or
constitute a default under, or give rise to any right of termination, modification, cancellation or
acceleration under any license, Permit, authorization, consent, order or approval of, or
registration, declaration or filings with, any Governmental Authority, or (c) result in the creation
of any Encumbrance (other than a Permitted Encumbrance) upon the properties or assets of such
Seller being sold or transferred hereunder except, in the case of clauses (a) and (b), as would not,
individually or in the aggregate, have a Material Adverse Effect.

               5.4     Real Property.
                       (a)     Owned Real Property. Schedule 5.4(a) sets forth an accurate and
complete list of the Owned Real Property. Except for Permitted Encumbrances and except as set
forth on Schedule 5.4(a)(i), the Sellers have good and marketable title in the Owned Real
Property set forth on Schedule 5.4(a). Except for the Lessor Leases, none of the Owned Real
Property is subject to any lease or grant to any third-party of any right to the use, purchase,
occupancy or enjoyment of such Owned Real Property or any material portion thereof required
to conduct the Business. Except for Permitted Encumbrances and the applicable terms of Permits
held by the Sellers and their Affiliates, the Owned Real Property is not subject to any
Encumbrances (other than liens that will be removed pursuant to the Sale Order), which in any
material respect interfere with or impair the present and continued use thereof in the Ordinary
Course of Business of the Sellers. There are no pending or, to the Sellers’ Knowledge, threatened
condemnation proceedings relating to any of the Owned Real Property except those which do not
materially impair or restrict the current use of the Owned Real Property subject thereto. Other
than as set forth on Schedule 5.4(a)(ii) hereto, there are no outstanding options or rights of first
refusal to purchase any of the Owned Real Property or any interest therein.
                        (b)     Lessor Leases. Schedule 5.4(b) lists, as of the Execution Date, all
material unexpired leases, subleases, licenses, sublicenses, occupancy or other agreements
whereby any Seller leases, subleases, licenses or grants an interest in any Owned Real Property
or Leased Real Property to a third party (the “Lessor Leases”). The Sellers have made available,
to the extent that they are in the Sellers’ possession or control, true, complete and correct copies
of the Lessor Leases to Buyer, including any amendments thereto through the date hereof. Other
than as set forth on Schedule 5.4(b) or as a result of the Bankruptcy Cases, the Sellers are not in
material breach of or in default under the Lessor Leases and, to the Sellers’ Knowledge, no party
to any Lessor Lease has given the Sellers written notice of or, to the Sellers’ Knowledge, made a
claim with respect to any material breach or material default by the Sellers thereunder (other than
as a result of the Bankruptcy Cases).




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                        (c)    Leased Real Property. Schedule 5.4(c) contains a list of all Leased
Real Property leased by the Sellers and used or held for use in the operation of the Business. The
Sellers have made available, to the extent that they are in the Sellers’ possession or control, true
and complete copies of all Leases to Buyer. Other than as a result of the Bankruptcy Cases, the
Sellers are not in breach of any material term or in “default” under any Lease and, to the Sellers’
Knowledge, no party to any Lease has given the Sellers written notice of or made a claim with
respect to any breach or default thereunder. To the Sellers’ Knowledge, there are no conditions
that currently exist or with the passage of time will result in a default or breach of any material
term by any party to a Lease. To the Sellers’ Knowledge, none of the Leased Real Property is
subject to any sublease or grant to any Person of any right to the use, occupancy or enjoyment of
the Leased Real Property or any portion thereof that would materially impair the use of the
Leased Real Property in the operation of the Business. To the Sellers’ Knowledge, the Leased
Real Property is not subject to any Encumbrances (other than Permitted Encumbrances) that
were placed on the Leased Real Property through the action or inaction of the Sellers and
materially impact the Business’ use of the Leased Real Property. To the Sellers’ Knowledge, the
Leased Real Property is not subject to any use restrictions, exceptions, reservations or limitations
which in any material respect interfere with or impair the present and continued use thereof in
the Ordinary Course of Business. To the Sellers’ Knowledge, there are no pending or threatened
condemnation or other proceedings or claims relating to any of the Leased Real Property. To the
Sellers’ Knowledge, the Leases will continue to be legal, valid, binding, enforceable and in full
force and effect on the same material terms immediately following the consummation of the
transactions contemplated hereby. Schedule 5.4(c) designates the Permits relating to the Sellers’
operations on the Leased Real Property set forth on such schedule.
                       (d)     Occupancy Agreements. Schedule 5.4(d) contains a list of
easements, licenses, use agreements and other occupancy agreements, including agreements
which relate to the production, sharing, sale, purchase, exchange or possession of coal, relating
to real property and mineral interests granted by third parties to the Sellers that are used or
expected to be used in the operation of the Business (the “Occupancy Agreements”). The Sellers
have made available true and complete copies of all Occupancy Agreements to Buyer. To the
Sellers’ Knowledge, the Sellers are not in breach of or in default under the Occupancy
Agreements and no party to any Occupancy Agreement has given the Sellers written notice of or
made a claim with respect to any material breach or default thereunder, nor are the Sellers aware
of any condition that currently exists or with the passage of time will result in a default or breach
by any party to an Occupancy Agreement.

               5.5     Environmental and Health and Safety Matters.
               Except as set forth on Schedule 5.5:
                     (a)    The Sellers have at all times during the past three (3) years
complied and are in compliance in all material respects with all applicable Environmental,
Health and Safety Laws with respect to the Business and the Acquired Assets;
                      (b)    The Sellers have not received any written or, to the Sellers’
Knowledge, oral notice or report regarding any actual or alleged material violation, non-
compliance, liability or potential liability regarding Hazardous Substances or Environmental,
Health and Safety Laws with regard to any of the Acquired Assets or the Business, or any prior



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business for which the Sellers have retained liability under any Contract, in each case the subject
matter of which remains unresolved;
                        (c)      The Real Properties do not contain, and, to the Sellers’ Knowledge,
have not previously contained, any Hazardous Substances in amounts or concentrations which (i)
constitute a material violation of, or (ii) could reasonably be expected to give rise to material
liability, including liability for response costs, corrective action costs, personal injury, property
damage or natural resources damage, under any applicable Environmental, Health and Safety
Laws;
                       (d)     With respect to the Business and the Acquired Assets, no Seller or,
to the Sellers’ Knowledge, any other Person to the extent reasonably expected to give rise to
material liability of any Seller, has treated, recycled, stored, disposed of, arranged for or
permitted the disposal of, transported, handled, or Released any Hazardous Substances, or owned
or operated any property or facility contaminated by any Hazardous Substance, in a manner that
has given or could reasonably be expected to give rise to material liability, including liability for
response costs, corrective action costs, personal injury, property damage or natural resources
damage, under any applicable Environmental, Health and Safety Laws, excluding matters that
have been fully resolved;
                     (e)    No Action is pending or, to the Sellers’ Knowledge, threatened
under any Environmental, Health and Safety Laws against the Sellers or with respect to the Real
Properties or the Business, nor are there any Orders outstanding under any Environmental,
Health and Safety Law with respect to the Acquired Assets or the Business;
                        (f)    The Sellers (i) hold all Environmental Permits (each of which is in
full force and effect and is not subject to appeal, except as is being contested in good faith by the
Sellers by appropriate proceedings diligently conducted) required for any of their current
operations or for the current ownership, operation or use of the Acquired Assets, including all
Environmental Permits required for the current coal mining-related operations of the Sellers or,
to the extent currently required, any pending construction or expansion related thereto; (ii) are,
and have for the last three (3) years been, in material compliance with all such Environmental
Permits, except as is being contested in good faith by the Sellers by appropriate proceedings
diligently conducted; and (iii) have not received any written notice that the Environmental
Permits will not be renewed;
                     (g)     None of the Real Properties have any associated direct or indirect
acid mine drainage which (i) to the Sellers’ Knowledge constitutes a material violation of, or (ii)
could reasonably be expected to give rise to material liability under, any applicable
Environmental, Health and Safety Law;
                      (h)     With respect to the Business and the Acquired Assets, the Sellers
have not contractually assumed any material liabilities, including any material obligation for
corrective or remedial action, of any other Person relating to Environmental, Health and Safety
Laws;
                       (i)     To the Sellers’ Knowledge, none of the Acquired Assets contains
underground storage tanks, above-ground storage tanks, transformers or other equipment
containing PCBs, underground injection wells, septic tanks or waste disposal pits (to the extent
such tanks or pits constitute Acquired Assets), in each case that has given or could reasonably be



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expected to give rise to material liability under any applicable Environmental, Health and Safety
Law; and
                       (j)     The Sellers have made available or provided Buyer with copies of
all material environmental assessments, audits (including compliance audits), evaluations,
studies, and tests in their possession relating to the Business, the Owned Real Property or the
Leased Real Property.

               5.6     Title to Acquired Assets.
               The Sellers have, and, upon delivery to Buyer on the Closing Date of the
instruments of transfer contemplated by Section 4.3, and upon entry of the Sale Order, the Sellers
will thereby transfer to Buyer and Buyer will (subject to Section 2.5(c)) be vested, to the
maximum extent permitted by Sections 363 and 365 of the Bankruptcy Code, with good, valid
and marketable title to, or, in the case of property leased or licensed by the Sellers, a valid
leasehold or licensed interest in, all of the Acquired Assets, free and clear of all Encumbrances,
except for (a) the Assumed Liabilities and (b) Permitted Encumbrances. No Acquired Asset is
subject to any agreement, written or oral, for its sale or use by any Person other than the Sellers,
other than as expressly contemplated under the Leases or the Lessor Leases.

               5.7     Taxes.
                       (a)     The Sellers have each timely filed all income Tax and other
material Tax Returns required to be filed with the appropriate Governmental Authorities (taking
into account any extension of time to file granted to the Sellers). All such Tax Returns are correct
and complete in all material respects and were prepared in substantial compliance with all
applicable law, all material Taxes, including those relating to the Business and/or the Acquired
Assets, that are due and payable, whether or not shown to be payable on such Tax Returns, have
been or will be timely paid before the Closing, except for any unpaid Taxes which are specified
in Section 8.1 to be paid at the Closing or expressly assumed by Buyer herein and paid after the
Closing. No examination of any such Tax Return of the Sellers is currently in progress by any
Taxing Authority and no Seller has received notice of any contemplated examination of any such
Tax Return and no material adjustment has been proposed in writing with respect to any such
Tax Returns for the last three (3) years by any Taxing Authority.
                        (b)     The Sellers have not received written notice of any material Tax
deficiency outstanding, proposed or assessed against or allocable to the Sellers and have not
executed any waiver of any statute of limitations in respect of Taxes nor agreed to any extension
of time with respect to a Tax assessment or deficiency with respect to the Acquired Assets. There
are no pending or threatened audits, investigations, disputes, notices of deficiency, claims or
other actions for or relating to any Liability for Taxes. There is no dispute or claim concerning
any Tax liability of the Sellers claimed or raised by any Taxing Authority in writing.
                        (c)    The Sellers are not in default under, nor to the Sellers’ Knowledge
does there exist any condition which, with the giving of notice or passage of time would
constitute a default by the Sellers under, any agreement with any Governmental Authority that
provides for or results in a reduction, rebate or exemption from Taxes or any other form of Tax
incentive applicable to the Business, except for such defaults or conditions which would not,
individually or in the aggregate, have a Material Adverse Effect.



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                        (d)    Each Seller has withheld and paid all Taxes required to have been
withheld and paid in connection with amounts paid or owing to any employee, independent
contractor, creditor, stockholder, or other third party and all IRS Forms W-2 and Forms 1099 (or
any other applicable form) required with respect thereto have been properly and timely
distributed.
                       (e)      No Seller is a party to any Tax allocation or sharing agreement. No
Seller (i) has been a member of an affiliated group filing a consolidated federal income Tax
Return or (ii) has any liability for the Taxes of any Person (other than a Seller) under Treas. Reg.
§1.1502-6 (or any similar provision of state, local, or non-U.S. law), as a transferee or successor,
by contract, or otherwise.
                      (f)    No Seller is or has been a party to any “listed transaction,” as
defined in Section 6707A(c)(2) of the Code and Treas. Reg. §1.6011-4(b)(2).
                     (g)      There are no Encumbrances (other than Permitted Encumbrances)
on the Acquired Assets that arose in connection with any failure to pay any Tax.
                        (h)     No claim has been made in writing by any Governmental
Authority in a jurisdiction where the Sellers do not file Tax Returns that the Sellers are or may be
subject to taxation by that jurisdiction.
                       (i) No power of attorney with respect to Taxes has been executed or
filed with any Taxing Authority by or on behalf of any of the Sellers that will remain in effect
after the Closing Date.
               5.8     Legal Proceedings.
                Except for the Bankruptcy Cases (and proceedings related thereto), there is no
material Proceeding or Order pending, outstanding or, to the Sellers’ Knowledge, threatened
against or related to the Acquired Assets, whether at law or in equity, whether civil or criminal in
nature or by or before any arbitrator or Governmental Authority, nor, to the Sellers’ Knowledge,
are there any investigations relating to the Acquired Assets pending or, to the Sellers’
Knowledge, threatened by or before any arbitrator or any Governmental Authority, which, if
determined adversely, would be material to the Acquired Assets, taken as a whole.

               5.9     Compliance with Legal Requirements; Permits.
                      (a)    Other than with respect to Permits required under any
Environmental, Health and Safety Law or environmental provision of any Mining Law or MSHA,
which Permits are addressed in Section 5.5, the Sellers hold all of the material Permits necessary
for the current operation and conduct of the Business and the Acquired Assets in compliance
with Legal Requirements, the absence of which would be immaterial to the operation of the
Business or the Acquired Assets from and after the Closing.
                        (b)    Schedule 5.09(b) sets forth a true and complete list of (A) all
Permits (including Environmental Permits and Mining Permits) held by the Sellers or any of
their Affiliates in the operation of the Business and Acquired Assets in the State of Alabama,
together with a description of the permitted property, facility or operation, together with a true
and complete list of all pending applications for additional Permits, renewals of existing Permits,
or amendments to existing Permits held by the Sellers, which have been submitted to any
Governmental Authority or other entity by any Seller or any of its Subsidiaries applicable to the


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operation of the Business and Acquired Assets in Alabama, and (B) the applicable surety bonds
(or other financial assurances) and the amount of the surety bonds (or other financial assurances)
under such Permits, in each case, as amended, supplemented and modified through the Execution
Date.
                         (c)    Schedule 5.09(c) sets forth a true and complete list of (A) all
Permits (including Environmental Permits and Mining Permits) held by the Sellers or any of
their Affiliates in the operation of the Business and Acquired Assets in the State of West Virginia,
together with a description of the permitted property, facility or operation, together with a true
and complete list of all pending applications for additional Permits, renewals of existing Permits,
or amendments to existing Permits held by the Sellers, which have been submitted to any
Governmental Authority or other entity by any Seller or any of its Subsidiaries applicable to the
operation of the Business and Acquired Assets in West Virginia, and (B) the applicable surety
bonds (or other financial assurances) and the amount of the surety bonds (or other financial
assurances) under such Permits, in each case, as amended, supplemented and modified through
the Execution Date.
                       (d)     The Permits set forth on Schedule 2.1(h) are all of the Permits held
by the Sellers necessary for the current operation and conduct of the Business and the Acquired
Assets, the absence of which would be reasonably expected to adversely affect the operation of
the Business or the Acquired Assets from and after the Closing. Other than with respect to
Permits required under any Environmental, Health and Safety Law or environmental provision of
any Mining Law or MSHA, which Permits are addressed in Section 5.5, all such Permits are
final, unappealed, valid, in good standing and in full force and effect and no Seller is in default
under or in violation of any such Permit, except where such default, or failure to be final,
unappealed, valid, in good standing and in full force and effect would not reasonably be expected
to be material to the Business.
                      (e)    Other than with respect to notices issued under any Environmental,
Health and Safety Law or environmental provision of any Mining Law or MSHA, which matters
are addressed in Section 5.5, the Sellers have conducted the Business for the past twelve (12)
months and currently own and operate the Acquired Assets in accordance, in all material respects,
with all Legal Requirements, Orders and Permits applicable to the Sellers and the Acquired
Assets during such period, and the Business is in compliance in all material respects with all
applicable Legal Requirements, Orders and Permits (including any anti-bribery Legal
Requirements) and has obtained all approvals necessary for owning and operating its assets and
has made all necessary filings with all Governmental Authorities having jurisdiction necessary
for owning and operating the Acquired Assets, and there are no Orders outstanding under any
Mining Law or MSHA with respect to the Real Properties or the Business.
                       (f)    Other than with respect to notices issued under any Environmental,
Health and Safety Law or environmental provision of any Mining Law or MSHA, which matters
are addressed in Section 5.5, neither the Sellers, nor to the Sellers’ Knowledge, any of their
Representatives have received, within the past twelve (12) months, any written notice or other
communication from any Governmental Authority that alleges that the Business is not in
compliance with any Legal Requirement, Order or Permit applicable to the Business or the
operations or properties of the Business or the Acquired Assets or that threatens or states the
intention on the part of any issuing authority to revoke, cancel, suspend or modify any Permit
necessary for the current operation and conduct of the Business and the Acquired Assets (except


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with respect to regular periodic expirations and renewals thereof). The Sellers are in material
compliance with the Permits. No suspension, revocation or cancellation of any of the Permits is
threatened or to the Knowledge of the Sellers contemplated, except with respect to regular
periodic expirations and renewals thereof, which renewals no Seller or any Subsidiary of such
Seller has reason to believe will not be granted.
                       (g)     Except as would not be material to the Business or the Acquired
Assets or to the transfer of any Transferred Permit: (i) no Seller has had any Permits that are
necessary for the operation and conduct of the Business and the Acquired Assets appealed,
denied, revoked, restricted or suspended during the past twelve (12) months; (ii) no Seller is
currently a party to any Proceeding involving the possible appeal, denial, revocation, restriction
or suspension of any Permits that are necessary for the current operation and conduct of the
Business and the Acquired Assets or any of the privileges granted thereunder (except where the
obligation to hold such a Permit is being contested in good faith by appropriate proceedings
diligently conducted or is excused by the Bankruptcy Court); and (iii) no Seller, nor any officer
or director of any Seller, nor to the Sellers’ Knowledge any other Person listed on or connected
to a Permit is “permit blocked” on the Applicant Violator System established pursuant to the
SMCRA (or any applicable state system) (the “Applicant Violator System”) by any
Governmental Authority.
               5.10   Labor Matters.
                       (a)     None of the Sellers are party to or subject to any collective
bargaining agreements, works council agreements, labor union contracts, trade union agreements,
and other agreements (each a “Collective Bargaining Agreement”) with any union, works
council, or labor organization (each a “Union” and collectively “Unions”).
                         (b)     (i) In the past three (3) years, no Union or group of Employees or
former Employees has (A) to the Sellers’ Knowledge, sought to organize any employees for
purposes of collective bargaining, (B) made a demand for recognition or certification as an
employee representative for purposes of collective bargaining, (C) sought to bargain collectively
with any of the Sellers, or (D) filed a petition for recognition with any Governmental Authority;
(ii) as of this date, no Collective Bargaining Agreement is being negotiated by any of the Sellers;
and (iii) in the past three (3) years there have been no actual or, to Sellers’ Knowledge,
threatened strikes, lockouts, material slowdowns or work stoppages, boycotts, handbilling,
picketing, walkouts, demonstrations, leafleting, sit-ins, sick-outs, or other forms of organized
labor disruption with respect to any of the Sellers.
                     (c)    Schedule 5.10(c) sets forth a true, complete and accurate list of the
name, title, employment status, leave status, union affiliation (if any), wage rate and place of
employment of all Employees.
                        (d)    (i) Within the past three (3) years, the Sellers have not failed to
provide advance notice of layoffs or terminations as required by the Worker Adjustment and
Retraining Notification Act of 1988, and including any similar state or local Legal Requirement
(the “WARN Act”), or any applicable Legal Requirements for employees outside the United
States, regarding the termination or layoff of employees or have incurred any material liability or
material obligation under such Legal Requirements; (ii) within the past three (3) years, the
Sellers have been in material compliance with all applicable Legal Requirements relating to
labor and employment, including but not limited to all Legal Requirements relating to


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employment practices; the hiring, promotion, assignment, and termination of employees;
discrimination; sexual harassment; equal employment opportunities; disability; labor relations;
wages and hours; FLSA, classification of independent contractors, hours of work; payment of
wages; immigration; workers’ compensation; employee benefits; background and credit checks,
working conditions; occupational safety and health; family and medical leave; data privacy and
data protection; or employee terminations; (iii) except pursuant to procedures established in
connection with the Bankruptcy Cases, there are no pending or, to the Sellers’ Knowledge,
threatened, lawsuits, grievances, unfair labor practice charges, arbitrations, charges,
investigations, hearings, actions, claims, or proceedings (including any administrative
investigations, charges, claims, actions, or proceedings), against the Sellers brought by or on
behalf of any applicant for employment, any current or former Employee, representative, agents,
consultant, independent contractor, subcontractor, or leased employee, volunteer, or “temp” of
the Sellers, or any group or class of the foregoing, any Governmental Authority, any person
alleging to be a current or former Employee, or any group or class of the foregoing, alleging
violation of any labor or employment Legal Requirements, breach of any Collective Bargaining
Agreement, breach of any express or implied contract of employment, wrongful termination of
employment, or any other discriminatory, wrongful, or tortious conduct in connection with the
employment relationship; (iv) to Sellers’ Knowledge, no Employee of any Seller has in the past
three (3) years been or is being investigated in connection with any misconduct, nor subject to
any disciplinary action in connection with such misconduct, that could reasonably be expected to
cause any material damage to the reputation or business of the Sellers or the Employees; (v) to
the Sellers’ Knowledge, no employee of any Seller has in the past three (3) years engaged in any
conduct or cover-up of such conduct, or aided or assisted any other person or entity to engage in
any conduct that could cause or has caused any material damage to the reputation or business of
the Sellers or its Employees, including but not limited to any conduct constituting sexual
misconduct, harassment (including sexual harassment), or discrimination; and (vi) each of the
Employees has all work permits, immigration permits, visas, or other authorizations required by
Legal Requirements for such Employee given the duties and nature of such employee’s
employment.

               5.11    Employee Benefits.
                        (a)    Schedule 5.11(a) sets forth a true and complete list of each material
Benefit Plan. For purposes of this Agreement, “Benefit Plan” shall mean any “employee benefit
plan” within the meaning of Section 3(3) of ERISA (including any Multiemployer Plan) and any
plan, program, policy, practice, arrangement, Contract or agreement that is a pension, profit-
sharing, savings, retirement, employment, consulting, severance pay, termination, compensation,
benefit, incentive compensation, deferred compensation, bonus, stock purchase, stock option,
phantom stock or other equity-based compensation, change in control, retention, salary
continuation, vacation, sick leave, disability, death benefit, group insurance, hospitalization,
medical, dental, life (including all individual life insurance policies as to which any Seller(s) is
the owner, the beneficiary, or both), Section 125 of the Code “cafeteria” or “flexible” benefit,
employee loan, educational assistance or fringe benefit plan, program, policy, practice,
arrangement, Contract or agreement, whether written or oral, including any other employee
benefit plan, agreement, program, policy, arrangement, Contract or practice, including any
payroll practice, whether or not subject to ERISA (including any funding mechanism therefor
now in effect or required in the future as a result of the transaction contemplated hereby or


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otherwise), in each case, (x) under which any current or former officer, director, employee,
leased employee or consultant (or any of their respective beneficiaries) of any of the Sellers or
any of their Subsidiaries has any present or future right to benefits, (y) which any of the Sellers
or any of their Subsidiaries is a party to or any of the Sellers or any of their Subsidiaries sponsors,
maintains, contributes to, or has any obligation to sponsor, maintain or contribute to, or (z)
pursuant to, under or with respect to which any of the Sellers or any of their Subsidiaries has or
has any direct or indirect Liability, whether contingent or otherwise, including by reason of their
affiliation with any ERISA Affiliate.
                        (b)      (i) Each Benefit Plan has been established, operated and
administered in all material respects in accordance with its terms and in compliance with the
applicable provisions of ERISA, the Code and all other Legal Requirements; (ii) with respect to
each Benefit Plan, all reports, returns, notices and other documentation that are required to have
been filed with or furnished to the Internal Revenue Service (the “IRS”), the United States
Department of Labor or any other Governmental Authority, or to the participants or beneficiaries
of such Benefit Plan have been filed or furnished on a timely basis in all material respects; and
(iii) each Benefit Plan that is intended to be qualified within the meaning of Section 401(a) of the
Code is so qualified and has received a favorable determination letter from the IRS or may rely
on a favorable opinion letter issued by the IRS.

               5.12    Sellers’ Intellectual Property.
                       (a)     Schedule 5.12(a) sets forth a true and complete list of all U.S. and
foreign (i) issued Patents and pending applications for Patents; (ii) registered Trademarks and
pending applications for Trademarks; and (iii) registered Copyrights and pending applications
for Copyrights, in each case which are owned by a Seller as of the Execution Date and which are
material to the Acquired Assets. Except as set forth on Schedule 5.12(a), the Sellers are the sole
owners of all of the applications and registrations set forth on Schedule 5.12(a), and all such
applications and registrations are in effect and subsisting.
                       (b)    Except as disclosed on Schedule 5.12(b), and except as would not,
individually or in the aggregate, have a Material Adverse Effect, to the Sellers’ Knowledge,
(i) the conduct of the Business by the Sellers as currently conducted (including the products and
services currently sold or provided by the Sellers) does not infringe or otherwise violate any
Person’s intellectual property rights, and no such claims are pending or threatened in writing
against the Sellers, and (ii) no Person is infringing or otherwise violating any Intellectual
Property owned by the Sellers, and no such claims are pending or threatened in writing against
any Person by the Sellers.
                        (c)     To the Sellers’ Knowledge, the Acquired Assets and any rights
provided to Buyer pursuant to the Transaction Documents include all material third party
intellectual property rights licensed to the Sellers that are required to conduct the Business in a
substantially similar manner as it is presently being conducted by the Sellers, except such
intellectual property rights as exist under the Excluded Contracts.
               5.13    Contracts.
               Schedule 5.13 sets forth a complete list, as of the date hereof, of all Material
Contracts relating to the Business (including Leases, Lessor Leases and Occupancy Agreements)
to which any Seller is a party and the Cure Costs with respect thereto. Except as set forth on


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Schedule 5.13, no Seller has assigned, delegated or otherwise transferred to any third party any
of its rights or obligations with respect to any such Contract. Each Contract is in full force and
effect and is a valid and binding obligation of each Seller party thereto in accordance with its
terms and conditions, in each case except (x) as such enforceability may be limited by
bankruptcy, insolvency, reorganization, moratorium or similar laws now or hereafter in effect
relating to creditors’ rights generally or general principles of equity, (y) as set forth on Schedule
5.13 and (z) as would not, individually or in the aggregate, have a Material Adverse Effect.
Except as arising as a consequence of the Bankruptcy Cases, upon entry of the Sale Order and
payment of the Cure Costs, (i) no Seller will be in breach or default of its obligations under any
Assumed Contract, (ii) no condition exists that with notice or lapse of time or both would
constitute a default by any Seller under any Assumed Contract and (iii) to the Sellers’
Knowledge, no other party to any Assumed Contract is in breach or default thereunder, except in
the case of clauses (i), (ii) and (iii) for any breaches or defaults that would not, individually or in
the aggregate, have a Material Adverse Effect. The Cure Cost amounts calculated by the Sellers
and specified in the Cure Notices submitted by the Sellers with respect to each of the Assumed
Contracts and each Contract listed or described on Schedule 5.13 to the counterparty or
counterparties thereto pursuant to the Bidding Procedures Order are, to the Sellers’ Knowledge,
true and correct.

               5.14    Insurance.
                Schedule 5.14 sets forth a true and complete list of all insurance policies held by
the Sellers covering the property, assets, Employees and operations of the Business (including
policies providing property, casualty, liability and workers’ compensation coverage, but
excluding any policies relating to any Benefit Plan that are set forth on Schedule 5.11(a)). Such
policies are in full force and effect (subject to periodic renewals thereof). Except as set forth on
Schedule 5.14, the Sellers have paid all premiums on such policies due and payable prior to the
Execution Date, or, if not yet due, have properly accrued for such payables. Since the Petition
Date, to the Sellers’ Knowledge, the Sellers have not done anything by way of action or inaction
that invalidates any such policies in whole or in part.
               5.15    Brokers or Finders.
               The Sellers have not incurred any obligation or liability, contingent or otherwise,
for brokerage or finders’ fees or agents’ commissions or other similar payment in connection
with this Agreement, the other Transaction Documents or the transactions contemplated hereby
or thereby for which Buyer is or will become liable.

               5.16    Affiliate Interests.
                Other than travel advances entered into in the Ordinary Course of Business of the
Sellers, all Contracts between any Seller and any Affiliate of any Seller (but not including
another Seller) are listed on Schedule 5.16. Other than employment arrangements, compensation
benefits and travel advances entered into in the Ordinary Course of Business of the Sellers, to the
Sellers’ Knowledge, no such Affiliate of any Seller has any direct or indirect interest in, or
controls or is a director, officer, employee or partner of, or consultant to, or lender to or borrower
from or has the right to participate in the profits of, (i) any Person which does business with any
Seller or is competitive with the Business in any material respect, or (ii) any material property,



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asset or right which is used by any Seller. All Indebtedness of any such Affiliate to any Seller,
and all Indebtedness of any Seller to any such Affiliate of any Seller, is listed on Schedule 5.16.

               5.17    Bank Accounts.
              Schedule 5.17 sets forth a complete list of all bank accounts (including any
deposit accounts, securities accounts and any sub-accounts) of the Sellers related to the Business.

               5.18    Undue Influence.
                In connection with the operation of the Business, no Seller or, to the Sellers’
Knowledge, any director, officer, agent, employee or Affiliate of the Sellers, has taken any
action, directly or indirectly, with respect to the Business that would result in a violation of the
Foreign Corrupt Practices Act of 1977 and the rules and regulations thereunder (the “FCPA”).
The Sellers, and, to the Sellers’ Knowledge, their Affiliates, have conducted the Business in
compliance with the FCPA in all material respects and maintain procedures which are reasonably
expected to ensure compliance therewith.

               5.19    Financial Statements.
                The Sellers have made available to Buyer the unaudited consolidated balance
sheet and cash flow statement of the Company and its Subsidiaries as of September 30, 2018,
and the related unaudited consolidated statement of comprehensive income for the 9-months
ended September 30, 2018 (the “Unaudited Financial Statements”). The Unaudited Financial
Statements have been prepared in accordance with GAAP consistently applied in accordance
with the Sellers’ past practice except for the absence of footnotes and customary year-end
adjustments. The Unaudited Financial Statements (i) are true, correct and complete in all
material respects, (ii) are in accordance in all material respects with the books and records of the
Sellers, and (iii) fairly present in all material respects the financial position of the Sellers at the
dates specified and the results of their operations for the period covered. The copies of the
Unaudited Financial Statements delivered to Buyer are true, correct and complete copies.

               5.20    Absence of Certain Changes.
                       (a)     Since January 1, 2018, there has not been a Material Adverse
Effect.
                       (b)    Except as set forth on Schedule 5.20(b), or as expressly
contemplated hereby or the Final DIP Order or any other orders entered in the Bankruptcy Cases
from and after the Petition Date through the date hereof, the Sellers have not:
                     (i)       except for executory contracts and unexpired leases rejected by the
Sellers with the prior written consent of Buyer, terminated, modified or amended any Available
Contract that is a Material Contract other than due to the expiration of the term or automatic
renewals, in each case, in accordance with the terms of any such Available Contract that is a
Material Contract;
                      (ii)     (A) purchased or otherwise acquired any material properties or
assets (tangible or intangible) or sold, leased, transferred or otherwise disposed of any material
Acquired Assets, except for purchases of materials and sales of coal, coke and surplus equipment
Inventory in the Ordinary Course of Business, (B) permitted, allowed or suffered any of the


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Acquired Assets to be subjected to any Encumbrance (other than Permitted Encumbrances), or
(C) removed any (non-surplus) Equipment or other material assets (other than Inventory) from
the Real Property other than in the Ordinary Course of Business; provided, that any such action
with respect to any asset previously identified in the Disclosure Statement as an asset held for
sale shall be considered Ordinary Course of Business;
                      (iii)    suffered any material damage or destruction to or loss of any
material assets or properties whether or not covered by insurance;
                    (iv)     hired any Employees having base or guaranteed compensation in
excess of $200,000 annually or terminated any such Employee (other than for “cause”);
                       (v)      (A) increased the annual rate of base salary or any target bonus
opportunity of any Employee whose annual rate of base salary prior to such increase was in
excess of $200,000; (B) paid any bonus, benefit, or other direct or indirect incentive
compensation (other than any such payments authorized pursuant to any first or second day
orders in the Bankruptcy Case); (C) awarded any equity or equity-based compensation awards
(whether phantom or equity) with respect to the equity of the Company or its Affiliates; (D)
modified, amended or terminated any Benefit Plan; (E) entered into or modified any employment,
compensation, severance, non-competition, or similar contract (or amended any such contract) to
which any Seller is a party; or (F) adopted any new severance pay, termination pay, deferred
compensation, bonus, or other employee benefit plan, agreement, program, practice, arrangement
or policy with respect to Employees that would be a Benefit Plan if it existed on the Execution
Date (including any employment agreement, severance agreement, change in control agreement,
or transaction or retention bonus agreements), except, in the case of each of clauses (A) through
(F), (i) to the extent permitted by any order of the Bankruptcy Court or as required by applicable
Legal Requirements (including to avoid the imposition of Taxes or to conform to the
requirements of Tax qualification); (ii) pursuant to the terms of any Benefit Plan, as in effect on
the date hereof; or (iii) for immaterial changes to Benefit Plans available to all employees
generally (other than changes that materially increase the amount, or accelerate the timing, of the
payment of benefits);
                      (vi)      changed in any material respect the Sellers’ accounting methods,
principles or practices other than required by changes in GAAP;
                      (vii)   allowed any material Permit held by any Seller to terminate, expire
or lapse;
                    (viii)   except to the extent consistent with the Budget, incurred any
Indebtedness or paid, discharged or satisfied any claims, liabilities or obligations, other than the
payment, discharge or satisfaction in the Ordinary Course of Business of Liabilities incurred in
the Ordinary Course of Business; or
                      (ix)    agreed or committed in writing to do any of the foregoing.

               5.21    Mining.
                     (a)    The Sellers have, in the amounts and forms required pursuant to
applicable Mining Laws and MSHA, obtained all performance bonds and surety bonds, or
otherwise provided any financial assurance as (i) required under the applicable Mining Permits
or Mining Laws and MSHA for Reclamation of land, water or other natural resources at any


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current mines, (ii) required pursuant to any applicable Mining Permit or Mining Laws and
MSHA to mitigate any actual or potential environmental impact of such mines, or (iii) otherwise
obtained in the Ordinary Course of Business of the Sellers (collectively, “Mining Financial
Assurances”), except for such Mining Financial Assurances that do not exceed $1,000,000 in the
aggregate. Schedule 5.21(a) sets forth a list of all such Mining Financial Assurances maintained
by the Sellers. The Sellers have posted or otherwise provided all Mining Financial Assurances
that have been requested in writing by the applicable Governmental Authorities in respect of any
applicable Permits and Legal Requirements having to do with Reclamation in connection with
the Sellers’ mining operations as currently conducted, subject to the discretion of any applicable
Governmental Authority to require additional or supplemental Mining Financial Assurances
from time to time
                      (b)     To the Sellers’ Knowledge, all Reclamation performed by or on
behalf of any Seller has been performed in a manner in compliance in all material respects with
all Legal Requirements and meets in all material respects the requirements of the applicable
Mining Permit and any associated mine Reclamation requirements of any applicable
Governmental Authority. The liability for mine closing and Reclamation obligations recorded on
the most recent balance sheet of the Sellers provided to Buyer has been properly accrued in
accordance with the requirements of Financial Accounting Standards Board Codification Topic
410, Asset Retirement and Environmental Obligations, formerly known as Financial Accounting
Standard No. 143 (“FASB 410”), and the amount of such liability is equal to or in excess of the
amount of such obligations, determined on the basis of the Sellers’ actual historic Reclamation
and closure costs and currently planned mine life and escalated for inflation, in accordance with
FASB 410 and applicable Legal Requirements. All Mining Financial Assurances have been
approved as adequate by the required Governmental Authority to complete Reclamation in
accordance with all applicable Permits and Legal Requirements.

               5.22    MSHA; OSHA.
                For the past eighteen (18) months, except for fully paid, discharged and settled
citations and notices of violation by MSHA or other Governmental Authority, the Sellers, with
respect to the Business and Acquired Assets, have conducted their respective business and
operations, and their respective assets have been maintained, in compliance in all material
respects with MSHA or OSHA, as applicable. There are no investigations pending or, to the
Sellers’ Knowledge, threatened by any Governmental Authority or other third Person that would
result in the imposition of any material Liability on any Seller pursuant to MSHA or OSHA. The
Sellers do not owe any material assessments, penalties, fines, liens, charges, surcharges, nor are
there any other material amounts due or owing pursuant to MSHA or OSHA, and there have
been no imminent danger orders, unwarrantable failure orders, failure to abate orders, or
cessation orders, notices of a pattern of violations, or material assessments, under MSHA or
OSHA during the previous eighteen (18) months with respect to the Business. Schedule 5.22 sets
forth all reports of any MSHA or OSHA audits with respect to the Business performed within the
previous eighteen (18) months by any Person (including the Seller).

               5.23    Coal Act; Black Lung Act.
                       (a)     The Sellers, with respect to the Business and Acquired Assets, and
their “related persons” (as defined in the Coal Act) are in compliance in all material respects with


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the Coal Act and any regulations promulgated thereunder except which compliance is being
contested in good faith by appropriate proceedings diligently conducted or excused by the
Bankruptcy Court or the Bankruptcy Code, and none of the Sellers or their “related persons” (as
defined in the Coal Act) has any Liability under the Coal Act, except as disclosed in the
Unaudited Financial Statements or which would not, individually or in the aggregate, have a
Material Adverse Effect, or with respect to premiums or other material payments required
thereunder which have been paid when due, or which Liability is being contested in good faith
by appropriate proceedings diligently conducted or the current payment of which is excused by
the Bankruptcy Court or the Bankruptcy Code.
                       (b)    The Sellers are in compliance in all material respects with the
Black Lung Act except which compliance is being contested in good faith by appropriate
proceedings diligently conducted or excused by the Bankruptcy Court or the Bankruptcy Code,
and the Sellers have not incurred any Black Lung Liability or assumed any other Black Lung
Liability, except as disclosed in the Unaudited Financial Statements or which would not,
individually or in the aggregate, have a Material Adverse Effect, or with respect to premiums,
contributions or other material payments required thereunder which have been paid when due or
which Black Lung Liability is being contested in good faith by appropriate proceedings
diligently conducted or the current payment of which is excused by the Bankruptcy Court.
            5.24 Warranties Exclusive.
            EXCEPT AS EXPRESSLY SET FORTH IN THIS ARTICLE 5 (AS MODIFIED
BY THE DISCLOSURE SCHEDULES) OR IN THE BILL OF SALE AND THE
ASSUMPTION AGREEMENT, THE SELLERS MAKE NO REPRESENTATION OR
WARRANTY, STATUTORY, EXPRESS OR IMPLIED, WRITTEN OR ORAL, AT LAW OR
IN EQUITY, IN RESPECT OF ANY OF THEIR ASSETS (INCLUDING THE ACQUIRED
ASSETS), LIABILITIES (INCLUDING THE ASSUMED LIABILITIES) OR THE BUSINESS,
INCLUDING, WITH RESPECT TO MERCHANTABILITY OR FITNESS FOR ANY
PARTICULAR PURPOSE, OR NON-INFRINGEMENT, AND ANY SUCH OTHER
REPRESENTATIONS OR WARRANTIES ARE HEREBY EXPRESSLY DISCLAIMED AND
NONE SHALL BE IMPLIED AT LAW OR IN EQUITY. NEITHER THE SELLERS NOR
ANY OTHER PERSON, DIRECTLY OR INDIRECTLY, HAS MADE OR IS MAKING, ANY
REPRESENTATION OR WARRANTY, WHETHER WRITTEN OR ORAL, REGARDING
THE PRO-FORMA FINANCIAL INFORMATION, FINANCIAL PROJECTIONS OR OTHER
FORWARD-LOOKING STATEMENTS OF THE SELLERS.
                                         ARTICLE 6

                       REPRESENTATIONS AND WARRANTIES OF BUYER
              Buyer represents and warrants to the Sellers as follows:

              6.1     Organization and Good Standing.
              Buyer is a limited liability company, duly organized, validly existing and in good
standing under the laws of the State of Delaware. Buyer has the requisite power and authority to
own or lease and to operate and use its properties and to carry on its business as now conducted.




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               6.2     Authority; Validity; Consents.
                Buyer has the requisite power and authority necessary to enter into and perform
its obligations under this Agreement and the other Transaction Documents to which it is a party
and to consummate the transactions contemplated hereby and thereby. The execution, delivery
and performance of this Agreement and the other Transaction Documents by Buyer and the
consummation by Buyer of the transactions contemplated herein and therein have been duly and
validly authorized by all requisite limited liability company or corporate actions in respect
thereof. This Agreement has been duly and validly executed and delivered by Buyer and each
other Transaction Document to which Buyer is a Party will be duly and validly executed and
delivered by Buyer, as applicable, at the Closing. This Agreement and the other Transaction
Documents to which Buyer is a party constitute the legal, valid and binding obligation of Buyer,
enforceable against Buyer in accordance with their respective terms, except in each case as such
enforceability is limited by bankruptcy, insolvency, reorganization, moratorium or similar laws
now or hereafter in effect relating to creditors’ rights generally or general principles of equity.
Except as required to comply with the HSR Act or as set forth on Schedule 6.2, Buyer is not or
will be required to give any notice to, make any registration, declaration or filing with or obtain
any consent, waiver or approval from any Person in connection with the execution and delivery
of this Agreement and the other Transaction Documents to which it is a Party or the
consummation or performance of any of the transactions contemplated hereby or thereby, except
for such notices, registrations, declarations or filings and consents, the failure of which to
provide, make or obtain, would not, individually or in the aggregate, materially affect Buyer’s
ability to perform its obligations under this Agreement or any other Transaction Documents or to
consummate the transactions contemplated hereby or thereby.

               6.3     No Conflict.
                 Neither the execution and delivery by Buyer of this Agreement or the Transaction
Documents to which it is a party nor the consummation of the transactions contemplated hereby
or thereby nor compliance by it with any of the provisions hereof or thereof (a) conflict with or
result in a violation of (i) any provision of the organizational documents of Buyer or (ii) any
judgment, order, writ, injunction, decree, statute, law, ordinance, rule or regulation in any
material respect binding upon Buyer or (b) violate, conflict with, or result in a breach of any of
the terms of, or constitute a default under, or give rise to any right of termination, modification,
cancellation or acceleration under, (A) any note, bond, mortgage, indenture, deed of trust,
contract, commitment, arrangement, license, agreement, lease or other instrument or obligation
to which Buyer is a party or by which Buyer may be bound or to which any of Buyer’s assets
may be subject or affected in any material respect and that, in each case, is material to the
business of Buyer, or (B) any material license, permit, authorization, consent, order or approval
of, or registration, declaration or filings with, any Governmental Authority.

               6.4     Brokers or Finders.
                Neither Buyer nor any Person acting on behalf of Buyer has paid or become
obligated to pay any fee or commission to any broker, finder, investment banker, agent or
intermediary for or on account of the transactions contemplated hereby for which any Seller (or
any affiliate of any Seller) is or will become liable, and Buyer shall hold harmless and indemnify
the Sellers and their Affiliates from any claims with respect to any such fees or commissions.



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               6.5     Legal Proceedings.
               There is no Proceeding or Order pending against, or to Buyer’s Knowledge,
threatened against or affecting, Buyer before any arbitrator or any Governmental Authority
which in any manner challenges or seeks to prevent, enjoin, alter or materially delay the
transactions contemplated hereby and the other Transaction Documents or which would or would
reasonably be expected to impair Buyer’s ability to consummate the transactions contemplated
hereby and the other Transaction Documents.
               6.6     Qualification.
                      (a)    To Buyer’s Knowledge, there exist no facts or circumstances that
would cause, or be reasonably expected to cause, Buyer and/or its Affiliates not to qualify as a
“good faith” purchaser under Section 363(m) of the Bankruptcy Code.
                      (b)    As of the Closing, Buyer and/or each relevant Buyer Designee, as
applicable, will be capable of satisfying the conditions contained in Sections 365(b)(1)(C) and
365(f)(2)(B) of the Bankruptcy Code with respect to the Assumed Contracts.
                       (c)      As of the Closing, Buyer and/or each relevant Buyer Designee, as
applicable, (i) will be eligible to take transfer of, or obtain a replacement for, the Transferred
Permits (ii) will not be listed or “permit blocked” on the Applicant Violator System and/or (iii)
will not have been denied any application for any Mining Permit or other Governmental
Authorization, other than any denial for violations that may reasonably be expected to be cured
by the time of such transfer or obtaining of Permits as contemplated by Section 7.7.
              6.7      No Other Representations or Warranties; Condition of the Business;
Buyer’s Reliance.
               Buyer acknowledges that neither the Sellers nor any other Person is making, and
Buyer is not relying on, any representations or warranties whatsoever, statutory, expressed or
implied, written or oral, at law or in equity, beyond those expressly made by the Sellers in
Article 5 hereof (as modified by the Disclosure Schedules). Buyer acknowledges that, except as
expressly set forth in this Article 6 (as modified by the Disclosure Schedules), neither the Sellers
nor any other Person has, directly or indirectly, made any representation or warranty, statutory,
expressed or implied, written or oral, at law or in equity, as to the accuracy or completeness of
any information that the Sellers furnished or made available to Buyer and its Representatives in
respect of the Business, and the Sellers’ operations, assets, stock, Liabilities, condition (financial
or otherwise) or prospects. Buyer acknowledges that neither the Sellers nor any other Person,
directly or indirectly, has made, and Buyer has not relied on, any representation or warranty,
whether written or oral, regarding the pro-forma financial information, financial projections or
other forward-looking statements of the Sellers, and Buyer will make no claim with respect
thereto. Buyer acknowledges that the Acquired Assets are being transferred on an “AS IS,
WHERE IS” basis.
               6.8     Information.
              Buyer has conducted such investigations of the Sellers, the Acquired Assets and
the Assumed Liabilities as it deems necessary and appropriate in connection with the execution
and delivery of this Agreement and the other Transaction Documents to which Buyer is a party
and the consummation of the transaction contemplated hereby and thereby. None of the Sellers
or any other Person (including any officer, director, member or partner of the Sellers or any of


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their respective Affiliates) shall have or be subject to any liability to Buyer, or any other Person,
resulting from Buyer’s use of any information, documents or material made available to Buyer in
any “data rooms,” management presentations, due diligence or in any other form in expectation
of the transactions contemplated hereby or by the other Transaction Documents.

                                                  ARTICLE 7

                                 ACTIONS PRIOR TO THE CLOSING DATE

                 7.1      Access and Reports; Confidentiality.
                       (a)     During the period from and including the Execution Date through
and including the Closing Date or the earlier termination of this Agreement in accordance with
the provisions of Article 11 or entry into an agreement with respect to an Alternative Transaction,
the Sellers shall (i) afford Buyer and its Representatives reasonable access, upon reasonable
notice, to its personnel, properties, books, Permits, Contracts and records, and furnish promptly
to Buyer all available information concerning the Acquired Assets, the Business, properties, any
Benefit Plans and personnel as may be reasonably requested in connection with the transactions
contemplated hereby; (ii) furnish to Buyer such financial and operating data and other
information relating to the Sellers, the Business and the Acquired Assets as may be reasonably
requested; (iii) permit Buyer to make such reasonable inspections and, at Buyer’s sole cost and
expense, copies thereof as Buyer may require and (iv) instruct the executive officers and senior
business managers, employees, counsel, auditors and financing advisors of the Sellers to
reasonably cooperate with Buyer and its Representatives regarding the same; provided, that any
such access shall be conducted consistent with and not in violation of the Bidding Procedures
Order and in a manner not to unreasonably interfere with the Business. All requests for
information made pursuant to this Section 7.1 shall be directed to Kevin Nystrom, AlixPartners,
1114 Avenue of the Americas, 41st Floor, New York or other person as designated by such
person or the Sellers. Notwithstanding the foregoing, (A) Buyer and its Representatives shall not
have access to personnel records of the Sellers relating to individual performance or evaluation
records, medical histories or other information which in the Sellers’ good faith opinion is
sensitive or the disclosure of which could subject a Seller to risk of liability and (B) Buyer and
its Representatives shall not conduct or cause to be conducted any sampling, testing or otherwise
surface or subsurface invasive investigation of the air, soil, surface water, groundwater, building
materials or other environmental media related to the Real Property, the Acquired Assets or the
Business, [including in connection with determining or confirming the amount of any
Reclamation Liabilities associated with the Acquired Assets, except with the prior written
consent of the Sellers (not to be unreasonably withheld).] 4 No investigation pursuant to this
Section 7.1 or by Buyer or its Representatives at any time prior to or following the date hereof
shall affect or be deemed to modify any representation or warranty made by the Sellers herein.
                        (b)    Notwithstanding the foregoing, but subject in all respects to the
Bidding Procedures Order, this Section 7.1 shall not require the Sellers to permit any access to,
or to disclose (i) any information that, in the reasonable, good faith judgment (after consultation

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    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is: “…, except with the prior written consent of the Sellers or in connection with
    determining or confirming the amount of any Reclamation Liabilities associated with the Acquired Assets.”



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with counsel, which may be in-house counsel) of the Company, is reasonably likely to result in
any violation of any Legal Requirement or any Contract to which the Company or any Seller is a
party or cause any privilege (including attorney-client privilege) or work product protection that
the Sellers would be entitled to assert to be undermined or waived with respect to such
information or (ii) if the Company or any Seller, on the one hand, and Buyer or any of its
Affiliates, on the other hand, are adverse parties in a litigation, any information that is reasonably
pertinent thereto; provided, that, in the case of clause (i), the Parties shall cooperate in seeking to
find a way to allow disclosure of such information to the extent doing so (A) would not (in the
good faith belief of the Company (after consultation with counsel, which may be in-house
counsel)) be reasonably likely to result in the violation of any such Legal Requirement or
Contract or be reasonably likely to cause such privilege or work product protection to be
undermined with respect to such information or (B) could reasonably (in the good faith belief of
the Company (after consultation with counsel, which may be in-house counsel)) be managed
through the use of customary “clean-room” arrangements pursuant to which non-employee
Representatives of Buyer could be provided access to such information.
                      (c)     Buyer shall, and shall use its best efforts to cause its Affiliates and
Representatives to, hold all confidential documents and information concerning the Business
furnished to Buyer or its Affiliates in connection with the transactions contemplated hereby and
the other Transaction Documents in accordance with the confidentiality provisions of the DIP
Credit Agreement.

               7.2     Operations Prior to the Closing Date.
               The Sellers covenant and agree that, except (v) as expressly contemplated hereby,
(w) as disclosed on Schedule 7.2(a), (x) with the prior written consent of Buyer (which consent
shall not be unreasonably withheld, conditioned or delayed), (y) as otherwise required by Legal
Requirements, or (z) in the Ordinary Course of Business, after the Execution Date and prior to
the Closing Date:
                       (a)     The Sellers shall:
                            (i) carry on the Business in the Ordinary Course of Business of the
Sellers and use commercially reasonable efforts to maintain, preserve and protect the Acquired
Assets in the condition in which they exist on the date hereof, except for ordinary wear and tear
and except for replacements, modifications or maintenance in the Ordinary Course of Business
of the Sellers;
                            (ii) maintain their books, accounts and records in the Ordinary
Course of Business of the Sellers;
                            (iii) use commercially reasonable efforts to pay all post-petition
Trade Payables and collect all Accounts Receivable after the Petition Date (consistent with the
Budget); provided, that paying such Trade Payables or collecting such Accounts Receivable is in
the Ordinary Course of Business of the Sellers (or otherwise consistent with the Budget);
                             (iv) use commercially reasonable efforts to (A) retain employees
who are in good standing and are necessary to conduct the Business as it is currently being
conducted and (B) maintain their relationships with and preserve for the Business the goodwill of
their key suppliers and customers;



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                            (v) (A) comply in all material respects with all Legal
Requirements applicable to them or having jurisdiction over the Business or any Acquired Asset,
(B) use commercially reasonable efforts to comply in all material respects with contractual
obligations applicable to or binding upon them pursuant to any Material Contracts (other than
those obligations the compliance with which is excused during the Bankruptcy Cases) and (C)
use commercially reasonable efforts to maintain in full force and effect all Permits and comply
with the terms of each such Permit;
                              (vi) cause any of their current directors and officers liability,
property or casualty insurance policies with respect to the Business or any of the other Acquired
Assets not to be canceled or terminated or any of the coverage thereunder to lapse unless,
simultaneously with such termination, cancellation or lapse, replacement, policies providing
coverage equal to or greater than the coverage under the canceled, terminated or lapsed policies
are in full force and effect;
                              (vii) maintain, preserve and protect in full force and effect the
existence of all material Intellectual Property owned by the Sellers and included in the Acquired
Assets; and
                            (viii) except with respect to an Alternative Transaction, use
commercially reasonable efforts not to take or agree to or commit to assist any other Person in
taking any action (i) that would reasonably be expected to result in a failure of any of the
conditions to the Closing or (ii) that would reasonably be expected to impair the ability of the
Sellers or Buyer to consummate the Closing in accordance with the terms hereof or to materially
delay such consummation.
                      (b)      The Sellers shall not:
                              (i)   take any action enumerated in Section 5.20(b), except as set
forth on Schedule 7.2(b);
                              (ii) assume, reject or assign any Material Contract other than
pursuant to Section 2.5; or

                             (iii) enter into or renew any Material Contract (other than automatic
renewals of Material Contracts in the Ordinary Course of business in accordance with the terms
thereof as in effect on the Execution Date) without the consent of Buyer and the approval of the
Bankruptcy Court in accordance with Section 363(b) of the Bankruptcy Code.

               7.3    Regulatory Matters; Cooperation.
                       (a)    Subject to Section 7.3(c), as soon as reasonably practicable (and, in
any event, within five (5) Business Days, or a later date as agreed by the Parties) following entry
of the Bidding Procedures Order, the Sellers, on the one hand, and Buyer, on the other hand,
shall each prepare and file, or cause to be prepared and filed, any notifications required to be
filed under the HSR Act with the United States Federal Trade Commission and the Antitrust
Division of the United States Department of Justice, and request early termination of the waiting
period under the HSR Act. Buyer, on the one hand, and the Sellers, on the other hand, shall
promptly respond to any requests for additional information or documentary materials in
connection with such filings and shall take all other actions necessary to cause the waiting
periods under the HSR Act to terminate or expire at the earliest practicable date after the date of


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filing. Buyer shall be responsible for payment of the applicable filing fee under the HSR Act, and
each Party shall be responsible for any other payment of its own respective costs and expenses
incurred by such Party (including attorneys’ fees and other legal fees and expenses) associated
with the preparation of its portion of any antitrust filings.
                       (b)     The Sellers, on the one hand, and Buyer, on the other hand, shall
use reasonable best efforts to obtain (and Buyer shall cause its Subsidiaries to use commercially
reasonable efforts to obtain), at the earliest practicable date, all necessary Governmental
Authorizations and all necessary registrations, declarations and filings (including registrations,
declarations and filings with Governmental Authorities, if any) and take all reasonable steps as
may be necessary to avoid any Proceeding by any Governmental Authority. In addition to such
actions and the actions to be taken under Section 7.3(a), the Sellers, on the one hand, and Buyer,
on the other hand, shall use reasonable best efforts to take (and Buyer shall cause its Subsidiaries
to use commercially reasonable efforts to obtain), or cause to be taken, all actions, and to do, or
cause to be done, and to assist and cooperate with the other in doing, all things necessary, proper
or advisable to consummate and make effective, in the most expeditious manner practicable, the
transactions contemplated hereby, including using reasonable best efforts to accomplish the
following: (i) taking all reasonable acts necessary to cause the conditions precedent set forth in
Article 9 and Article 10 to be satisfied, (ii) defending of any Proceedings challenging this
Agreement or the consummation of the transactions contemplated hereby, including seeking to
have any stay or temporary restraining order entered by any court or other Governmental
Authority vacated or reversed, (iii) taking all acts reasonably necessary in connection with
meeting with any Governmental Authority regarding the transferring of the Transferred Permits,
and (iv) executing and delivering any additional instruments necessary to consummate the
transactions contemplated hereby and to fully carry out the purposes of this Agreement.
                        (c)    The Sellers, on the one hand, and Buyer, on the other hand,
(i) shall promptly inform each other of any material communication from any Governmental
Authority concerning this Agreement, the transactions contemplated hereby, and any filing,
notification or request for approval and (ii) shall permit the other to review in advance any
proposed written or material oral communication or information submitted to any such
Governmental Authority in response thereto. In addition, none of Parties shall agree to
participate in any meeting with any Governmental Authority in respect of any filings,
investigation or other inquiry with respect to this Agreement or the transactions contemplated
hereby, unless such Party consults with the other Parties in advance and, to the extent permitted
by any such Governmental Authority, gives the other Parties the opportunity to attend and
participate thereat, in each case to the maximum extent practicable. Subject to restrictions under
any Legal Requirements, each of Buyer, on the one hand, and the Sellers, on the other hand, shall
furnish the other with copies of all correspondence, filings and communications (and memoranda
setting forth the substance thereof) between it and its Affiliates and their respective
Representatives on the one hand, and the Governmental Authority or members of its staff on the
other hand, with respect to this Agreement, the transactions contemplated hereby (excluding
documents and communications which are subject to preexisting confidentiality agreements or to
the attorney-client privilege or work product doctrine or which refer to valuation of the Business)
or any such filing, notification or request for approval. Each Party shall also furnish the other
Party with such necessary information and assistance as such other Party and its Affiliates may
reasonably request in connection with their preparation of necessary filings, registration or



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submissions of information to the Governmental Authority in connection with this Agreement,
the transactions contemplated hereby and any such filing, notification or request for approval.
                        (d)     Subject to the terms and conditions of this Agreement, Buyer shall
and shall cause its Subsidiaries to, take any and all steps reasonably necessary to avoid or
eliminate impediments under any Antitrust Law that may be asserted by any Governmental
Authority with respect to the transactions contemplated hereby so as to enable the Closing to
occur as soon as reasonably possible, including, proposing, negotiating, committing to and
effecting, by consent decree or otherwise, the sale, divestiture or disposition of such assets or
businesses of Buyer or any of its Subsidiaries as may be required in order to avoid the entry, or
to effect the dissolution, of any injunction, temporary restraining order or other order in any suit
or proceeding, which would otherwise have the effect of preventing, delaying or restricting the
consummation of the transactions contemplated hereby; provided, that (i) the Sellers shall not
take any such action without the prior written consent of Buyer and (ii) Buyer shall not be
obligated to take any such action if such action would have a Material Adverse Effect on the
Business or the Acquired Assets, taken as a whole
               7.4     Tax Cooperation.
                Prior to the Closing, the Sellers and Buyer agree to furnish or cause to be
furnished to the other, upon request, as promptly as practicable, information and assistance
relating to the Acquired Assets, including access to books and records (including any Tax
Records), as is reasonably necessary in connection with (a) the preparation or filing of any Tax
Return by Buyer or the Sellers, (b) the making of any Tax election by Buyer or the Sellers, (c)
Buyer or the Sellers’ claim for any Tax Refund, (d) the determination of liability for Taxes, and
(e) any audit, examination or other proceeding in respect of Taxes related to the Acquired Assets.
Sellers and their respective Affiliates shall (i) abide by all record retention agreements entered
into with any Taxing Authority, and (ii) give Buyer thirty (30) days’ written notice prior to
transferring, destroying or discarding any Tax Records and, if Buyer so requests, shall allow
Buyer to take possession of such Tax Records.
               7.5     Bankruptcy Court Matters.
                       (a)     Bidding Procedures Hearing and Bidding Procedures Order. On or
prior to December 5, 2018 (or such later date as agreed in writing by all of the Parties hereto),
the Sellers shall have filed with the Bankruptcy Court a motion for entry of an order (i)
authorizing the Sellers’ entry into this Agreement as the “stalking horse” purchase agreement for
the Acquired Assets, and (ii) approving the Bidding Procedures. On or prior to December 19,
2018 (or such later date as agreed in writing by all of the Parties hereto), the Bankruptcy Court
shall have (x) held a hearing to consider approval of the Bidding Procedures and (y) entered the
Bidding Procedures Order, in each case in form and substance acceptable to the Sellers and
Buyer.
                      (b)      Qualified Bids. On or prior to January 21, 2019 (or such later date
as agreed in writing by all of the Parties hereto) (the “Bid Deadline”), any and all Qualified Bids
shall have been submitted pursuant to the Bidding Procedures Order.
                     (c)     Auction. On or prior to February 27, 2019 (or such later date as
agreed in writing by all of the Parties hereto), the Sellers shall have commenced the auction




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contemplated by the Bidding Procedures, if any Qualified Bid is submitted prior to the Bid
Deadline.
                      (d)     Sale Order. On or prior to March 22, 2019 (or such later date as
agreed in writing by all of the Parties hereto), the Bankruptcy Court shall have entered the Sale
Order in form and substance acceptable to the Sellers and Buyer, in each case solely to the extent
Buyer is the Successful Bidder or the Backup Bidder.
                        (e)    Contracts. The Sellers shall serve on all non-Seller counterparties
to all of their Available Contracts a Cure Notice stating that the Sellers are or may be seeking the
assumption and assignment of such Available Contracts and shall notify such non-Seller
counterparties of the deadline for objecting to the Cure Costs, if any, which deadline shall not be
less than ten (10) Business Days prior to the Hearing or as otherwise provided in the Bidding
Procedures Order.
                       (f)    Bankruptcy Filings. From and after the Execution Date and until
the Closing Date, the Sellers shall deliver to Buyer, at least two (2) Business Days in advance of
the Sellers’ filing or submission thereof, drafts of any and all material pleadings, motions,
notices, statements, schedules, applications, reports and other papers to be filed or submitted in
connection with this Agreement for Buyer’s prior review and comment, including any Tax
motions, and such filings shall be acceptable to Buyer in its reasonable discretion to the extent
they relate to the Acquired Assets, any Assumed Liabilities or any of Buyer’s obligations
hereunder. The Sellers agree to diligently prosecute the entry of the Bidding Procedures Order
and the Sale Order as provided herein. In the event the entry of the Bidding Procedures Order or
the Sale Order shall be appealed, the Sellers shall use their best efforts to defend such appeal.
The Sellers shall comply with all notice requirements (i) of the Bankruptcy Code, the Federal
Rules of Bankruptcy Procedure and the Bidding Procedures Order or (ii) imposed by the Sale
Order, in each case, in connection with any pleading, notice or motion to be filed in connection
herewith.

               7.6     Updates.
                        (a)     Seller Supplements and Amendments. Solely with respect to any
notice to, or the making of any registration, declaration or filing with or the obtaining of any
consent, waiver or approval from, any Governmental Authority, the Sellers may supplement or
amend Schedule 5.2 at any time until the date that is five (5) Business Days prior to the auction
contemplated by the Bidding Procedures without regard to the penultimate sentence of this
Section 7.6(a). Until the Closing Date, the Sellers shall as promptly as reasonably practicable
deliver any new schedules or supplement or amend the Disclosure Schedules with respect to any
matter that, if existing, occurring or known at the Execution Date, would have been required to
be set forth or described in the Disclosure Schedules. Any such supplement or amendment shall
be deemed to modify the Disclosure Schedules for purposes of this Agreement except to the
extent the matters set forth in such supplement or amendment are material to the Acquired Assets
or the Business. Notwithstanding anything in this Section 7.6(a) to the contrary, in no event will
the Sellers be permitted to supplement or amend any Disclosure Schedules other than Disclosure
Schedules required under Article 5 without the prior written consent of Buyer and any such
supplements or amendments will not be deemed to modify any Schedules other than the
Disclosure Schedules required under Article 5.



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                       (b)    Buyer Supplements. Solely with respect to any notice to, or the
making of any registration, declaration or filing with or the obtaining of any consent, waiver or
approval from, any Governmental Authority, Buyer may supplement or amend Schedule 6.2 at
any time until the date that is five (5) Business Days prior to the auction contemplated by the
Bidding Procedures. [At any time prior to the date that is five (5) Business Days prior to the
auction contemplated by the Bidding Procedures, Buyer may amend, by written notice to the
Sellers, (i) Schedule Error! Reference source not found. with respect to assets of the Pinnacle
Business or (ii) Schedule 2.1(v) with respect to assets of Seminole Alabama Mining Complex,
LLC.]5

                 7.7       Surety Bonds; Permits.
                           (a)      Business and Acquired Assets in Alabama.
                             (i)    Sellers shall, as promptly as practicable, deliver to Buyer
any updates, modifications or corrections with respect to the information set forth on Schedule
5.9(b).

                             (ii)   Promptly after the Execution Date and by no later than the
date required by Legal Requirements or the appropriate Governmental Authority:

                                        (1)     Buyer shall file an application with the Alabama
Surface Mining Commission for a license to engage in coal mining operations in the State of
Alabama (“Alabama Mining License”), in a format and manner acceptable to the Alabama
Surface Mining Commission, along with all applicable fees, and shall have obtained such
Alabama Mining License, and continue to hold the same, on and as of the Closing Date and
thereafter until the transfer to Buyer of all of the Alabama Mining Permits (as hereinafter defined)
is completed;

                                      (2)     Buyer shall use commercially reasonable efforts to
provide, not later than the Bid Deadline, evidence of appropriate financial commitments, in form,
manner and amount acceptable to the Sellers and the Alabama Surface Mining Commission, for
replacement surety bonds or other financial assurances necessary to allow the transfer of the
Alabama Mining Permits from the Sellers to Buyer, and in any event, Buyer shall provide such
evidence at or before the Closing; and

                                     (3)     Buyer shall use commercially reasonable efforts to
provide, no later than the Bid Deadline, evidence of appropriate financial commitments, in form,

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    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is: “Buyer may supplement or amend any of the Schedules referenced in Article 2 at
    any time until the date that is five (5) Business Days prior to the auction contemplated by the Bidding
    Procedures in its sole discretion; provided, however, the Buyer shall not amend or supplement (i) Schedule
    2.1(u) without the prior written consent of the Sellers (such consent not to be unreasonably withheld,
    conditioned or delayed), (ii) any such Schedules if the effect of such change is to cause prepaid deposits related
    to Professional fee retainers, the Cash Consideration (or any related escrow account) or any additional
    Avoidance Actions, to be an Acquired Asset, or (iii) any such Schedules if the effect of such change is to cause
    any Cure Costs, Liabilities under Assumed contracts, Transfer Taxes or any Taxes imposed on the Business or
    the Acquired Assets and attributable to any Post Closing Tax Period to be an Excluded Liability.”



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manner and amount acceptable to the Sellers and the Alabama Oil and Gas Board, for
replacement surety bonds or other financial assurances necessary to allow the transfer of the
Permits for the Gas Wells from the Sellers to Buyer, and in any event, Buyer shall provide such
evidence at or before the Closing.

                        (iii)  As promptly as reasonably practicable after the Execution
Date and by no later than the date required by Legal Requirements or the appropriate
Governmental Authority:

                                       (1)    Buyer and the Sellers (if applicable) shall file an
application for a transfer of all Transferred Permits to engage in mining operations at particular
locations in the State of Alabama with the Alabama Surface Mining Commission (the “Alabama
Mining Permits”), in a format and manner acceptable to the Alabama Surface Mining
Commission, along with all applicable fees and shall publish notice of such applications in
accordance with the applicable Legal Requirements;

                                    (2)     Buyer and the Sellers (if applicable) shall file with
the Alabama Department of Environmental Management an application for a transfer of
Transferred Permits issued to the Sellers by the Alabama Department of Environmental
Management, in a format and manner acceptable to the Alabama Department of Environmental
Management, along with all applicable fees;

                                     (3)     Buyer and the Sellers (if applicable) shall file with
the Jefferson County Department of Health an application for a transfer of any Transferred
Permits relating to the emission of pollutants into the air, in a format and manner acceptable to
the Jefferson County Department of Health, along with all applicable fees;

                                     (4)    Buyer and the Sellers (if applicable) shall file with
the Alabama Department of Environmental Management an application for a transfer of any
Transferred Permits relating to the emission of pollutants into the air, in a format and manner
acceptable to the Alabama Department of Environmental Management, along with all applicable
fees;

                                  (5)     Buyer and the Sellers (if applicable) shall file with
the Alabama Oil and Gas Board written notification of the execution of this Agreement for
Buyer to become the new operator for any applicable well or wells, and all associated facilities
and equipment, in a format and manner acceptable to the Alabama Oil and Gas Board, along
with all applicable fees;

                                      (6)     If applicable, Buyer and the Sellers (if applicable)
shall file with the Federal Explosives Licensing Center an application for each applicable Federal
Explosives license or Permits, in a format and manner acceptable to the Federal Explosives
Licensing Center, along with all applicable fees; and

                                    (7)    The Sellers, on one hand, and Buyer, on the other
hand, shall use commercially reasonable efforts to properly file all documents or applications
required to transfer, to amend, or to acquire all other Transferred Permits necessary for the
operation and conduct of the Business or Acquired Assets in Alabama, and Buyer and the Sellers


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shall reasonably cooperate in all actions necessary to seek and obtain approval for the transfer
thereof.

                             (iv)      Buyer and the Sellers shall, and shall cause their
Subsidiaries to, (A) take all actions and do, or cause to be done, all things required under the
applicable Legal Requirements with the appropriate Governmental Authority to put in place, to
transfer, to amend, or to acquire all Transferred Permits that are necessary for the operation and
conduct of the Business or Acquired Assets in Alabama by or on the Closing Date, unless the
applicable Legal Requirements regarding such a Permit require certain actions to be taken upon
or after the Closing, and, in that event, Buyer, at Buyer’s sole cost and expense from and after
the Closing, shall take, or cause its Subsidiaries to take, all actions and do, or cause to be done,
all things necessary or desirable under the applicable Legal Requirements with the appropriate
Governmental Authority which can only be taken or done after the Closing to put in place, to
transfer, to amend, or to acquire such remaining Permits as promptly as reasonably practicable
after the Closing; and (B) take all actions and do, or cause to be done, all things necessary or
desirable under the applicable Legal Requirements to put in place with the Alabama Surface
Mining Commission as promptly as commercially reasonably possible after the Closing,
financial assurances necessary to transfer the Alabama Mining Permits from the Sellers and to
Buyer and to obtain the release to the Sellers of the financial assurances previously placed by the
Sellers with respect thereto. The Sellers agree to provide, at Buyer’s sole cost and expense from
and after the Closing, any reasonable cooperation as reasonably requested by Buyer to bring
about the transfer of the Alabama Mining Permits or the issuance of new such permits to Buyer,
as applicable. From and after the Closing, Buyer shall use commercially reasonable efforts to
pursue the transfer of the Alabama Mining Permits or issuances of new Alabama Mining Permits
to Buyer as promptly as possible, and Buyer, assuming Buyer has received the Alabama Mining
License as of such time, shall operate under the Alabama Mining Permits as the designated
operator and contract miner until the Alabama Mining Permits are transferred or new Permits are
issued to Buyer, which contract mining operation shall be pursuant to the terms of a contract
mining agreement in form mutually agreeable to Buyer and the Sellers and executed and
delivered by the Parties at the Closing (the “Alabama Contract Mining Agreement”), which shall,
at a minimum, (X) provide that Buyer shall indemnify and hold harmless the Sellers and their
respective Affiliates from any and all Liabilities arising out of or resulting from Buyer’s
operations under the Sellers’ applicable Alabama Mining Permits, (Y) prohibit the Sellers (or
any Affiliates of the Sellers) from undertaking any operations under the applicable Alabama
Mining Permits except to the extent such operations are required by, or otherwise necessary to
comply with, Legal Requirements, and (Z) provide that the Sellers shall indemnify and hold
harmless Buyer and its respective Affiliates from any and all Liabilities arising out of any actions
taken by any Seller (or an Affiliate of Seller) with respect to any Alabama Mining Permit during
the time in which the Alabama Contract Mining Agreement is in effect. To the fullest extent
allowed by and in accordance with the applicable Legal Requirements, the Sellers grant Buyer
the exclusive right to conduct, at the sole cost and expense of Buyer, mining operations
following the Closing on the Real Property under the Alabama Mining Permits, pursuant to and
on the terms and conditions of the Alabama Contract Mining Agreement, as the designated
operator until such time as the Alabama Mining Permits are transferred to, or new Permits are
issued to, Buyer, and Buyer shall indemnify and hold harmless the Sellers and their respective
Affiliates from any and all Liabilities arising out of or resulting from Buyer’s operations under
the Sellers’ applicable Alabama Mining Permits. The Sellers shall use commercially reasonable


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efforts to maintain the Alabama Mining Permits prior to transfer thereof to Buyer and shall have
(and Buyer grants) all rights of entry onto the Real Property that are reasonably necessary
therefor. Notwithstanding anything to the contrary contained herein, Buyer shall reimburse,
indemnify and hold harmless the Sellers and/or their respective Affiliates from any and all
Liabilities incurred by the Sellers and/or their respective Affiliates as a result of any action taken
by the Sellers at Buyer’s or its Affiliates’ request pursuant to this Section 7.7(a)(iv).

                              (v)      As promptly as practicable after the Closing (or such earlier
time as may be permitted by the Alabama Oil and Gas Board), Buyer and the Sellers shall
execute and deliver to the Alabama Oil and Gas Board one or more applications to change
operator (Form OGB 1E) and such other forms that may be necessary or required by the
Alabama Oil and Gas Board to change the operator of the Gas Wells to Buyer or a Buyer
Designee, and Buyer shall post replacement surety bonds or other financial assurances necessary
to allow the transfer of the applicable Permits for the Gas Wells from the Sellers to Buyer or
Buyer Designee. If required by the Alabama Oil and Gas Board, the Sellers shall leave in place
any bonds or other financial assurances in connection with the applicable Permits for the Gas
Wells, subject to the provisions of Section 7.7(a)(vii) below, until the transfer of the applicable
Permits for the Gas Wells from the Sellers to Buyer or Buyer Designee. Notwithstanding
anything to the contrary contained herein, Buyer shall reimburse, indemnify and hold harmless
the Sellers and/or their respective Affiliates from any and all Liabilities incurred by the Sellers
and/or their respective Affiliates as a result of any action taken by the Sellers at Buyer’s or its
Affiliates’ request pursuant to this Section 7.7(a)(v). Because the Alabama Oil and Gas Board
cannot change the operator of the Gas Wells prior to the Closing, after the Closing, until such
time that the transfer of the applicable Permits for the Gas Wells to Buyer or a Buyer Designee is
complete, Buyer (or Buyer’s Designee) may operate the Gas Wells under the Permits held in the
applicable Seller’s name. Buyer (or Buyer’s Designee) will operate the Gas Wells in compliance,
in all material respects, with applicable Legal Requirements and the applicable Permits. The
Sellers shall use commercially reasonable efforts to maintain the Gas Well Permits prior to
transfer thereof to Buyer. Notwithstanding anything to the contrary contained herein, Buyer shall
reimburse, indemnify and hold harmless the Sellers and/or their respective Affiliates from any
and all Liabilities incurred by the Sellers and/or their respective Affiliates as a result of (A) any
action taken by the Sellers at Buyer’s or its Affiliates’ request pursuant to this Section 7.7(a)(v),
or (B) Buyer’s operations or other actions taken with respect to the Permits for the Alabama Gas
Wells after the Closing. If requested by Buyer (or required by the Alabama Oil and Gas Board),
Buyer and the Sellers will enter into a Transition Services Agreement to permit Buyer to operate
the Gas Wells until such time that the Permits for the Gas Wells are transferred to Buyer (or
Buyer’s Designee).

                             (vi)      The Sellers shall use commercially reasonable efforts (at
Buyer’s sole cost and expense from and after the Closing) to cause any surety bonds (or other
financial assurances) in place as of the Closing with respect to applicable Transferred Permits to
remain in place and to maintain current levels of surety bond coverage with respect to their
Permits that are not Transferred Permits until such time as the final approval for the transfer of
such applicable Transferred Permits to Buyer is received, in each case to the extent required
under applicable Legal Requirements. At all times from and after the Closing and prior to the
transfer to Buyer of the Alabama Mining Permits and any other Permits not acquired by Buyer
before the Closing Date (including the Permits relating to the Gas Wells in Alabama), Buyer


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shall, and shall cause its Subsidiaries to, at Buyer’s sole cost and expense comply with all of the
applicable Legal Requirements governing, and all conditions and requirements of, or pertaining
to, any such Permits. Buyer shall promptly deliver to the Sellers written notice of any incidents,
violations or occurrences, which the Sellers shall have the right, but not the obligation, to cure
(including right of entry onto the applicable Real Property), and Buyer shall promptly reimburse
the Sellers for the reasonable costs of any such cure. Notwithstanding anything to the contrary
contained herein, Buyer shall reimburse, indemnify and hold harmless the Sellers and/or their
Affiliates from any and all Liabilities incurred by the Sellers and/or their Affiliates as a result of
any action taken by the Sellers at Buyer’s or its Affiliates’ request pursuant to this
Section 7.7(a)(vi).

                            (vii)     Notwithstanding anything in this Agreement to the contrary,
from and after the Closing, Buyer shall, at its sole cost and expense, (x) until such time as Buyer
has posted replacement surety bonds or other required financial assurances, pay or reimburse the
Sellers (within five (5) Business Days of receipt of notice from the Sellers’ Representative,
which such notice shall contain the applicable surety bond numbers and corresponding premium
amounts, or other appropriate references as to other forms of financial assurance) for the cost of
any premiums that become due after the Closing Date with respect to such surety bonds or the
cost of other financial assurances, (y) post any addition to the principal amount of any such
surety bond or other financial assurance required by the Alabama Surface Mining Commission,
the Alabama Oil and Gas Board or any Governmental Authority after the Closing Date as a result
of any action taken by Buyer with respect to the Business and Acquired Assets in Alabama and
(z) Buyer shall reimburse the Sellers for all out-of-pocket costs and expenses incurred by the
Sellers in connection with any action taken by the Sellers at the request of Buyer.

                            (viii)   Until such time as the Alabama Mining Permits are
transferred to Buyer, Buyer shall, and shall cause its Subsidiaries to, take all reasonable and
necessary actions such that Buyer will not have been denied, or be made subject to denial of, any
application for any Permit or other Governmental Authorization due to application of the
Applicant Violator System established pursuant to the SMCRA or any similar applicable state
system.

                            (ix)     From and after the date hereof, Buyer shall not engage in
mining operations with respect to any of the Acquired Assets in Alabama that requires an
Alabama Mining License unless and until it obtains an Alabama Mining License. Buyer shall
reimburse, indemnify and hold harmless the Sellers and/or their respective Affiliates from any
and all Liabilities incurred by the Sellers and/or their respective Affiliates resulting from or
arising out of Buyer’s failure to obtain the Alabama Mining License as contemplated by this
Section 7.7(a) prior to conducting any mining operations following the Closing on the applicable
Real Property.

                       (b)     Business and Acquired Assets in West Virginia.
                           (i)      Promptly after the Execution Date and by no later than the
date required by Legal Requirements or the appropriate Governmental Authority:

                                  (1)    Buyer shall file an application with the West
       Virginia Surface Mine Board for a license to engage in coal mining operations in the


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      State of West Virginia (“West Virginia Mining License”), in a format and manner
      acceptable to the West Virginia Surface Mine Board, along with all applicable fees, and
      shall have obtained such West Virginia Mining License, and continue to hold the same,
      on and as of the Closing Date and thereafter until the transfer to Buyer of all of the West
      Virginia Mining Permits (as hereinafter defined) is completed;

                                     (2)   Buyer shall use commercially reasonable efforts to
      provide, not later than the Bid Deadline, evidence of appropriate financial commitments,
      in form, manner and amount acceptable to the Sellers and the West Virginia Surface
      Mine Board, for replacement surety bonds or other financial assurances necessary to
      allow the transfer of the West Virginia Mining Permits from the Sellers to Buyer, and in
      any event, Buyer shall provide such evidence at or before the Closing; and

                                    (3)      Buyer shall use commercially reasonable efforts to
      provide, no later than the Bid Deadline, evidence of appropriate financial commitments,
      in form, manner and amount acceptable to the Sellers and the West Virginia Department
      of Environmental Protection, for replacement surety bonds or other financial assurances
      necessary to allow the transfer of the Permits for the Gas Wells from the Sellers to Buyer,
      and in any event, Buyer shall provide such evidence at or before the Closing.

                        (ii)   As promptly as reasonably practicable after the Execution
Date and by no later than the date required by Legal Requirements or the appropriate
Governmental Authority:

                                     (1)    Buyer and the Sellers (if applicable) shall file an
      application for a transfer of all Transferred Permits to engage in mining operations at
      particular locations in the State of West Virginia with the West Virginia Surface Mine
      Board (the “West Virginia Mining Permits”), in a format and manner acceptable to the
      West Virginia Surface Mine Board, along with all applicable fees and shall publish notice
      of such applications in accordance with the applicable Legal Requirements;

                                  (2)    Buyer and the Sellers (if applicable) shall file with
      the West Virginia Department of Environmental Protection an application for a transfer
      of Transferred Permits issued to the Sellers by the West Virginia Department of
      Environmental Protection, in a format and manner acceptable to the West Virginia
      Department of Environmental Protection, along with all applicable fees;

                                   (3)     Buyer and the Sellers (if applicable) shall file with
      the Montgomery County Department of Health an application for a transfer of any
      Transferred Permits relating to the emission of pollutants into the air, in a format and
      manner acceptable to the Montgomery County Department of Health, along with all
      applicable fees;

                                   (4)     Buyer and the Sellers (if applicable) shall file with
      the West Virginia Department of Environmental Protection an application for a transfer
      of any Transferred Permits relating to the emission of pollutants into the air, in a format




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       and manner acceptable to the West Virginia Department of Environmental Protection,
       along with all applicable fees;

                                      (5)     Buyer and the Sellers (if applicable) shall file with
       the West Virginia Department of Environmental Protection of West Virginia written
       notification of the execution of this Agreement for Buyer to become the new operator for
       any applicable well or wells, and all associated facilities and equipment, in a format and
       manner acceptable to the West Virginia Department of Environmental Protection, along
       with all applicable fees;

                                    (6)    Buyer and the Sellers (if applicable) shall file with
       the Federal Explosives Licensing Center an application for each applicable Federal
       Explosives license or Permits, in a format and manner acceptable to the Federal
       Explosives Licensing Center, along with all applicable fees; and

                                     (7)     The Sellers, on the one hand, and Buyer, on the
       other hand, shall use commercially reasonable efforts to properly file all documents or
       applications required to transfer, to amend, or to acquire all other Transferred Permits
       necessary for the operation and conduct of the Business or Acquired Assets in West
       Virginia, and Buyer and the Sellers shall reasonably cooperate in all actions necessary to
       seek and obtain approval for the transfer thereof.

                              (iii)    Buyer and the Sellers shall, and shall cause their
Subsidiaries to, (A) take all actions and do, or cause to be done, all things necessary or desirable
under the applicable Legal Requirements with the appropriate Governmental Authority to put in
place, to transfer, to amend, or to acquire all Transferred Permits that are necessary for the
operation and conduct of the Business or Acquired Assets in West Virginia by or on the Closing
Date, unless the applicable Legal Requirements regarding such a Permit require certain actions to
be taken upon or after the Closing, and, in that event, Buyer, at Buyer’s sole cost and expense
from and after the Closing, shall take, or cause its Subsidiaries to take, all actions and do, or
cause to be done, all things necessary or desirable under the applicable Legal Requirements with
the appropriate Governmental Authority which can only be taken or done after the Closing to put
in place, to transfer, to amend, or to acquire such remaining Permits as promptly as reasonably
practicable after the Closing; and (B) take all actions and do, or cause to be done, all things
necessary or desirable under the applicable Legal Requirements to put in place with the West
Virginia Surface Mine Board as promptly as commercially reasonably possible after the Closing,
financial assurances necessary to transfer the West Virginia Mining Permits from the Sellers and
to Buyer and to obtain the release to the Sellers of the financial assurances previously placed by
the Sellers with respect thereto. The Sellers agree to provide, at Buyer’s sole cost and expense
from and after the Closing, any reasonable cooperation as reasonably requested by Buyer to
bring about the transfer of the West Virginia Mining Permits or the issuance of new such permits
to Buyer, as applicable. From and after the Closing, Buyer shall use commercially reasonable
efforts to pursue the transfer of the West Virginia Mining Permits or issuances of new West
Virginia Mining Permits to Buyer as promptly as possible, and Buyer shall operate under the
West Virginia Mining Permits as the designated operator and contract miner until the West
Virginia Mining Permits are transferred or new Permits are issued to Buyer, which contract
mining operation shall be pursuant to the terms of a contract mining agreement in form mutually


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agreeable to Buyer and the Sellers and executed and delivered by the Parties at the Closing (the
“West Virginia Contract Mining Agreement”). To the fullest extent allowed by and in
accordance with the applicable Legal Requirements, the Sellers grant Buyer the right to conduct,
at the sole cost and expense of Buyer, mining operations following the Closing on the Real
Property under the West Virginia Mining Permits, pursuant to and on the terms and conditions of
the West Virginia Contract Mining Agreement, as the designated operator until such time as the
West Virginia Mining Permits are transferred to, or new Permits are issued to, Buyer. The Sellers
shall take all steps that are reasonably necessary to maintain the West Virginia Mining Permits
prior to transfer thereof to Buyer and shall have (and Buyer grants) all rights of entry onto the
Real Property that are reasonably necessary therefor. Notwithstanding anything to the contrary
contained herein, Buyer shall reimburse, indemnify and hold harmless the Sellers and/or their
Affiliates from any and all Liabilities incurred by the Sellers and/or their Affiliates as a result of
any action taken by the Sellers at Buyer’s or its Affiliates’ request pursuant to this
Section 7.7(b)(iii).

                              (iv)      As promptly as practicable after the Closing (or such earlier
time as may be permitted by the West Virginia Department of Environmental Protection), Buyer
shall execute and deliver to the West Virginia Department of Environmental Protection one or
more applications to change operator and such other forms that may be necessary or required by
the West Virginia Department of Environmental Protection to change the operator of the Gas
Wells to Buyer or Buyer Designee, and Buyer shall post replacement surety bonds or other
financial assurances necessary to allow the transfer of the applicable Permits for the Gas Wells
from the Sellers to Buyer or Buyer Designee. If required by the West Virginia Department of
Environmental Protection, the Sellers shall leave in place any bonds or other financial assurances
in connection with the applicable Permits for the Gas Wells, subject to the provisions of
Section 7.7(b)(vi) below, until the transfer of the applicable Permits for the Gas Wells from the
Sellers to Buyer or Buyer Designee. Notwithstanding anything to the contrary contained herein,
Buyer shall reimburse, indemnify and hold harmless the Sellers and/or their Affiliates from any
and all Liabilities incurred by the Sellers and/or their Affiliates as a result of any action taken by
the Sellers at Buyer’s or its Affiliates’ request pursuant to this Section 7.7(b)(iv).

                             (v)       The Sellers shall use commercially reasonable efforts (at
Buyer’s sole cost and expense from and after the Closing) to cause any surety bonds (or other
financial assurances) in place as of the Closing with respect to applicable Transferred Permits to
remain in place and to maintain current levels of surety bond coverage with respect to their
Permits that are not Transferred Permits until such time as the final approval for the transfer of
such applicable Transferred Permits to Buyer is received, in each case to the extent required by
applicable Legal Requirements. At all times from and after the Closing and prior to the transfer
to Buyer of the West Virginia Mining Permits and any other Permits not acquired by Buyer
before the Closing Date (including the Permits relating to the Gas Wells in West Virginia),
Buyer shall, and shall cause its Subsidiaries to, at Buyer’s sole cost and expense comply with all
of the applicable Legal Requirements governing, and all conditions and requirements of, or
pertaining to, any such Permits. Buyer shall promptly deliver to the Sellers written notice of any
incidents, violations or occurrences, which the Sellers shall have the right, but not the obligation,
to cure (including right of entry onto the applicable Real Property), and Buyer shall promptly
reimburse the Sellers for the reasonable costs of any such cure. Notwithstanding anything to the
contrary contained herein, Buyer shall reimburse, indemnify and hold harmless the Sellers and/or


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their Affiliates from any and all Liabilities incurred by the Sellers and/or their Affiliates as a
result of any action taken by the Sellers at Buyer’s or its Affiliates’ request pursuant to this
Section 7.7(b)(v).

                             (vi)     Notwithstanding anything in this Agreement to the contrary,
from and after the Closing, Buyer shall, at its sole cost and expense, (x) until such time as Buyer
has posted replacement surety bonds or other required financial assurances, pay or reimburse the
Sellers (within five (5) Business Days of receipt of notice from the Sellers’ Representative,
which such notice shall contain the applicable surety bond numbers and corresponding premium
amounts, or other appropriate references as to other forms of financial assurance) for the cost of
any premiums that become due after the Closing Date with respect to such surety bonds or the
cost of other financial assurances, and (y) post any addition to the principal amount of any such
surety bond or other financial assurance required by the West Virginia Surface Mine Board, the
West Virginia Department of Environmental Protection or any Governmental Authority after the
Closing Date as a result of any action taken by Buyer with respect to the Business and Acquired
Assets in West Virginia. Until such time as the West Virginia Mining Permits are transferred to
Buyer, Buyer shall, and shall cause its Subsidiaries to, take all reasonable and necessary actions
such that Buyer will not have been denied, or be made subject to denial of, any application for
any Permit or other Governmental Authorization due to application of the Applicant Violator
System established pursuant to the SMCRA or any similar applicable state system.

                             (vii)     From and after the date hereof, Buyer shall not engage in
mining operations with respect to any of the Acquired Assets in West Virginia that requires a
West Virginia Mining License unless and until it obtains a West Virginia Mining License. Buyer
shall reimburse, indemnify and hold harmless the Sellers and/or their respective Affiliates from
any and all Liabilities incurred by the Sellers and/or their respective Affiliates resulting from or
arising out of Buyer’s failure to obtain the West Virginia Mining License as contemplated by this
Section 7.7(a) prior to conducting any mining operations following the Closing on the applicable
Real Property.

                       (c)    All fees, bonds or financial assurances required to be paid or
provided in connection with the actions to be taken under this Section 7.7 shall be paid or
provided by Buyer. Notwithstanding the foregoing, or anything to the contrary herein, Buyer
shall not be required to pay any such fees, bonds or financial assurances incurred by the Sellers
in excess of $10,000 unless approved by Buyer in advance.

                7.8     Fiduciary Obligations. Nothing in this Agreement, or any document
related to the transactions contemplated hereby, will require any Seller or any of their respective
governing bodies, directors, officers or members, in each case, in their capacity as such, to take
any action, or to refrain from taking any action, to the extent inconsistent with their fiduciary
obligations.
                7.9     Sale Free and Clear. The Sellers acknowledge and agree, and the Sale
Order shall provide that, on the Closing Date and concurrently with the Closing, all then existing
or thereafter arising obligations, Liabilities and Encumbrances (including, for the avoidance of
doubt, all successor liability, including, any successorship obligations under any Collective
Bargaining Agreement, and/or with respect to any Benefit Plan) of, against or created by the
Sellers or their bankruptcy estate, shall be fully released from and with respect to the Acquired


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Assets. On the Closing Date, the Acquired Assets shall be transferred to Buyer and/or one or
more Buyer Designees, as applicable, free and clear of all obligations, Liabilities and
Encumbrances (including, for the avoidance of doubt, all successor liability, including any
successorship obligations under any Collective Bargaining Agreement, and/or with respect to
any Benefit Plan), other than the Permitted Encumbrances and the Assumed Liabilities.
               7.10   Determination of Amounts for Certain Escrows and Escrow Amounts.
                      (a)    No later than fourteen (14) days prior to the Hearing, the Sellers
shall deliver to Buyer (the “Escrow Proposal”) (i) a proposed Wind-Down Budget and (ii) its
calculation of the amounts necessary to fund the costs and expenses described in the definitions
of Wind-Down Escrow Amount, the Payroll Escrow Account and the Estate Retained
Professional Fees Escrow Amount in full.

                     (b)    Following receipt of the Escrow Proposal, the Sellers and the
Buyer shall negotiate in good faith regarding the Wind-Down Escrow Amount, the Payroll
Escrow Amount and the Estate Retained Professional Fees Escrow Amount.

                      (c)    The Sellers and Buyer shall cooperate in good faith to negotiate
with any potential escrow agent on the terms of any escrow agreement contemplated by this
Agreement. The fees and expenses arising out the administration of any resulting escrow
arrangements shall be borne solely by such accounts.

                       (d)     The Wind-Down Escrow Account shall be used solely to fund (i)
fees and expenses associated with the administration of the Wind-Down Escrow Account, (ii) the
payment of allowed priority and administrative expense claims, and (iii) the estimated costs to
wind-down the Bankruptcy Cases in accordance with the Wind-Down Budget. Any funds
remaining in the Wind-Down Escrow Account after payment of the expenses described in this
Section 7.10(d) shall be transferred to Buyer.

                       (e)    The Payroll Escrow Account shall be used solely to fund (i) fees
and expenses associated with the administration of the Payroll Escrow Account, (ii) payment of
amounts referenced in the definition of “Payroll Escrow Amount” and (iii) Accrued Payroll to
the extent not assumed by Buyer or paid at Closing, and payroll taxes related thereto. Any funds
remaining in the Payroll Escrow Account after payment of the expenses described in this Section
7.10(e) shall be transferred to Buyer promptly, and in any event, not later than the sixty (60)
calendar days after the Closing Date.

                        (f)    The Estate Retained Professional Fees Escrow Account shall be
used solely to fund (i) fees and expenses associated with the administration of the Estate
Retained Professional Fees Escrow Account, (ii) Estate Retained Professional Fee Claims and
(iii) the fees and expenses of the Bankruptcy Administrator (as defined in the Final DIP Order),
in the case of clauses (ii) and (iii), that are estimated as of the Closing Date. Any funds
remaining in the Estate Retained Professional Fees Escrow Account after payment of the
expenses described in this Section 7.10(f) shall be transferred to Buyer promptly, and in any
event, not later than the twenty (20) calendar days after the Bankruptcy Court shall have issued a
Final Order in respect of the last remaining Professional fee application.




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                                         ARTICLE 8
                                   ADDITIONAL AGREEMENTS
               8.1     Taxes.
                         (a)    Any transfer, real estate property transfer, documentary, sales, use,
stamp, registration, value added, and other such taxes and fees (including any penalties and
interest) incurred in connection with the transactions contemplated hereby and not exempted by
Section 1146(c) of the Bankruptcy Code (“Transfer Taxes”) shall be borne by Buyer. The Sellers
and Buyer shall cooperate to (i) mitigate and/or eliminate the amount of Transfer Taxes resulting
from the transactions contemplated herein and (ii) timely prepare and file any Tax Returns
relating to such Transfer Taxes, including any claim for exemption or exclusion from the
application or imposition of any Transfer Taxes. Buyer shall be responsible for preparing and
filing all necessary Tax Returns or other documents with respect to Transfer Taxes; provided,
however, that in the event any such Tax Return requires execution by the other Party, the Party
responsible for preparing the Tax Return shall deliver it to the other Party not less than ten (10)
days before the due date thereof, and the other Party shall promptly execute such Tax Return and
return it to the Party responsible for filing it.
                        (b)     All Liability for any ad valorem Taxes (including, for the
avoidance of doubt, real or personal property Taxes) and unmined mineral Taxes (the
“Apportioned Taxes”) with respect to the Acquired Assets for a Tax period or year, or portion
thereof, that ends on or before the Closing Date (a “Pre-Closing Tax Period”) shall be borne by
the Sellers. All Liability for any Apportioned Taxes with respect to the Acquired Assets for a
Tax period or year, or portion thereof, that begins after the Closing Date (a “Post-Closing Tax
Period”) shall be borne by Buyer. The total amount of Apportioned Taxes allocable to the Pre-
Closing Tax Period of any Tax period or year commencing on or before, and ending after, the
Closing Date (a “Straddle Period”) shall be the product of (i) such Tax for the entirety of such
Straddle Period, multiplied by (ii) a fraction, the numerator of which is the number of days for
such Straddle Period included in the Pre-Closing Tax Period and the denominator of which is the
total number of days in such Straddle Period, and the balance of Apportioned Taxes shall be
allocable to the Post-Closing Tax Period. At the Closing, Apportioned Taxes with respect to each
Acquired Asset for the applicable Straddle Period shall be prorated in accordance with the
foregoing provisions based on the Tax assessment for such Acquired Asset for such Straddle
Period, if available, or if otherwise, based on the Apportioned Taxes paid with respect to such
Acquired Asset during the preceding Tax year. With respect to any not yet delinquent
Apportioned Taxes relating to a Straddle Period or Pre-Closing Tax Period, Buyer will assume
responsibility for the actual payment of all such Taxes to the applicable Governmental Authority.
With respect to any Apportioned Taxes relating to a Straddle Period or Pre-Closing Tax Period
that are delinquent as of the Closing Date, the amount of which is known and not subject to
dispute, Buyer shall either pay the delinquent amount of such Taxes directly to the applicable
Governmental Authority at the Closing or, at Buyer’s option, to such title company as designated
by Buyer at the Closing, for further payment by it to the applicable Governmental Authority. In
the event that Buyer or any Seller makes any payment of Apportioned Taxes for which it is
entitled to reimbursement under this Section 8.1(b), the applicable party shall make such
reimbursement no later than 10 days after the presentation of a statement setting forth the amount
of the reimbursement to which the party presenting the statement is entitled along with such
supporting evidence as is reasonably necessary to calculate the reimbursement amount. Any


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amounts which may become payable from any Seller to Buyer pursuant to Section 8.1 shall
constitute a super priority administrative expense of the Sellers under Section 364(c)(1) of the
Bankruptcy Code with priority over any and all administrative expenses of the kind specified in
Sections 503(b) or 507(b) of the Bankruptcy Code.
                       (c)     Buyer and the Sellers agree to furnish or cause to be furnished to
each other, upon request, as promptly as practicable, such information and assistance relating to
the Business and the Acquired Assets (including access to books and records and Tax Returns
and related working papers dated before the Closing) as is reasonably necessary for the filing of
all Tax Returns, the making of any election relating to Taxes, the preparation for any audit by
any Taxing Authority, the prosecution or defense of any claims, suit or proceeding relating to
any Tax, and the claiming by Buyer of any federal, state or local business tax credits or
incentives that Buyer may qualify for in any of the jurisdictions in which any of the Acquired
Assets are located; provided, however, that neither Buyer nor any Seller shall be required to
disclose the contents of its income Tax Returns to any Person other than the Parties. Any
expenses incurred in furnishing such information or assistance pursuant to this Section 8.1(c)
shall be borne by the Party requesting it.
                      (d)    Any Tax Refund of the Sellers (as described in Section 2.1(x)) that
is attributable to Buyer’s payment of Apportioned Taxes pursuant to Section 8.1(b) shall be
promptly paid to Buyer.
               8.2    Bulk Sales.
              The Sale Order shall provide either that (i) the Sellers have complied with the
requirements of any Legal Requirement relating to bulk sales and transfer or (ii) compliance with
the Legal Requirements relating to bulk sales and transfers is not necessary or appropriate under
the circumstances.

               8.3    Payments Received.
                The Sellers, on the one hand, and Buyer, on the other hand, each agree that, after
the Closing, each will hold and will promptly transfer and deliver to the other, from time to time
as and when received by them, any cash, checks with appropriate endorsements (using
commercially reasonable efforts not to convert such checks into cash) or other property that they
may receive on or after the Closing which belongs to the other and will account to the other for
all such receipts.




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               8.4    Assumed Contracts: Adequate Assurance and Performance. Buyer shall,
and shall cause its Affiliates to, use commercially reasonable efforts to provide adequate
assurance of the future performance by Buyer of each Assumed Contract as required under
Section 365 of the Bankruptcy Code. Buyer and the Sellers agree that they will promptly take all
actions reasonably required to assist in obtaining a Bankruptcy Court finding that there has been
an adequate demonstration of adequate assurance of future performance under the Assumed
Contracts pursuant to Section 365 of the Bankruptcy Code, such as furnishing timely requested
and factually accurate affidavits, non-confidential financial information and other documents or
information for filing with the Bankruptcy Court and making Buyer’s and the Sellers’
Representatives available to testify before the Bankruptcy Court.
               8.5    Employee Matters.
                       (a)     Employees. Prior to the Closing Date, Buyer shall set initial terms
and conditions of employment, including wages, benefits, job duties and responsibilities and
work assignment. Buyer shall determine which Employees, if any, to offer employment to, in its
sole discretion. Only Employees who are offered and accept such offers of employment with
Buyer based on the initial terms and conditions set by Buyer and further then actually commence
employment with Buyer will become “Buyer Employees” after the Closing. The Sellers shall
terminate, or shall cause to be terminated, on or prior to the Closing Date, the employment of all
Employees who are offered and accept offers of employment with Buyer pursuant to this Section
8.5(a). Notwithstanding the foregoing, nothing herein will, after the Closing Date, impose on
Buyer any obligation to retain any Buyer Employee in its employment for any amount of time or
on any terms and conditions of employment. Except as described in the remaining sentences of
this Section 8.5, the employment of each such Buyer Employee with Buyer will commence
immediately after the Closing Date. In the case of any individual who is offered employment by
Buyer and accepts such offer, but who is absent from active employment and receiving short-
term disability or workers’ compensation benefits, the employment of any such individual with
Buyer would commence upon his or her return to active work, and such individual would
become a Buyer Employee as of such date. Except as otherwise required by Legal Requirement,
specified in this Agreement, or otherwise agreed in writing by Buyer, Buyer shall not be
obligated to provide any severance, separation pay, or other payments, rights or benefits,
including any key employee retention payments, to any Employee on account of any termination
of such Employee’s employment before the Closing, and such payments, rights and/or benefits
(if any) shall remain obligations of the Sellers.
                        (b)    Access to Information. After the Execution Date, the Sellers shall
provide Buyer and its Affiliates with reasonable access to the Employees and with information,
including employee records and Benefit Plan data, reasonably requested by Buyer and such
Affiliates, except as otherwise prohibited by Legal Requirements.
                       (c)     Payroll Taxes. For purposes of payroll taxes with respect to Buyer
Employees, the Sellers shall treat the transactions contemplated hereby, as a transaction
described in Treasury Regulation Sections 31.3121(a)(1)-1(b)(2) and 31.3306(b)(1)-(b)(2) (i.e.,
Buyer shall be treated as a successor for payroll tax purposes); and as such, the Sellers and Buyer
shall report on a predecessor/successor basis as set forth under the “Standard Procedure”
provided in Section 4 of Revenue Procedure 2004-53, 2004-2 C.B. 320.




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                       (d)    No Third Party Beneficiaries; Employment Status. All provisions
contained in this Agreement with respect to employee benefit plans or compensation of Buyer
Employees are included for the sole benefit of the respective Parties. Nothing contained herein
(i) shall confer upon any former, current or future employee of the Sellers or Buyer or any legal
representative or beneficiary thereof any rights or remedies, including any right to employment
or continued employment, of any nature, for any specified period, (ii) shall cause the
employment status of any former, present or future Employee to be other than terminable at will
or (iii) shall confer any third party beneficiary rights upon any Buyer Employee or any
dependent or beneficiary thereof or any heirs or assigns thereof.
                      (e)     WARN Act. With respect to Buyer Employees, Buyer will have
full responsibility under the WARN Act relating to any act or omission of Buyer after the
Closing Date. With respect to the Employees, the Sellers will have full responsibility under the
WARN Act relating to any act or omission on or prior to the Closing Date, including
responsibility for any WARN Act Liabilities that result from Employees’ separation of
employment from the Sellers and/or Employees not becoming Buyer Employees pursuant to this
Section 8.5. Unless otherwise agreed to by the Sellers and Buyer, the Sellers agree to issue all
WARN Acts notices, in a form acceptable to Buyer, no later than sixty (60) days prior to the
Closing Date, to the Employees and all other parties required to receive notice under the WARN
Acts.
                      (f)    Collective Bargaining Agreements. Buyer does not accept or
assume any Collective Bargaining Agreements to which any Seller is a party to or subject to, and
expressly declines to be bound by or accept the terms of any such Collective Bargaining
Agreements. Buyer is not and shall not be obligated to, and does not, accept or adopt any wage
rates, employee benefits, employee policies, or any other terms and conditions of employment.
               8.6     Post-Closing Books and Records and Personnel.
               From and after the Closing Date for a period of one (1) year, each party shall
provide the other Parties (and their respective Representatives) with access, at reasonable times
and in a manner so as not to unreasonably interfere with their normal business, to the assets,
books, records, systems and other property and any employees of the other Parties so as to enable
Buyer and the Sellers to prepare Tax, financial or court filings or reports, to respond to court
orders, subpoenas or inquiries, investigations, audits or other proceedings of Governmental
Authorities, to prosecute and defend legal Actions or for other like purposes, including Claims,
objections and resolutions, and to enable the Sellers to wind down the Business. During such one
(1) year period, each Party (and their respective Representatives) shall be permitted to make
copies of any books and records described in this Section 8.6, subject to the confidentiality
requirements set forth in Sections 7.1 and 12.2. If any Party desires to dispose of any such books
and records, such Party shall, thirty (30) days prior to such disposal, provide the other Party with
a reasonable opportunity to remove or copy such records to be disposed of at the removing
Party’s expense. Buyer shall retain such books and records for a period of six (6) years following
the Closing.

               8.7     Casualty Loss.
                Notwithstanding any provision in this Agreement to the contrary, if, before the
Closing, all or any portion of the Acquired Assets is condemned or taken by eminent domain, or



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is damaged or destroyed by fire, flood or other casualty, the Sellers shall notify Buyer promptly
in writing of such fact, and (a) in the case of condemnation or taking, the Sellers shall assign or
pay, as the case may be, any proceeds thereof to Buyer at the Closing, and (b) in the case of fire,
flood or other casualty, the Sellers shall assign the insurance proceeds therefrom to Buyer at the
Closing. Notwithstanding the foregoing, the provisions of this Section 8.7 shall not in any way
modify Buyer’s other rights under this Agreement, including any applicable right to terminate
the Agreement if any condemnation, taking, damage or other destruction resulted in a Material
Adverse Effect.

               8.8     Change of Name.
                Promptly following the Closing, each Seller shall, and shall cause its direct and
indirect Subsidiaries to, discontinue the use of its current name (and any other trade names or
“d/b/a” names currently utilized by each Seller or its direct or indirect Subsidiaries) and shall not
subsequently change its name to or otherwise use or employ any name which includes the words
“Seneca,” “Seminole,” “Maple Eagle” and/or “Oak Grove” without the prior written consent of
Buyer, and each Seller shall cause the names of the Sellers in the caption of the Bankruptcy
Cases to be changed to the new names of each Seller as provided in the last sentence of this
Section 8.8; provided, however, that each Seller and each of its direct and indirect Subsidiaries
may use its current name (and any other trade name or “d/b/a” names currently utilized by each
Seller or its direct or indirect Subsidiaries) included on any business cards, stationery and other
similar materials following the Closing for a period of up to one hundred eighty (180) days
solely for purposes of winding down the affairs of each Seller and the Pinnacle Business,
provided that when utilizing such materials, other than in incidental respects, each Seller and
each of its direct and indirect Subsidiaries shall use commercially reasonable efforts to indicate
its new name and reference its current name (and any other trade names or “d/b/a” names
currently utilized by each Seller or its direct Subsidiaries) as “formally known as” or similar
designation. From and after the Closing, except as otherwise set forth in this Agreement
(including this Section 8.8), each Seller covenants and agrees not to use or otherwise employ any
of the trade names, corporate names, “d/b/a” names or any mark that is confusingly similar to the
Intellectual Property rights utilized by the Sellers and the Sellers’ Subsidiaries in the conduct of
the Business or any Acquired Asset, which rights shall be included in the Acquired Assets
purchased hereunder. Immediately following the Closing, the Sellers shall file, and shall cause
their respective direct and indirect Subsidiaries to file, all necessary organizational amendments
with the applicable Secretary of State of each such entity’s jurisdiction of formation and in each
State in which each such Seller is qualified to do business and with the Bankruptcy Court to
effectuate the foregoing.

               8.9     No Successor Liability.
               The Parties intend that, except as included in the Assumed Liabilities, upon the
Closing, Buyer shall not be deemed to: (a) be the successor of or successor employer (as
described under any applicable Legal Requirement) to the Sellers, including, with respect to any
Collective Bargaining Agreements and any Benefit Plans, under the Coal Act, and any common
law successor liability in relation to the UMWA 1974 Pension Plan, including with respect to
withdrawal liability, (b) have, de facto, or otherwise, merged with or into the Sellers, (c) be a
mere continuation or substantial continuation of the Sellers or the enterprise(s) of the Sellers, or
(d) be liable for any acts or omissions of the Sellers in the conduct of the Business or arising


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under or related to the Acquired Assets other than as set forth in this Agreement. Without
limiting the generality of the foregoing, and except as otherwise provided in this Agreement, the
Parties intend that Buyer shall not be liable for any Encumbrances (other than Assumed
Liabilities and Permitted Encumbrances) against any Seller or any of its predecessors or
Affiliates, and Buyer shall have no successor or vicarious liability of any kind or character
whether known or unknown as of the Closing Date, or whether fixed or contingent, whether now
existing or hereafter arising, with respect to the Business, the Acquired Assets or any Liabilities
of the Sellers arising prior to the Closing Date. The Parties agree that the provisions substantially
in the form of this Section 8.9 shall be reflected in the Sale Order.
                                           ARTICLE 9

                CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER TO CLOSE
              The obligations of Buyer to consummate the transactions contemplated by this
Agreement are subject to fulfillment, at or prior to the Closing, of each of the following
conditions, any one or more of which may be waived by Buyer, in its sole and absolute
discretion:

               9.1     Accuracy of Representations.
                 The representations and warranties of the Sellers set forth in this Agreement shall
be true and correct in all material respects (except that (i) Section 5.20(a) and (ii) those
representations and warranties which are qualified as Material Adverse Effect shall be true and
correct in all respects) as of the Closing Date with the same effect as though such representations
and warranties had been made on and as of the Closing Date (provided that representations and
warranties which are confined to a specified date shall speak only as of such date); provided,
however, that in the event of a breach of a representation or warranty other than a representation
or warranty qualified by Material Adverse Effect, the condition set forth in this Section 9.1 shall
be deemed satisfied unless the effect of all such breaches of representations and warranties taken
together results in a Material Adverse Effect. Buyer shall have received a certificate of the
Sellers to such effect signed by a duly authorized officer of each Seller.

               9.2     Sellers’ Performance.
               The covenants and agreements that the Sellers are required to perform or to
comply with pursuant to this Agreement at or prior to the Closing shall have been performed and
complied with in all material respects and Buyer shall have received a certificate of the Sellers to
such effect signed by a duly authorized officer of each Seller.

               9.3     No Order.
               No Governmental Authority shall have enacted, issued, promulgated, decreed or
entered any Final Order from and after the Execution Date, which is in effect and has the effect
of prohibiting (or delaying beyond the Outside Date) the consummation of or imposing material
modifications on the transactions contemplated hereby.




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                9.4     Governmental Authorizations.
                       (a)    To the extent that the HSR Act is applicable, any waiting period
(and any extension thereof) under the HSR Act and the antitrust legislation of any other relevant
jurisdiction applicable to the purchase of the Acquired Assets or the Business contemplated
hereby shall have expired or shall have been terminated.
                      (b)     Subject to Section 2.5, all of the Closing Required Permits shall (i)
have been transferred to, or obtained by, Buyer or (ii) with respect to any Transferred Permits
that have not been transferred at or prior to the Closing, Buyer shall have the right to conduct,
pursuant to Section 7.7, mining operations following the Closing on the applicable Real Property.
                9.5     Sellers’ Deliveries.
               Each of the deliveries required to be made to Buyer pursuant to Section 4.3(a)-(g)
shall have been so delivered.

                9.6     Sale Order.
               The Bankruptcy Court shall have entered the Sale Order in form and substance,
including with respect to all findings of fact and conclusions of law, acceptable to the Sellers and
Buyer, and the Sale Order shall have become a Final Order.

                9.7     Assumed Contracts.
              The Bankruptcy Court shall have approved and authorized, other than with
respect to Cure Costs, the assumption and assignment of each Assumed Contract, except as
would not have a material effect on the Business from and after the Closing.

                9.8     Material Adverse Effect.
                Since the Execution Date, no Material Adverse Effect shall have occurred.

                9.9     UMWA.
             (a) The UMWA shall have agreed to waive or remove the successor clause in the
UMWA Collective Bargaining Agreements, or (b) the Bankruptcy Court shall have granted a
motion acceptable to Buyer filed by the applicable Seller pursuant to Section 1113(c) of the
Bankruptcy Code authorizing the applicable Seller to reject the UMWA Collective Bargaining
Agreements.

                9.10    Escrow Amounts.
               No later than five (5) Business Days prior to the Hearing, the Sellers and Buyer
shall have agreed to the amounts of the Estate Retained Professional Fees Escrow Amount, the
Payroll Escrow Amount and the Wind Down Escrow Amount.

                9.11    [Frustration of Conditions.
                Notwithstanding anything to the contrary herein, Buyer may not rely on the
failure of any condition set forth in this Article 9 to be satisfied to excuse it from its obligation to




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effect the transactions contemplated hereby if such failure was caused by Buyer’s breach of its
obligations under this Agreement.]6

                                                 ARTICLE 10

           CONDITIONS PRECEDENT TO THE OBLIGATIONS OF THE SELLERS TO CLOSE

               The obligations of the Sellers to consummate the transactions contemplated by
this Agreement are subject to fulfillment, at or prior to the Closing, of each of the following
conditions, any one or more of which may be waived by the Sellers, in their sole and absolute
discretion:

                 10.1     Accuracy of Representations.
                The representations and warranties of Buyer set forth in Article 6 of this
Agreement shall be true and correct in all material respects (except that those representations and
warranties which are qualified as to Material Adverse Effect shall be true and correct in all
respects) as of the Closing Date with the same effect as though such representations and
warranties had been made on and as of the Closing Date (provided that representations and
warranties which are confined to a specified date shall speak only as of such date); provided,
however, that in the event of a breach of a representation or warranty, the condition set forth in
this Section 10.1 shall be deemed satisfied unless the effect of all such breaches of
representations and warranties taken together results in a material adverse effect on the ability of
Buyer to consummate the transactions contemplated hereby. The Sellers shall have received a
certificate of Buyer to such effect signed by a duly authorized officer of Buyer.

                 10.2     Buyer’s Performance.
                The covenants and agreements that Buyer is required to perform or to comply
with pursuant to this Agreement at or prior to the Closing shall have been performed and
complied with in all material respects, and the Sellers shall have received a certificate of Buyer
to such effect signed by a duly authorized officer of Buyer.

                 10.3     No Order.
               No Governmental Authority shall have enacted, issued, promulgated, decreed, or
entered any Final Order from and after the Execution Date, which is in effect and has the effect
of prohibiting (or delaying beyond the Outside Date) the consummation of the transactions
contemplated hereby.

                 10.4     Governmental Authorizations.
               To the extent that the HSR Act is applicable, any waiting period (and any
extension thereof) under the HSR Act and the antitrust legislation of any other relevant
jurisdiction applicable to the purchase of the Acquired Assets or the Business contemplated
hereby shall have expired or shall have been terminated.

6
    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is to remove this provision.



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                 10.5     Sale Order.
               The Bankruptcy Court shall have entered the Sale Order in form and substance,
including with respect to all findings of fact and conclusions of law, acceptable to the Sellers and
Buyer, and the Sale Order shall have become a Final Order.

                 10.6     Buyer’s Deliveries.
                Each of the deliveries required to be made to the Sellers pursuant to Section
4.2(a)-(h) shall have been so delivered.
                 10.7     Escrow Amounts.
               No later than five (5) Business Days prior to the Hearing, the Sellers and Buyer
shall have agreed to the amounts of the Estate Retained Professional Fees Escrow Amount, the
Payroll Escrow Amount and the Wind Down Escrow Amount.
                 10.8     [Frustration of Conditions.
                Notwithstanding anything to the contrary herein, the Sellers may not rely on the
failure of any condition set forth in this Article 10 to be satisfied to excuse the Sellers from their
obligation to effect the transactions contemplated hereby if such failure was caused by the
Sellers’ breach of their obligations under this Agreement.]7


                                                 ARTICLE 11

                                                 TERMINATION

                 11.1     Termination Events.
               Notwithstanding anything to the contrary, this Agreement may be terminated at
any time prior to the Closing only as follows:
                          (a)      by mutual written consent of the Sellers and Buyer;
                          (b)      by written notice from either the Sellers or Buyer:
                             (i) if a Governmental Authority issues a final, non-appealable
ruling or Order permanently restraining, enjoining or otherwise prohibiting consummation of the
transactions contemplated hereby where such ruling or Order was not requested, encouraged or
supported by any of the Sellers or Buyer; provided, that the right to terminate this Agreement
under this Section 11.1(b)(i) shall not be available to any Party whose willful failure to fulfill any
obligation under this Agreement shall have been the cause of, or shall have resulted in, the
failure of the Closing to occur on or prior to the Outside Date;

                           (ii) if the Closing shall not have occurred on or prior to April 12,
2018 (the “Outside Date”); provided, that the terminating party under this Section 11.1(b)(ii) is
not (at such time of termination) in breach of any representation, warranty, covenant or other

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    NTD: Subject to further discussion, all rights of Buyer and Sellers are reserved. Above reflects Seller’s
    position; Buyer’s position is to remove this provision.



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agreement in this Agreement so as to cause any conditions to the Closing not to be satisfied and
shall not have been the proximate cause of the failure of the Closing to occur on or prior to the
Outside Date;

                            (iii) if at the end of the auction contemplated by the Bidding
Procedures, Buyer is not determined by the Sellers to be either the (A) Successful Bidder or (B)
Backup Bidder; provided, that in the event Buyer is determined to be the Backup Bidder with
respect to the Acquired Assets, then, this Agreement will terminate automatically without further
action by any Party upon the earlier to occur of (X) the closing of a Successful Bid and (Y) the
date that is sixty (60) days after the date of the sale hearing contemplated by the Bidding
Procedures;
                            (iv) if the Bankruptcy Court shall have entered an Order dismissing,
or converting into cases under chapter 7 of the Bankruptcy Code, any of the cases commenced
by the Sellers under chapter 11 of the Bankruptcy Code and comprising part of the Bankruptcy
Cases;
                          (v) upon the final, non-appealable ruling or denial of the
Governmental Authorizations described in Sections 9.4 and 10.4.
                        (c)    by written notice from Buyer:
                              (i)   upon the occurrence of any Termination Event (as defined in
the Final DIP Order);
                              (ii) the termination of the DIP Credit Agreement;
                              (iii) other than as contemplated by the Bidding Procedures Motion
or Bidding Procedures Order, if any Seller seeks to have the Bankruptcy Court enter an Order
dismissing, or converting into cases under chapter 7 of the Bankruptcy Code, any of the cases
commenced by the Sellers under chapter 11 of the Bankruptcy Code and comprising part of the
Bankruptcy Cases, or if a trustee in the Bankruptcy Cases or a responsible officer or an examiner
with enlarged powers is appointed (other than a fee examiner) relating to the operation of the
Sellers’ businesses pursuant to Section 1104 of the Bankruptcy Code, or such an order of
dismissal, conversion or appointment is entered and is not reversed or vacated within fourteen
(14) days after the entry thereof;
                             (iv) in the event of any breach of, or failure to perform, by any
Seller of any of their agreements, covenants, representations or warranties contained herein,
which breach or failure to perform (A) would result in the Sellers being unable to satisfy a
condition set forth in Article 9 by the then-applicable Outside Date and (B) cannot be cured
within ten (10) Business Days after Buyer notifies the Sellers of such breach in writing; provided,
that Buyer shall not have a right of termination pursuant to this Section 11.1(c)(iv) if it is then in
breach of any of its material agreements, covenants, representations or warranties contained
herein or in the Sale Order;
                              (v) if, for any reason, Buyer (other than as a result of its own
breach of this Agreement) is unable, pursuant to Section 363(k) of the Bankruptcy Code, to
credit bid in payment of all or any portion of the Purchase Price as set forth in Section 3.1 (other
than the Assumed Liabilities and the cash portion of the Purchase Price); provided, that the
inability to credit bid post-petition interest payable under Section 506(b) of the Bankruptcy Code


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or any other amount not in excess of $1,000,000 shall not give rise to a termination right under
this Section 11.1(c)(v); or
                             (vi) a Material Adverse Effect occurs and is continuing; or
                       (d)      by written notice from the Sellers in the event of any breach of, or
failure to perform, by Buyer of any of its agreements, covenants, representations or warranties
contained herein, which breach or failure to perform (A) would result in Buyer being unable to
satisfy a condition set forth in Section 10.1 or Section 10.3 by the then-applicable Outside Date
and (B) cannot be cured within ten (10) Business Days after such Seller notifies Buyer of such
breach in writing; provided, that the Sellers shall not have a right of termination pursuant to this
Section 11.1(d) if any Seller is then in breach of any of such Seller’s agreements, covenants,
representations or warranties contained herein or in the Sale Order.
        Each condition set forth in this Section 11.1, pursuant to which this Agreement may be
terminated shall be considered separate and distinct from each other such condition. If more than
one of the termination conditions set forth in this Section 11.1 are applicable, the applicable
party shall have the right to choose the termination condition pursuant to which this Agreement
is to be terminated.
               11.2    Effect of Termination.
                In the event of termination of this Agreement by Buyer or the Sellers pursuant to
this Article 11, this Agreement shall become null and void and have no effect and all rights and
obligations of the Parties under this Agreement shall terminate without any Liability of any Party
to any other Party except (i) nothing herein shall relieve any Party from Liability for any breach
of this Agreement occurring prior to such termination and (ii) the provisions of Section 7.1(a)
(Access and Reports; Confidentiality), Section 12.9 (Expenses), Section 12.10 (Governing Law;
Consent to Jurisdiction and Venue; Jury Trial Waiver) and this Section 11.2 (and, to the extent
applicable to the interpretation or enforcement of such provisions, Article 1 and Article 12), shall
expressly survive the termination of this Agreement.

                                          ARTICLE 12

                                      GENERAL PROVISIONS

               12.1    Survival.
                All covenants and agreements contained herein which by their terms are to be
performed in whole or in part, or which prohibit actions, subsequent to the Closing shall, solely
to the extent such covenants and agreements are to be performed, or prohibit actions, subsequent
to the Closing, survive the Closing in accordance with their terms until fully performed or
satisfied. All other covenants and agreements contained herein, and all representations and
warranties contained herein or in any certificated deliveries hereunder, shall not survive the
Closing and shall thereupon terminate, including any Actions for damages in respect of any
breach thereof.

               12.2    Confidentiality.
              Following the Closing, the Sellers agree not to disclose any confidential or non-
public information concerning the Acquired Assets or the business affairs of Buyer or the


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Assumed Liabilities (“Confidential Information”) except disclosure of Confidential Information
that (a) was or is lawfully obtained from a source that, to the knowledge of such Seller, was not
under an obligation of confidentiality to Buyer with respect to such information, (b) is
independently developed by such Seller without violating any of its obligations under this
Agreement, (c) is or becomes available to the public without any breach by the Sellers of the
terms of this Agreement, (d) is or may be necessary to wind down any of the Sellers’ estates, or
in connection with the enforcement of the rights of, or the defense of any Proceeding against or
involving, any Seller provided that the Confidential Information is afforded confidential
treatment, (e) relates to any Excluded Assets and/or Excluded Liabilities, (f) is or may be
necessary in connection with the Bankruptcy Cases provided that the Confidential Information is
afforded confidential treatment or (g) is disclosed to a bidder in connection with an Alternative
Transaction; provided, that the bidder in such Alternative Transaction agrees for the benefit of
Buyer to maintain the confidentiality of the Confidential Information. Notwithstanding the
foregoing, a Seller may disclose Confidential Information if such Seller believes (after
consultation with counsel) it is legally required to make such disclosure in order to comply with
applicable law, regulation, rule or legal, judicial or administrative process (including any rule,
regulation or policy statement of (i) any self-regulatory organization of which a party is a
member) or (ii) in connection with the Bankruptcy Cases. If a Seller or any of its Representatives
becomes required (including by deposition, interrogatory, request for documents, subpoena, civil
investigative demand or similar process) or it becomes necessary in connection with the
Bankruptcy Cases to disclose any of the Confidential Information, such Seller or Representative
shall use reasonable efforts to provide Buyer with prompt notice, to the extent allowed by law,
rule and regulation, of such requirement. Each Seller agrees to disclose only that portion of the
Confidential Information which it believes it is necessary or required to disclose and to use
commercially reasonable efforts to obtain confidential treatment of such Confidential
Information.

               12.3   Public Announcements.
                Except as required in the Bankruptcy Cases, prior to the Closing, unless otherwise
required by applicable Legal Requirement or by obligations of Buyer or the Sellers or their
respective Affiliates pursuant to any listing agreement with or rules of any securities exchange,
Buyer, on the one hand, and the Sellers, on the other hand, shall consult with each other before
issuing any press release or otherwise making any public statement with respect to this
Agreement, the transactions contemplated hereby or the activities and operations of the other and
shall not issue any such release or make any such statement without the prior written consent of
the other (such consent not to be unreasonably withheld, conditioned or delayed). From and after
the Closing, the Parties may make public statements with respect to this Agreement or the
transactions contemplated hereby so long as such announcements do not disclose the specific
terms or conditions of this Agreement except where such terms and conditions have already been
disclosed as required by Legal Requirement; provided, that the issuing party shall use its
commercially reasonable efforts to consult with the other party with respect to the text thereof to
the extent practicable.

               12.4   Notices.
               All notices, requests, demands, waivers and other communications required or
permitted to be given under this Agreement shall be in writing and shall be deemed to have been


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duly given if delivered personally or sent by overnight courier or electronic mail, or facsimile
transmission:
                    (i)      If to the Sellers, then to:
                                     Mission Coal Company, Inc.
                                     7 Sheridan Square, Suite 300
                                     Kingsport, Tennessee 37660
                                     Attn: Gary Broadbent
                                     Facsimile: 423-212-2980
                                     Email: gary.broadbent@missioncoal.com

                             with a copy (which shall not constitute notice) to:

                                     Christian & Small LLP
                                     505 North 20th Street, Suite 1800
                                     Birmingham, Alabama 35203
                                     Attn: Daniel D. Sparks
                                             Bill D. Bensinger
                                     Facsimile: 205-328-7234
                                     Email: ddsparks@csattorneys.com
                                             bdbensinger@csattorneys.com

                                     and

                                     Kirkland & Ellis LLP
                                     Kirkland & Ellis International, LLP
                                     300 North LaSalle
                                     Chicago, Illinois 60654
                                     Attn: Melissa N. Koss
                                     Facsimile: 312-862-2200
                                     Email: melissa.koss@kirkland.com

                                     and

                                     Kirkland & Ellis LLP
                                     Kirkland & Ellis International, LLP
                                     601 Lexington Avenue
                                     New York, New York 10022
                                     Attn: Stephen E. Hessler, P.C.
                                            Ciara Foster
                                     Facsimile: 212-446-4900
                                     Email: stephen.hessler@kirkland.com
                                            ciara.foster@kirkland.com

                                     and

                                     Kirkland & Ellis LLP


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                                      Kirkland & Ellis International, LLP
                                      901 Main Street
                                      Dallas, Texas 75202
                                      Attn: Michael Considine, P.C.
                                      Facsimile: 214-972-1771
                                      Email: MPConsidine@kirkland.com
                          (ii) If to Buyer:

                                      New Coal Acquisition Co, LLC
                                      []

                                      with a copy (which shall not constitute notice) to:

                                      Akin Gump Strauss Hauer & Feld LLP
                                      One Bryant Park
                                      New York, NY 10036
                                      Attn: Arik Preis
                                             Lisa Beckerman
                                             Allison Miller
                                             Jason Rubin
                                      Facsimile: 212-872-1002
                                      Email: apreis@akingump.com
                                             lbeckerman@akingump.com
                                             amiller@akingump.com
                                             jrubin@akingump.com

or to such other person or address as any party shall specify by notice in writing to the other
party. All such notices, requests, demands, waivers and communications shall be deemed to have
been received on the date on which so personally-delivered or faxed or delivered by overnight
courier.

               12.5   Waiver.
               Neither the failure nor any delay by any Party in exercising any right, power, or
privilege under this Agreement or the documents referred to in this Agreement shall operate as a
waiver of such right, power or privilege, and no single or partial exercise of any such right,
power, or privilege shall preclude any other or further exercise of such right, power, or privilege
or the exercise of any other right, power, or privilege. To the maximum extent permitted by
Legal Requirements, (a) no waiver that may be given by a Party shall be applicable except in the
specific instance for which it is given, and (b) no notice to or demand on one Party shall be
deemed to be a waiver of any right of the Party giving such notice or demand to take further
action without notice or demand.

               12.6   Entire Agreement; Amendment.
              This Agreement (including the Disclosure Schedules and the Exhibits), the Sale
Order, the Bidding Procedures Order and the other Transaction Documents supersede all prior


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agreements between Buyer, on the one hand, and the Sellers, on the other hand, with respect to
its subject matter and constitute a complete and exclusive statement of the terms of the
agreements between Buyer, on the one hand, and the Sellers, on the other hand, with respect to
their subject matter. This Agreement may not be amended, modified or supplements except by a
written agreement executed by each of the Parties.

               12.7    Assignment.
                 This Agreement, and the rights, interests and obligations hereunder, shall not be
assigned by any Party by operation of law or otherwise without the express written consent of all
of the other Parties (which consent may be granted or withheld in the sole discretion of such
other Party) and any assignment in contravention of this Section 12.7 shall be null and void ab
initio; provided, however, that, subject to compliance with Section 4.4, Buyer shall be permitted
to assign all or part of its rights or obligations hereunder to one or more Buyer Designees without
the prior consent of the Sellers; provided, that no such assignment shall relieve Buyer from its
liabilities or obligations hereunder; provided, further, that the Sellers shall be permitted to assign
their rights hereunder in part to one or more Successful Bidders or to the acquirer of any
Excluded Assets or Excluded Liabilities with the prior written consent of Buyer; provided, that
no such assignment shall relieve the Sellers from their liabilities or obligations hereunder, other
than with respect to such Excluded Assets or Excluded Liabilities.

               12.8    Severability.
               The provisions of this Agreement shall be deemed severable, and the invalidity or
unenforceability of any provision shall not affect the validity or enforceability of the other
provisions hereof. If any provision of this Agreement, or the application thereof to any Person or
any circumstance, is invalid or unenforceable, (a) the Parties shall negotiate in good faith to
modify this Agreement so as to effect the original intent of the Parties as closely as possible in an
acceptable manner in order that the transactions contemplated hereby are consummated as
originally contemplated to the greatest extent possible and (b) the remainder of this Agreement
and the application of such provision to other Persons or circumstances shall not be affected by
such invalidity or unenforceability.

               12.9    Expenses.
                Except as otherwise expressly provided in this Agreement or in the DIP Credit
Agreement, whether or not the transactions contemplated hereby are consummated, the Parties
shall bear their own respective expenses (including all compensation and expenses of counsel,
financial advisors, consultants, actuaries and independent accountants) incurred in connection
with this Agreement and the transactions contemplated hereby. Any and all fees required by
(i) any Governmental Authority or any Person to obtain or for the transfer of a Permit or (ii)
incurred in connection with complying with any Antitrust Law, shall be the sole responsibility of
Buyer.

               12.10 Governing Law; Consent to Jurisdiction and Venue; Jury Trial Waiver.
                     (a)    Except to the extent the mandatory provisions of the Bankruptcy
Code apply, this Agreement shall be governed by, and construed in accordance with, the laws of
the State of New York applicable to contracts made and to be performed entirely in such state


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without regard to principles of conflicts or choice of laws or any other law that would make the
laws of any other jurisdiction other than the State of New York applicable hereto.
                       (b)     Without limitation of any Party’s right to appeal any Order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the
terms of this Agreement and to decide any claims or disputes which may arise or result from, or
be connected with, this Agreement, any breach or default hereunder, or the transactions
contemplated hereby and (ii) any and all claims relating to the foregoing shall be filed and
maintained only in the Bankruptcy Court, and the Parties hereby consent and submit to the
exclusive jurisdiction and venue of the Bankruptcy Court and irrevocably waive the defense of
an inconvenient forum to the maintenance of any such Action or Proceeding; provided, however,
that, if the Bankruptcy Cases have been closed pursuant to Section 350(a) of the Bankruptcy
Code, all Actions and Proceedings arising out of or relating to this Agreement shall be heard and
determined in a New York state court or a federal court sitting in the Borough of Manhattan,
New York, New York, and the Parties hereby irrevocably submit to the exclusive jurisdiction
and venue of such courts in any such Action or Proceeding and irrevocably waive the defense of
an inconvenient forum to the maintenance of any such Action or Proceeding. The Parties consent
to service of process by mail (in accordance with Section 12.4) or any other manner permitted by
law.
                (c)   THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHT
TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED IN CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR THE ACTIONS OF THE SELLERS, BUYER OR THEIR
RESPECTIVE REPRESENTATIVES IN THE NEGOTIATION OR PERFORMANCE
HEREOF.
              12.11 Counterparts.
               This Agreement and any amendment hereto may be executed in two or more
counterparts, each of which shall be deemed to be an original of this Agreement or such
amendment and all of which, when taken together, shall constitute one and the same instrument.
Notwithstanding anything to the contrary in Section 12.4, delivery of an executed counterpart of
a signature page to this Agreement or any amendment hereto by telecopier, facsimile or email
attachment that contains a portable document format (.pdf) file of an executed signature shall be
effective as delivery of a manually executed counterpart of this Agreement or such amendment,
as applicable.

              12.12 Parties in Interest; No Third Party Beneficiaries; No Amendment.
               This Agreement and the other Transaction Documents shall inure to the benefit of
and be binding upon the Parties and their respective successors and permitted assigns. Except
with respect to the parties released and/or exculpated pursuant to the Waiver, this Agreement and
the other Transaction Documents are for the sole benefit of the Parties and their permitted
assigns, and nothing herein, express or implied, is intended to or shall confer upon any other
Person any legal or equitable benefit, claim, cause of action, remedy or right of any kind.
Notwithstanding anything to the contrary, nothing in this Agreement shall constitute an
amendment to any Benefit Plan.




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               12.13 Remedies.
                Neither the exercise of nor the failure to exercise a right of set-off or to give
notice of a claim under this Agreement will constitute an election of remedies or limit the Sellers
or Buyer in any manner in the enforcement of any other remedies that may be available to any of
them, whether at law or in equity.

               12.14 Specific Performance.
                Each Party recognizes that irreparable damage would occur in the event that any
of the provisions of this Agreement were not performed by them in accordance with the terms
hereof or were otherwise breached, and that monetary damages alone would not be adequate to
compensate the non-breaching Party or Parties for their injuries. Accordingly, a non-breaching
Party shall be entitled, in addition to any other remedies that may be available, to injunctive
relief to specifically enforce the terms and provisions of this Agreement. If any Action or
Proceeding is brought by the non-breaching Party or Parties to enforce any of the terms or
provisions of this Agreement pursuant to this Section 12.14, the Party in breach shall waive the
defense that there is an adequate remedy at law. Each Party agrees to waive any requirement for
the security or posting of any bond in connection with any Action or Proceeding seeking specific
performance of such terms or provisions and that the only permitted objection that it may raise in
response to any action for specific performance of such terms or provisions is that it contests the
existence of a breach or threatened breach of such provisions. The rights set forth in this
Section 12.14 shall be in addition to any other rights which a Party may have at law or in equity
pursuant to this Agreement.

                                    [Signature pages follow.]




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               IN WITNESS WHEREOF, the Parties have caused this Asset Purchase Agreement
to be executed and delivered by their duly authorized representatives, all as of the Execution
Date.


                                     SELLERS:

                                     MISSION COAL COMPANY, LLC


                                     By:
                                     Name:
                                     Title:


                                     BEARD PINNACLE, LLC


                                     By:
                                     Name:
                                     Title:


                                     OAK GROVE LAND COMPANY, LLC



                                     By: _____________________________
                                     Name:
                                     Title:


                                     OAK GROVE RESOURCES, LLC



                                     By: _____________________________
                                     Name:
                                     Title:




                        [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]



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                            PINNACLE LAND COMPANY, LLC



                            By:
                            Name:
                            Title:



                            PINNACLE MINING COMPANY, LLC



                            By:
                            Name:
                            Title:


                            SEMINOLE ALABAMA MINING COMPLEX, LLC


                            By:
                            Name:
                            Title:


                            SEMINOLE COAL RESOURCES, LLC



                            By:
                            Name:
                            Title:


                            SEMINOLE WEST VIRGINIA MINING COMPLEX,
                            LLC



                            By:
                            Name:
                            Title:



                 [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]



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                            SENECA COAL RESOURCES, LLC



                            By:
                            Name:
                            Title:


                            SENECA NORTH AMERICAN COAL LLC



                            By:
                            Name:
                            Title:




                 [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]



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                            BUYER:

                            NEW COAL ACQUISITION CO, LLC

                            By:
                            Name:
                            Title:




                 [SIGNATURE PAGE TO ASSET PURCHASE AGREEMENT]



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                                 Exhibit 2

                             Bidding Procedures




                                     3


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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

                                                                  )
    In re:                                                        )         Chapter 11
                                                                  )
    MISSION COAL COMPANY, LLC, et al.,1                           )         Case No. 18-04177-TOM11
                                                                  )
                                        Debtors.                  )         (Jointly Administered)
                                                                  )

          BIDDING PROCEDURES FOR THE SALE OF SUBSTANTIALLY ALL
      ASSETS OF MISSION COAL COMPANY AND CERTAIN DEBTOR AFFILIATES

        On [●], 2018, the United States Bankruptcy Court for the Northern District of Alabama
(the “Court”) entered the Order Establishing Bidding Procedures Relating to the Sale of All or a
Portion of the Debtors’ Assets [Docket No. __] (the “Bidding Procedures Order”),2 by which the
Court approved the following procedures. These Bidding Procedures set forth the process by
which the Debtors are authorized, in consultation with the Consultation Parties,3 to conduct an
auction (the “Auction”), if any, for the sale (the “Sale”) of all, substantially all, or any combination
of the Debtors’ assets (the “Assets”).

        New Coal Acquisition Co., LLC (including its assignees or designees, the “Stalking Horse
Bidder”) submitted a bid (the “Stalking Horse Bid”) for certain of the Debtors’ assets to set a floor
for the Sale. Having announced and received Bankruptcy Court approval of the Stalking Horse
Bid, the Debtors will now conduct a round of open bidding intended to obtain the highest or
otherwise best bid for all, substantially all, or any combination of the Assets, culminating in an
Auction for such Assets if competing bids are received.
1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak Grove Land Company,
      LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC (6070); Pinnacle Mining
      Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631); Seminole Coal Resources, LLC
      (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal Resources, LLC (1816); and Seneca
      North American Coal, LLC (5102). The location of the Debtors’ service address is: 7 Sheridan Square, Suite
      300, Kingsport, Tennessee 37660.
2
      All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Bidding
      Procedures Order.
3
      “Consultation Parties” means the following parties: (a) the DIP Lenders (as defined in the Final DIP Order) and
      their counsel and financial advisors, including Akin Gump Strauss Hauer & Feld LLP and Houlihan Lokey;
      (b) the DIP Agent (as defined in the Final DIP Order) and their counsel; (c) counsel and financial advisors to the
      official committee of unsecured creditors appointed in the Debtors’ chapter 11 cases (the “Committee”); and
      (d) counsel and financial advisors to WPP LLC, by NRP (Operating) LLC, its sole member (“NRP”) to the extent
      provided for in the Agreed Order and Settlement Agreement Related to Motion to Assume Oak Grove Coal Mining
      Lease [Docket No. 299]. Notwithstanding the foregoing, a party shall not be a Consultation Party if such party
      is a bidder at the Auction; provided, however, if any such Consultation Party notifies the Debtors in writing that
      it irrevocably forfeits its rights to be a bidder, the foregoing restriction shall no longer apply with respect to such
      Consultation Party upon the Debtors’ receipt of such notice.




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    Copies of the Bidding Procedures Order or other documents related thereto are available
    upon request to Omni Management Group by calling 888-585-6494 or visiting the Debtors’
    restructuring website at (https://omnimgt.com/sblite/missioncoal/).

       To the extent that these Bidding Procedures require the Debtors to consult with any
Consultation Party in connection with making a determination or taking any action, or in
connection with any other matter related to these Bidding Procedures or at the Auction, of any, the
Debtors shall do so in a regular and timely manner prior to making such determination or taking
any such action.

                                                     Key Dates

        These Bidding Procedures provide interested parties with the opportunity to qualify for and
participate in the Auction to be conducted by the Debtors and to submit competing bids for the
Assets. The Debtors shall assist interested parties in conducting their respective due diligence
investigations and shall accept Bids until January 21, 2019 at 4:00 p.m. (prevailing Central
time) (the “Bid Deadline”).

          The key dates for the sale process are as follows:4

    January 21, 2019 at             4:00     p.m. Bid Deadline - Due Date for Bids and Deposits
    (prevailing Central time)

    January 25, 2019 at             4:00     p.m. Debtors to determine which Bids are Qualified Bids
    (prevailing Central time)                     and notify each Potential Bidder in writing whether
                                                  such Potential Bidder is a Qualified Bidder.

    February 25, 2019 at 4:00 p.m. Debtors to provide the Stalking Horse Bidder and
    (prevailing Central time)      each Qualified Bidder a schedule setting forth (i) the
                                   highest or otherwise best fully binding offer for the
                                   Assets and/or (ii) the highest or otherwise best fully
                                   binding offer(s) for all or any portion of the Assets.

    February 27, 2019 at 10:00 a.m. Auction (if necessary), which will be held at Kirkland
    (prevailing Central time)       & Ellis LLP, 601 Lexington Avenue, New York, New
                                    York 10022.

    March [20], 2019 at 10:00 a.m. Sale Hearing, which will be held at the United States
    (prevailing Central time)      Bankruptcy Court for the Northern District of
                                   Alabama, Southern Division, 1800 Fifth Avenue,
                                   North Birmingham, Alabama 35203



4
      These dates are subject to extension or adjournment as provided for herein.



                                                           2
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        Unless otherwise approved by the Bankruptcy Court, no modification, extension, waiver
or addition to these Bidding Procedures shall be inconsistent with the Stalking Horse Agreement,
the Bidding Procedures Order or any other Order of the Bankruptcy Court, unless otherwise
ordered by the Bankruptcy Court or with the prior consent of the DIP Lenders.

1.     Submissions to the Debtors.

        These Bidding Procedures set forth the terms by which prospective bidders, if any, may
qualify for and participate in an Auction, thereby competing to make the highest or otherwise best
offer or combination of offers for all, substantially all, or any combination of the Assets, which in
the aggregate will make the highest or otherwise best offer to purchase the Assets. The Assets will
be offered for sale in one or more combinations, and as a whole, through an Auction. The Debtors,
in consultation with the Consultation Parties, may consider bids from multiple bidders (including
multiple bids submitted by the same bidder) for the Assets in any combination. The Stalking Horse
Purchase Agreement and Stalking Horse Bid referenced herein provide for the Stalking Horse
Bidder’s acquisition of certain of the Debtors’ assets, subject to the terms and conditions thereof.

2.     Potential Bidders.

       To participate in the bidding process or otherwise be considered for any purpose under
these Bidding Procedures, a person or entity (other than the Stalking Horse Bidder) interested in
consummating a Sale (a “Potential Bidder”) must deliver or have previously delivered to the
Debtors:

               (i)     an executed confidentiality agreement on terms acceptable to the Debtors
                       (a “Confidentiality Agreement”), to the extent not already executed;

               (ii)    in a form acceptable to the Debtors and their advisors, in consultation with
                       the Consultation Parties: (x) evidence of the financial capability to
                       consummate the Sale, and (y) a written commitment from the equity
                       holder(s) of the Potential Bidder to be responsible for the Potential Bidder’s
                       obligations in connection with the Sale); and

               (iii)   any other evidence the Debtors, in consultation with the Consultation
                       Parties, may reasonably request to evaluate the buyer.

3.     Due Diligence.

        Only Potential Bidders shall be eligible to receive due diligence information and access to
the Debtors’ electronic data room and to additional non-public information regarding the Debtors.
No Potential Bidder will be permitted to conduct any due diligence that includes confidential
information without entering into a Confidentiality Agreement with the Debtors. The Debtors
will provide to each Potential Bidder that satisfies the foregoing commercially reasonable due
diligence information, as requested by such Potential Bidder in writing, as soon as reasonably
practicable after such request, and the Debtors shall post all written due diligence provided to any
Potential Bidder to the Debtors’ electronic data room. For all Potential Bidders, the due diligence
period will end on the Bid Deadline and subsequent to the Bid Deadline the Debtors shall have no
obligation to furnish any due diligence information.


                                                 3
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        The Debtors shall not furnish any confidential information relating to the Assets, liabilities
of the Debtors, or the Sale to any person except to a Potential Bidder or to such Potential Bidder’s
duly authorized representatives to the extent provided in the applicable Confidentiality Agreement.
The Debtors and their advisors shall coordinate all reasonable requests from Potential Bidders for
additional information and due diligence access; provided that the Debtors may decline to provide
such information to Potential Bidders who, at such time and in the Debtors’ reasonable business
judgment, after consultation with the Consultation Parties, have not established, or who have raised
doubt, that such Potential Bidder intends in good faith to, or has the capacity to, consummate the
Sale.

        The Debtors also reserve the right to, in consultation with the Consultation Parties,
withhold any diligence materials that the Debtors determine are sensitive or otherwise not
appropriate for disclosure to a Potential Bidder who the Debtors determine is a competitor of the
Debtors or is affiliated with any competitor of the Debtors. Neither the Debtors nor their
representatives shall be obligated to furnish information of any kind whatsoever to any person that
is not determined to be a Potential Bidder.

       All due diligence requests must be directed to Jefferies LLC, 520 Madison Avenue, New
York, New York 10022, Attn: Leon Szlezinger (lszlezinger@jefferies.com), Dan Chu
(dan.chu@jefferies.com), Seth Herman (sherman@jefferies.com), and Johnston Suter
(jsuter@jefferies.com).

       (a)     Communications with Potential Bidders.

       Notwithstanding anything to the contrary in these Bidding Procedures, all substantive
communications related to the Sale between and amongst Potential Bidders shall exclusively be
through the Debtors and the Debtors’ advisors. Communications between and amongst Potential
Bidders is expressly prohibited unless the Debtors expressly consent in writing to such
communication.

       (b)     Due Diligence from Potential Bidders.

       Each Potential Bidder shall comply with all reasonable requests for additional information
and due diligence access requested by the Debtors or their advisors, regarding the ability of the
Potential Bidder to consummate the Sale. Failure by a Potential Bidder to comply with such
reasonable requests for additional information and due diligence access may be a basis for the
Debtors, in consultation with the Consultation Parties, to determine that such bidder is no longer
a Potential Bidder or that a bid made by such Potential Bidder is not a Bid.

        The Debtors and each of their respective advisors and representatives shall be obligated to
maintain in confidence any confidential information in accordance with any applicable
confidentiality agreement, except as otherwise set forth in these Bidding Procedures. Each
recipient of confidential information agrees to use, and to instruct their advisors and
representatives to use, such confidential information only in connection with the evaluation of Bids
during the bidding process or otherwise in connection with the chapter 11 cases or in accordance
with the terms of any applicable confidentiality agreement.

       Notwithstanding the foregoing and the provisions contained in any applicable


                                                  4
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confidentiality agreement, the Debtors and the Debtors’ advisors may disclose confidential
information: (i) with the prior written consent of such bidder; (ii) to the applicable bidder; (iii) in
accordance with these Bidding Procedures, including to any Consultation Party; and (iv) as
otherwise required or allowed by any applicable confidentiality agreement with respect to a
particular bidder or other agreement, law, court or other governmental order, or regulation,
including, as appropriate, to regulatory agencies.

4.     Qualified Bidders.

       (a)     A “Qualified Bidder” is a Potential Bidder (A) who demonstrates the financial
               capability to consummate the Sale (as determined by the Debtors in consultation
               with the Consultation Parties), (B) whose Bid is a Qualified Bid (as defined herein),
               and (C) that the Debtors, in consultation with the Consultation Parties, determine
               should be considered a Qualified Bidder. Within three business days after the Bid
               Deadline, the Debtors’ advisors will notify each Potential Bidder in writing whether
               such Potential Bidder is a Qualified Bidder. The Stalking Horse Bidder shall be
               deemed a Qualified Bidder for all purposes under these Bidding Procedures and at
               all times.

       (b)     If any Potential Bidder is determined by the Debtors, in consultation with the
               Consultation Parties, not to be a Qualified Bidder, the Debtors will refund such
               Qualified Bidder’s Deposit and all accumulated interest thereon on or within five
               business days after the Bid Deadline.

       (c)     For the avoidance of doubt, the Debtors expressly reserve the right to notify a
               Potential Bidder that its bid is not a Qualifying Bid (a “Non-Qualifying Bid”) and
               permit a Potential Bidder to revise or supplement a Non-Qualifying Bid to make it
               a Qualified Bid. Notwithstanding the foregoing, other than as may be provided in
               the Stalking Horse Bid, Bidders shall be prohibited from including in their Bid a
               proposed use of any cash component of the Purchase Price that would be received
               by the Debtors if such Bidder were the Successful Bidder.

       (d)     Between the date that the Debtors notify a Potential Bidder that it is a Qualified
               Bidder and the Auction, if any, the Debtors may discuss, negotiate, or seek
               clarification of any Qualified Bid from a Qualified Bidder. Except as otherwise set
               forth in the Stalking Horse Agreement, without the written consent of the Debtors,
               in consultation with the Consultation Parties, a Qualified Bidder may not modify,
               amend, or withdraw its Qualified Bid, except for proposed amendments to increase
               their consideration contemplated by, or otherwise improve the terms of, the
               Qualified Bid, during the period that such Qualified Bid remains binding as
               specified in these Bidding Procedures; provided that any Qualified Bid may be
               improved at the Auction, if any, as set forth herein. Any improved Qualified Bid
               must continue to comply with the requirements for Qualified Bids set forth in these
               Bidding Procedures.




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5.     Bid Requirements.

        A proposal, solicitation, or offer (each, a “Bid”) by a Qualified Bidder that is submitted in
writing and satisfies each of the following requirements (the “Bid Requirements”) as determined
by the Debtors, in their reasonable business judgment and after consultation with the Consultation
Parties, shall constitute a “Qualified Bid”).

       (a)     Assets. Each Bid must clearly state which Assets that the Qualified Bidder is
               agreeing to purchase and assume. With respect to a bid for some, but not all, of the
               Assets, the allocation of value in U.S. dollars that the Potential Bidder associates
               with each mine (or group of mines if such bid is conditioned upon the purchase of
               all mines in such group), including a description of any significant assumptions on
               which such valuation is based.

       (b)     Assumption of Obligations. Each Bid must clearly state which liabilities and
               obligations of the Debtors the Qualified Bidder is agreeing to assume.

       (c)     Purchase Price. Each Bid must clearly set forth the purchase price to be paid for
               the applicable asset package, including and identifying separately any cash and
               non-cash components, which non-cash components shall be limited only to credit-
               bids and assumed liabilities (the “Purchase Price”).

       (d)     Minimum Bid.

               (i)     At a minimum, each Bid seeking to acquire all of the Debtors’ assets that
                       are the subject of the Stalking Horse Bid must have a Purchase Price that in
                       the Debtors’ reasonable business judgment, after consultation with the
                       Consultation Parties, has a monetary value equal or greater than the
                       aggregate Assumed Liabilities, Credit Bid and Release contemplated by the
                       Stalking Horse Bid, plus $1 million in cash or cash equivalents
                       (collectively, the “Minimum Overbid”); or

               (ii)    At a minimum, each Bid seeking to acquire individual assets or
                       combinations of assets that are less than all of the Debtors’ assets (each a
                       “Partial Bid”) must have a Purchase Price that in the Debtors’ reasonable
                       business judgment, after consultation with the Consultation Parties, has a
                       value, individually or in conjunction with one or more other Bids, that
                       satisfies the criteria for being a Qualified Bid (as defined below). Any
                       Partial Bid must include an allocation of the Purchase Price with respect to
                       the applicable mines such Partial Bid seeks to acquire and state whether the
                       Bidder is willing to purchase any of the Assets included in the Bid
                       individually, and if so, the Bid must state the price the Bidder would pay for
                       each such Asset.

        (e)    Markup of the Stalking Horse Purchase Agreement. Each Bid must be
               accompanied by an executed purchase agreement as well as a redline of such
               agreement marked to reflect the amendments and modifications made to the form
               of the Stalking Horse Purchase Agreement provided by the Debtors to Potential


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           Bidders, which amendments and modifications may include amendments or
           modifications to the agreement which provide for the closing of a sale (i) outside
           of a plan of reorganization pursuant to section 363 of the Bankruptcy Code or
           (ii) pursuant to a plan of reorganization. Each such purchase agreement must
           provide a representation that the Qualified Bidder will (i) make all necessary filings
           under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended (the
           “HSR Act”), if applicable, and (ii) submit and pay the fees associated with all
           necessary filings under the HSR Act as soon as reasonably practicable; provided,
           however, that the timing and likelihood of receiving HSR Act approval will be a
           consideration in determining the highest or otherwise best Bid.

     (f)   Deposit. Each Bid, other than the Stalking Horse Bid, must be accompanied by a
           cash deposit in the amount equal to 10 percent of the aggregate cash Purchase Price
           of the Bid, to be held in an interest-bearing escrow account to be identified and
           established by the Debtors (the “Deposit”).

     (g)   Employee Obligations. Each Bid must expressly propose a treatment of the
           Debtors’ prepetition collective bargaining agreements (the “CBAs”) and post-
           employment benefits (collectively, the “Employee Obligations”).

     (h)   Qualified Bid Documents. Each Bid must include duly executed, non-contingent
           transaction documents necessary to effectuate the transactions contemplated in the
           Bid and shall include a schedule of assumed contracts to the extent applicable to
           the Bid, and a copy of the Asset Purchase Agreement clearly marked to show all
           changes requested by the Qualified Bidder, including those related to the respective
           Purchase Price and assets to be acquired by such Qualified Bidder, as well as all
           other material documents integral to such bid (the “Qualified Bid Documents”).

     (i)   Committed Financing. To the extent that a Bid is not accompanied by evidence
           of the Qualified Bidder’s capacity to consummate the sale set forth in its Bid with
           cash on hand, each Bid must include unconditional committed financing from a
           reputable financing institution, documented to the satisfaction of the Debtors in
           consultation with the Consultation Parties, that demonstrates that the Qualified
           Bidder has: (i) received sufficient debt and/or equity funding commitments to
           satisfy the Qualified Bidder’s Purchase Price and other obligations under its Bid;
           and (ii) adequate working capital financing or resources to finance going concern
           operations for the Assets and the proposed transactions. Such funding commitments
           or other financing must be unconditional and must not be subject to any internal
           approvals, syndication requirements, diligence, or credit committee approvals, and
           shall have covenants and conditions reasonably acceptable to the Debtors, in
           consultation with the Consultation Parties.

     (j)   Contingencies; No Financing or Diligence Outs. A Bid shall not be conditioned
           on the obtaining or the sufficiency of financing or any internal approval, or on the
           outcome or review of due diligence, but may be subject to the accuracy at the
           closing of specified representations and warranties or the satisfaction at the closing



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           of specified conditions, which shall be acceptable to the Debtors in their business
           judgment, after consultation with the Consultation Parties.

     (k)   Identity. Each Bid must fully disclose the identity of each entity that will be
           bidding or otherwise participating in connection with such Bid (including each
           equity holder or other financial backer of the Qualified Bidder if such Qualified
           Bidder is an entity formed for the purpose of consummating the proposed
           transaction contemplated by such Bid), and the complete terms of any such
           participation. Each Bid must also fully disclose whether any current or former
           officer, director or equity holder of the Debtors, or any entity affiliated with any
           current or former officer, director or equity holder of the Debtors, will be bidding
           or otherwise participating in connection with such Bid. Under no circumstances
           shall any undisclosed insiders, principals, equity holders, or financial backers be
           associated with any Bid (including any Overbid at the Auction). Each Bid must
           also include contact information for the specific persons and counsel whom
           Jefferies and Kirkland & Ellis LLP should contact regarding such Bid. All
           information disclosed pursuant to this paragraph shall be made available by the
           Debtors to the Consultation Parties promptly upon the Debtors’ receipt thereof but
           in any event no later than one business day following the Bid Deadline.

     (l)   Demonstrated Financial Capacity. A Qualified Bidder must have, in the
           Debtors’ business judgment, after consultation with the Consultation Parties, the
           necessary financial capacity to consummate the proposed transactions required by
           its Bid.

     (m)   Adequate Assurance of Future Performance. Each Bid must (i) identify the
           executory contracts and unexpired leases to be assumed and assigned in connection
           with the proposed Sale, (ii) provide for the payment of all cure costs related to such
           executory contracts and unexpired leases by the Qualified Bidder and
           (iii) demonstrate, in the Debtors’ reasonable business judgment, after consultation
           with the Consultation Parties, that the Qualified Bidder can provide adequate
           assurance of future performance under all such executory contracts and unexpired
           leases.

     (n)   Time Frame for Closing. A Bid by a Qualified Bidder must be reasonably likely
           (based on availability of financing, antitrust, or other regulatory issues, experience,
           and other considerations) to be consummated, if selected as the Successful Bid,
           within a time frame acceptable to the Debtors, after consultation with the
           Consultation Parties, which time frame shall include a closing by no later than April
           12, 2019.

     (o)   Binding and Irrevocable. A Qualified Bidder’s Bid for a particular asset package
           shall be irrevocable unless and until the Debtors accept a higher Bid for such asset
           package and such Qualified Bidder is not selected as the Backup Bidder for such
           asset package.

     (p)   Expenses; Disclaimer of Fees. Each Bid (other than a Stalking Horse Bid, solely


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           to the extent set forth in the Stalking Horse Agreement) must disclaim any right to
           receive a fee analogous to a break-up fee, expense reimbursement, termination fee,
           or any other similar form of compensation. For the avoidance of doubt, no
           Qualified Bidder (other than the Stalking Horse Bidder, solely to the extent set forth
           in the Stalking Horse Agreement) will be permitted to request, nor be granted by
           the Debtors, at any time, whether as part of the Auction, if any, or otherwise, a
           break-up fee, expense reimbursement, termination fee, or any other similar form of
           compensation, and by submitting its Bid is agreeing to refrain from and waive any
           assertion or request for reimbursement on any basis, including under section 503(b)
           of the Bankruptcy Code.

     (q)   Authorization. Each Bid must contain evidence that the Qualified Bidder has
           obtained authorization or approval from its board of directors (or a comparable
           governing body acceptable to the Debtors, in consultation with the Consultation
           Parties) with respect to the submission of its Bid and the consummation of the
           transactions contemplated in such Bid.

     (r)   As-Is, Where-Is. Each Bid must include a written acknowledgement and
           representation that the Qualified Bidder: (i) has had an opportunity to conduct any
           and all due diligence regarding the Assets prior to making its offer; (ii) has relied
           solely upon its own independent review, investigation, and/or inspection of any
           documents and/or the Assets in making its Bid; and (iii) did not rely upon any
           written or oral statements, representations, promises, warranties, or guaranties
           whatsoever, whether express, implied by operation of law, or otherwise, regarding
           the Assets or the completeness of any information provided in connection therewith
           or the Auction, except as expressly stated in the Bidder’s Asset Purchase
           Agreement.

     (s)   Adherence to Bid Procedures. By submitting its Bid, each Qualified Bidder is
           agreeing to abide by and honor the terms of these Bidding Procedures and agrees
           not to submit a Bid or seek to reopen the Auction after conclusion of the Auction,
           if any.

     (t)   Transfer of Mining Permits/Assumption of Reclamation Obligations. Each Bid
           must (i) provide that the Bidder will: (a) take transfer of or obtain permits for the
           mining operations to be acquired; (b) assume all associated reclamation obligations
           with respect to the mines subject to the Bid to the extent required under applicable
           nonbankruptcy law; and (c) obtain assignment of or replace the reclamation surety
           bonds associated with such permits, and (ii) provide evidence of: (a) the Bidder’s
           ability to satisfy the conditions set forth in clause (i) of this paragraph (including
           verification that the Bidder is not, and will not be as of the time of the transfer,
           “permit blocked” under the federal Surface Mining Control and Reclamation Act
           by application of the federal Applicant Violator System); and (b) the Bidder’s
           financial resources necessary to obtain assignment of or replace the reclamation
           surety bonds associated with such permits, which evidence may include a letter
           from a surety company confirming that the Bidder is a “qualified buyer” (as such
           term is used in the surety industry).


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     (u)    Government Approvals. Each Bid must include a description of all governmental,
            licensing, regulatory, or other approvals or consents that are required to close the
            proposed Sale, together with evidence satisfactory to the Debtors, after consultation
            with the Consultation Parties, of the ability to obtain such consents or approvals in
            a timely manner, as well as a description of any material contingencies or other
            conditions that will be imposed upon, or that will otherwise apply to, the obtainment
            or effectiveness of any such consents or approvals;

     (v)    Government Approvals Timeframe. Each Bid must set forth an estimated
            timeframe for obtaining any required internal, governmental, licensing, regulatory
            or other approvals or consents for consummating any proposed Sale.

     (w)    Consent to Jurisdiction. The Qualified Bidder must submit to the jurisdiction of
            the Bankruptcy Court and waive any right to a jury trial in connection with any
            disputes relating to Debtors’ qualification of bids, the Auction, if any, the
            construction and enforcement of these Bidding Procedures, the Sale documents,
            and the Closing, as applicable.

     (x)    Bid Deadline. Each Bid must be transmitted via email (in .pdf or similar format)
            so as to be actually received on or before 4:00 p.m. (prevailing Central Time)
            on January 21, 2019 by:

            (i)     Debtors. Mission Coal Company, LLC, 7 Sheridan Square, Suite 300,
                    Kingsport, Tennessee 37660, Attn: Gary M. Broadbent.

            (ii)    Debtors’ Counsel. Counsel to the Debtors, Kirkland & Ellis LLP, 601
                    Lexington Avenue, New York, New York 10022, Attn: Stephen E. Hessler,
                    P.C.       (stephen.hessler@kirkland.com)      and     Ciara      Foster
                    (ciara.foster@kirkland.com) and Kirkland & Ellis LLP, 300 North LaSalle,
                    Chicago, Illinois 60654, Melissa N. Koss (melissa.koss@kirkland.com).

            (iii)   Debtors’ Co-Counsel. Co-Counsel to the Debtors, Christian & Small LLP
                    505 North 20th Street, Suite 1800, Birmingham, Alabama 35203, Attn:
                    Daniel D. Sparks (ddsparks@csattorneys.com) and Bill D. Bensinger
                    (bdbensinger@csattorneys.com).

            (iv)    Debtors’ Financial Advisors. Financial advisors to the Debtors, Jefferies
                    LLC, 520 Madison Avenue, New York, New York 10022, Attn: Leon
                    Szlezinger (lszlezinger@jefferies.com), Dan Chu (dan.chu@jefferies.com),
                    Seth Herman (sherman@jefferies.com), and Johnston Suter
                    (jsuter@jefferies.com) and AlixPartners, 1114 Avenue of the Americas,
                    41st Floor, New York, NY 10036, Attn: Kevin Nystrom
                    (knystrom@alixpartners.com)           and         Bret        Fernandes
                    (BFernandes@alixpartners.com).

6.   Right to Credit Bid.

     At the Auction, if any, any Qualified Bidder, including a Stalking Horse Bidder, who has


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a valid and perfected lien on any assets of the Debtors’ estates (a “Secured Creditor”) shall have
the right to credit bid all or a portion of the value of such Secured Creditor’s claims within the
meaning of section 363(k) of the Bankruptcy Code. Notwithstanding anything herein to the
contrary, the Stalking Horse Bidder shall: (a) have the right (including as part of any applicable
Overbid) to credit bid all or a portion of the value of the secured portion of its claims for the assets
pursuant to section 363(k) of the Bankruptcy Code, including any secured claims on account of its
adequate protection liens, which amount shall be no less than approximately $203,340,782, plus
all accrued and unpaid interest (the “DIP Claim Amount”); provided, that nothing herein shall
impact any parties’ rights with respect to either (i) challenges to the liens or claims of the Stalking
Horse Bidder or any Secured Creditor or (ii) assertions under section 506(c) of the Bankruptcy
Code or the effects that such challenges or assertions have, if any, on the ability of any Secured
Creditor (other than the Stalking Horse Bidder) to credit bid. For the avoidance of doubt, the
Stalking Horse Bidder shall be considered a Qualified Bidder with respect to its right to acquire
all or any of the Assets by credit bid.

7.     Auction.

        The Debtors shall evaluate Qualified Bids and identify the Qualified Bid that is, in the
Debtors’ judgment, after consultation with the Consultation Parties, the highest or otherwise best
Qualified Bid or combination of Qualified Bids for the Assets (the “Baseline Bid”), and provide
copies of the applicable Qualified Bid Documents supporting the applicable Baseline Bid to each
Qualified Bidders at or prior to the Auction. When determining the highest or otherwise best
Qualified Bid and selecting the winning bidder, as compared to other Qualified Bids, the Debtors
may, in consultation with the Consultation Parties, consider the following factors in addition to
any other factors that the Debtors deem appropriate: (a) the number, type, and nature of any
changes to the Asset Purchase Agreement or Stalking Horse Agreement, if any, requested by the
Qualified Bidder, including the type and amount of Assets sought and obligations to be assumed
in the Qualified Bid; (b) the amount and nature of the total consideration; (c) the likelihood of the
Qualified Bidder’s ability to close the Sale and the timing thereof; (d) the net economic effect of
any changes to the value to be received by the Debtors’ estates from the transaction contemplated
by the Qualified Bid Documents; (e) the tax consequences of such Qualified Bid; and (f) the
Employee Obligations (collectively, the “Bid Assessment Criteria”). For the avoidance of doubt,
when determining the highest or otherwise best Qualified Bid, one dollar of the DIP Claim Amount
shall be equal in all respects to one dollar of cash that may be bid by another Qualified Bidder.

       If no Qualified Bids other than the Stalking Horse Bid are received by the Bid Deadline,
then the Debtors may cancel the Auction, and may decide, in the Debtors’ reasonable business
judgment, in consultation with the Consultation Parties, to designate the Stalking Horse Bid as the
Successful Bid, and pursue entry of the order approving a Sale of the Debtors’ assets to the Stalking
Horse Bidder pursuant to the Stalking Horse Purchase Agreement.

       The Auction, if any, shall take place at 10:00 a.m. (prevailing Central Time) on Monday,
February 27, 2019, at the offices of Kirkland & Ellis LLP, 601 Lexington Avenue, New York,
New York 10022, or such later date and time as selected by the Debtors after consultation with the
Consultation Parties, and subject to the consent of the DIP Lenders. The Auction, if any, shall be
conducted in a timely fashion according to the following procedures:



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       (a)     The Debtors Shall Conduct the Auction.

        The Debtors and their professionals shall direct and preside over the Auction, if any, in
consultation with the Consultation Parties. At the start of the Auction, the Debtors shall describe
the terms of the Baseline Bid for each asset package. The Debtors explicitly reserve the right, in
their business judgment and after consultation with the Consultation parties, to exercise their
discretion in conducting the Auction, including determining whether assets are to be auctioned
separately, together, or any combination thereof, and whether to adjourn the Auction to facilitate
separate discussions between Qualified Bidders, the Debtors, and the Consultation Parties, as
applicable. The Debtors shall maintain a written transcript of the Auction and all Bids made and
announced at the Auction, if any, including the Baseline Bid, all applicable Overbids, and the
Successful Bid.

        Only Qualified Bidders and their legal and financial advisors, including the Stalking Horse
Bidder, and the members and advisors of the Committee, shall be entitled to attend the Auction, if
any, and the Qualified Bidders shall appear at the Auction in person and may speak or bid
themselves or through duly authorized representatives. Only Qualified Bidders shall be entitled
to bid at the Auction, if any.

       (b)     Terms of Overbids.

       “Overbid” means any bid made at the Auction, if any, by a Qualified Bidder subsequent to
the Debtors’ announcement of the Baseline Bid. Each applicable Overbid must comply with the
following conditions:

               (i)    Minimum Overbid Increments. The initial Overbid for all of the Debtors’
                      assets shall provide for total consideration to the Debtors with a value that
                      exceeds the value of the consideration under the Baseline Bid by an
                      incremental amount that is not less than $1 million, and successive Overbids
                      higher than the previous bid, as Debtors shall, in consultation with the
                      Consultation Parties, announce at the Auction (the “Minimum Overbid
                      Increment”).

                      The Debtors reserve the right, in consultation with the Consultation Parties,
                      to announce reductions or increases in the Minimum Overbid Increment at
                      any time during the Auction, if any. Additional consideration in excess of
                      the amount set forth in the respective Baseline Bid may include: (a) cash
                      and/or noncash consideration; provided, however, that the value for such
                      noncash consideration shall be determined by the Debtors in their
                      reasonable business judgment, in consultation with the Consultation Parties;
                      and (b) in the case of a Bid by a Secured Creditor, a credit bid of up to the
                      full amount of the such secured creditors’ allowed secured claim including,
                      for the avoidance of doubt, a Bid by the DIP Lenders up to the full amount
                      of the DIP Claim Amount; provided, however, that nothing herein shall
                      impact any parties’ rights with respect to either (a) challenges to the liens
                      or claims of a Secured Creditor, or (b) solely with respect to Secured
                      Creditors other than the Stalking Horse Bidder, assertions under section


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                       506(c) of the Bankruptcy Code or the effects that such challenges or
                       assertions have, if any, on the ability of the any Secured Creditor to credit
                       bid, in each case, subject to the terms of the Final DIP Order.

               (ii)    Conclusion of Each Overbid Round. Upon the solicitation of each round
                       of applicable Overbids, the Debtors may announce a deadline (as the
                       Debtors may, in their business judgment, after consultation with the
                       Consultation Parties, extend from time to time, the “Overbid Round
                       Deadline”) by which time any Overbids must be submitted to the Debtors.

               (iii)   Overbid Alterations. An applicable Overbid may contain alterations,
                       modifications, additions, or deletions of any terms of the Bid no less
                       favorable to the Debtors’ estates than any prior Bid or Overbid, as
                       determined in the Debtors’ reasonable business judgment after consultation
                       with the Consultation Parties, but shall otherwise comply with the terms of
                       these Bidding Procedures.

               (iv)    Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                       the Debtors, shall announce for each asset package whether the Debtors
                       have identified in the initial applicable Overbid round, an Overbid as being
                       higher or otherwise better than the Initial Minimum Overbid for such asset
                       package, or in subsequent rounds, the Overbid previously designated by the
                       Debtors as the prevailing highest or otherwise best Bid for a given asset
                       package (for each asset package, the “Prevailing Highest Bid”). The
                       Debtors shall describe to all Qualified Bidders the material terms of any
                       new Overbid designated by the Debtors as the Prevailing Highest Bid as
                       well as the value attributable by the Debtors to such Prevailing Highest Bid
                       based on, among other things, the Bid Assessment Criteria.

       (c)     Consideration of Overbids.

        The Debtors reserve the right, in their reasonable business judgment and after consultation
with the Consultation Parties, to adjourn the Auction, if any, one or more times to, among other
things: (i) facilitate discussions between and amongst the Debtors, the Qualified Bidders and the
Consultation Parties, as appropriate; (ii) allow Qualified Bidders to consider how they wish to
proceed; and (iii) provide Qualified Bidders the opportunity to provide the Debtors and the
Consultation Parties with such additional evidence as the Debtors, in their reasonable business
judgment, after consultation with the Consultation Parties, may require that the Qualified Bidder
has sufficient internal resources or has received sufficient non-contingent debt and/or equity
funding commitments to consummate the proposed transaction at the prevailing Overbid amount.

       (d)     Closing the Auction.

               (i)     The Auction, if any, shall continue until there is one or more Bids for the
                       Assets that the Debtors determine, in their reasonable business judgment,
                       after consultation with the Consultation Parties, to be the highest or
                       otherwise best Bid or Bids for all Assets, taken as a whole. Each such Bid



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                       shall be declared the “Successful Bid” for such asset package and such
                       Qualified Bidder, the “Successful Bidder” for such asset package, at which
                       point the Auction will be closed. The Auction, if any, shall not close unless
                       and until all Qualified Bidders have been given a reasonable opportunity to
                       submit an Overbid at the Auction to the then Prevailing Highest Bid. Such
                       acceptance by the Debtors of the Successful Bid(s) is conditioned upon
                       approval by the Court of the Successful Bid(s).

               (ii)    A Successful Bidder shall, within one business day after the conclusion of
                       the Auction, submit to the Debtors fully executed revised documentation
                       memorializing the terms of the Successful Bid. The Successful Bid may
                       not be assigned to any party without the consent of the Debtors after
                       consulting with the Consultation Parties.

               (iii)   For the avoidance of doubt, nothing in these Bidding Procedures shall
                       prevent the Debtors from exercising their respective fiduciary duties under
                       applicable law.

               (iv)    The Debtors shall not consider any Bids or Overbids submitted after the
                       conclusion of the Auction, if any, and any such Bids or Overbids shall be
                       deemed untimely and shall under no circumstances constitute a Qualified
                       Bid.

               (v)     As soon as reasonably practicable after closing the Auction, if any, and in
                       any event not less than one business day following closing the Auction, the
                       Debtors shall cause a notice of Successful Bid and Successful Bidder, and
                       the Qualified Bid Documents for each Successful Bid and Backup Bid, to
                       be filed with the Court.

       (e)     No Collusion; Good-Faith Bona Fide Offer.

        Each Qualified Bidder participating at the Auction, if any, will be required to confirm on
the record at the Auction that: (i) it has not engaged in any collusion with respect to the bidding;
and (ii) its Bid is a good-faith bona fide offer and it intends to consummate the proposed
transaction if selected as the Successful Bidder.

8.     Backup Bidder.

       (a)     Notwithstanding anything in these Bidding Procedures to the contrary, if an
               Auction is conducted for all or any portion of the Assets, the Qualified Bidder with
               the next-highest or otherwise second-best Bid at the Auction for such Asset(s), as
               determined by the Debtors in the exercise of their reasonable business judgment,
               after consultation with the Consultation Parties (the “Backup Bid”), shall be
               required to serve as a backup bidder (the “Backup Bidder”) for such Asset(s), and
               each Qualified Bidder shall agree and be deemed to agree to be the Backup Bidder
               if so designated by the Debtors.

       (b)     The identity of the Backup Bidder and the amount and material terms of the Backup


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               Bid shall be announced by the Debtors at the conclusion of the Auction, if any, at
               the same time the Debtors announce the identity of the Successful Bidder. The
               Backup Bidder shall be required to keep its Bid (or if the Backup Bidder submits
               one or more Overbids at the Auction, its final Overbid) open and irrevocable until
               the closing of the transaction with the applicable Successful Bidder. The Backup
               Bidder’s Deposit shall be held in escrow until the closing of the transaction with
               the applicable Successful Bidder.

       (c)     If a Successful Bidder fails to consummate the approved transactions contemplated
               by its Successful Bid, the Debtors may select the applicable Backup Bidder as the
               Successful Bidder, and such Backup Bidder shall be deemed a Successful Bidder
               for all purposes. The Debtors will be authorized, but not required, to consummate
               all transactions contemplated by the Bid of such Backup Bidder without further
               order of the Court or notice to any party. In such case, the defaulting Successful
               Bidder’s Deposit shall be forfeited to the Debtors, and the Debtors specifically
               reserve the right to seek all available remedies against the defaulting Successful
               Bidder, including with respect to specific performance.

          All Qualified Bids (other than each Successful Bid and Backup Bid) shall be deemed
rejected by the Debtors on and as of the date of approval of each Successful Bid and Backup Bid
by the Bankruptcy Court. The Debtors, on their behalf and on behalf of each of their respective
estates, specifically reserve the right to seek all available damages, including specific performance,
from any defaulting Successful Bidder (including any Backup Bidder designated as a Successful
Bidder) in accordance with the terms of the Bidding Procedures

9.     Reservation of Rights.

         The Debtors reserve their rights to modify these Bidding Procedures, in their reasonable
business judgment, after consultation with the Consultation Parties, in any manner that will best
promote the goals of the bidding process, or impose, at or prior to the Auction, if any, additional
customary terms and conditions on the sale of the Assets, including, without limitation:
(a) extending the deadlines set forth in these Bidding Procedures; (b) adjourning the Auction, at
the Auction and/or adjourning the Sale Hearing in open court without further notice; (c) modifying
the Bidding Procedures and/or adding procedural rules that are reasonably necessary or advisable
under the circumstances for conducting the Auction; (d) canceling the Auction; (e) waiving, or
imposing additional, terms and conditions set forth herein with respect to Potential Bidders and
(f) rejecting any or all bids or Bids; provided, however, that any modification, extension, waiver,
or addition to the Bidding Procedures shall not be inconsistent with the Stalking Horse Agreement,
the Bidding Procedures Order, or any other Order of the Bankruptcy Court, unless otherwise
ordered by the Bankruptcy Court or with the prior consent of the DIP Lenders.

10.    Approval of Sale Transactions.

       A hearing to consider approval of the Sale of certain of the Assets to the Successful Bidders
(the “Sale Hearing”) is currently scheduled to take place on or before at 10:00 a.m. (prevailing
Central Time) on Friday, March 20, 2019, before the Honorable Tamara O. Mitchell, at the
Court, 1800 Fifth Avenue North, Birmingham, Alabama 35203.


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       The Sale Hearing may be continued to a later date by the Debtors, after consultation
with the Consultation Parties, by sending notice prior to, or making an announcement at,
the Sale Hearing. No further notice of any such continuance will be required to be provided
to any party (including the Stalking Horse Bidder).

       At the Sale Hearing, the Debtors, in consultation with the Consultation Parties, shall
present the Successful Bids to the Court for approval.

11.    Return of Deposits

         The Deposits of all Qualified Bidders shall be held in one or more interest-bearing escrow
accounts by the Debtors, but shall not become property of the Debtors’ estates absent further order
of the Bankruptcy Court or as expressly provided below. The Deposit of any Qualified Bidder
that is neither a Successful Bidder nor a Backup Bidder shall be returned to such Qualified Bidder
not later than five business days after the Sale Hearing. The Deposit of each Backup Bidder, if
any, shall be returned to such Backup Bidder no later than three business days after the closing of
the transaction with the relevant Successful Bidder for the assets bid upon by such Backup Bidder.
Upon the return of the Deposits, their respective owners shall receive any and all interest that will
have accrued thereon. If a Successful Bidder timely closes on its winning transaction, its Deposit
shall be credited towards the applicable purchase price(s). If a Successful Bidder (or Backup
Bidder, if applicable) fails to consummate a sale transaction because of a breach or failure to
perform on the part of such Successful Bidder (or Backup Bidder, if applicable), the Debtors will
not have any obligation to return the Deposit deposited by such Successful Bidder (or Backup
Bidder, if applicable), and such Deposit shall irrevocably become property of the Debtors.

13.    Fiduciary Out.

        Nothing in these Bidding Procedures shall require the board of directors, board of
managers, or such similar governing body of any of the Debtors to take any action, or to refrain
from taking any action, with respect to these Bidding Procedures, to the extent such board of
directors, board of managers, or such similar governing body determines, or based on the advice
of counsel, that taking such action, or refraining from taking such action, as applicable, is required
to comply with applicable law or its fiduciary obligations under applicable law; provided, however,
that the Debtors shall provide the Consultation Parties with advance written notice of such action
or inaction within two business days prior to taking such action or inaction.




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                                 Exhibit 3

                                 Sale Notice




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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    MISSION COAL COMPANY, LLC, et al.,1                         )        Case No. 18-04177-TOM11
                                                                )
                                       Debtors.                 )        (Jointly Administered)
                                                                )

             NOTICE OF AUCTION FOR THE SALE OF THE DEBTORS’ ASSETS


       PLEASE TAKE NOTICE that on [●], 2018, the United States Bankruptcy Court for the
Northern District of Alabama (the “Court”) entered the Order (I) Authorizing the Debtors to Enter
Into and Perform Under the Stalking Horse Purchase Agreement, (II) Approving Bidding
Procedures for the Sale of the Debtors’ Assets, (III) Scheduling Hearings and Objection Deadlines
with Respect to the Sale (IV) Scheduling Bid Deadlines and an Auction, (V) Approving the Form
and Manner of Notice Thereof, (VI) Approving Contract Assumption and Assignment Procedures,
and (VII) Granting Related Relief [Docket No. [●]] (the “Bidding Procedures Order”),2
authorizing the above-captioned debtors and debtors in possession (collectively, the “Debtors”) to
conduct an auction (the “Auction”) to select the party or parties to purchase the Debtors’ assets.
The Auction will be governed by the bidding procedures approved pursuant to the Bidding
Procedures Order (attached to the Bidding Procedures Order as Exhibit 2, the “Bidding
Procedures”).

Copies of the Bidding Procedures Order, the Bidding Procedures, or other documents related
thereto are available upon request to Omni Management Group by calling 888-585-6494 (United
States and Canada) and 818-906-8300 (International) or visiting the Debtors’ restructuring website
at https://www.omnimgt.com/missioncoal/.

       PLEASE TAKE FURTHER NOTICE that the Bid Deadline is Monday, January 21,
2019, at 4:00 p.m. (prevailing Central Time), and that any person or entity who wishes to



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak Grove Land Company,
      LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC (6070); Pinnacle Mining
      Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631); Seminole Coal Resources, LLC
      (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal Resources, LLC (1816); and Seneca
      North American Coal, LLC (5102). The location of the Debtors’ service address is: 7 Sheridan Square, Suite
      300, Kingsport, Tennessee 37660.
2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
      Procedures Order or the Bidding Procedures, as applicable.




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participate in the Auction must comply with the participation requirements, bid requirements, and
other requirements set forth in the Bidding Procedures.

       PLEASE TAKE FURTHER NOTICE that the Debtors intend to conduct the Auction, at
which they will consider proposals submitted to the Debtors and their professionals, by and
pursuant to the Bidding Procedures as set forth in the Bidding Procedures Order, on Wednesday,
February 27, 2019, at 10:00 a.m. (prevailing Central Time), at the offices of Kirkland & Ellis
LLP, 601 Lexington Avenue, New York, New York 10022.

       PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to modify the
Bidding Procedures, in their reasonable business judgment in accordance with the Bidding
Procedures.

        PLEASE TAKE FURTHER NOTICE that Wednesday, March 20, 2019 at 10:00 a.m.
(prevailing Central Time) or as soon thereafter as the Debtors may be heard, shall be the date and
time for the hearing at which the Court will consider approval of the Sale (the “Sale Hearing”).



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Birmingham, Alabama           /s/ Daniel D. Sparks
Dated: December 5, 2018       Daniel D. Sparks
                              Bill D. Bensinger
                              CHRISTIAN & SMALL LLP
                              505 North 20th Street, Suite 1800
                              Birmingham, Alabama 35203
                              Telephone:     (205) 795-6588
                              Facsimile:     (205) 328-7234
                              Email:         ddsparks@csattorneys.com
                                             bdbensinger@csattorneys.com
                              - and -
                              James H.M. Sprayregen, P.C.
                              Brad Weiland (admitted pro hac vice)
                              Melissa N. Koss (admitted pro hac vice)
                              KIRKLAND & ELLIS LLP
                              KIRKLAND & ELLIS INTERNATIONAL LLP
                              300 North LaSalle
                              Chicago, Illinois 60654
                              Telephone:     (312) 862-2000
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                              Email:         james.sprayregen@kirkland.com
                                             brad.weiland@kirkland.com
                                             melissa.koss@kirkland.com
                              - and -
                              Stephen E. Hessler, P.C. (admitted pro hac vice)
                              Ciara Foster (admitted pro hac vice)
                              KIRKLAND & ELLIS LLP
                              KIRKLAND & ELLIS INTERNATIONAL LLP
                              601 Lexington Avenue
                              New York, New York 10022
                              Telephone:     (212) 446-4800
                              Facsimile:     (212) 446-4900
                              Email:         stephen.hessler@kirkland.com
                                             ciara.foster@kirkland.com

                              Co-Counsel to the Debtors




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                                 Exhibit 4

                                Cure Notice




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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    MISSION COAL COMPANY, LLC, et al.,1                              ) Case No. 18-04177-TOM11
                                                                     )
                                         Debtors.                    ) (Jointly Administered)
                                                                     )

                    NOTICE TO CONTRACT PARTIES TO POTENTIALLY
                ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                 YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
             OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
         EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
         OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

        PLEASE TAKE NOTICE that on [ ], 2018, the United States Bankruptcy Court for the
Northern District of Alabama (the “Court”) entered the Order (I) Authorizing the Debtors to Enter
Into and Perform Under the Stalking Horse Purchase Agreement, (II) Approving Bidding
Procedures for the Sale of the Debtors’ Assets, (III) Scheduling Hearings and Objection Deadlines
with respect to the Sale, (IV) Scheduling Bid Deadlines and an Auction, (V) Approving the Form
and Manner of Notice Thereof, (VI) Approving Contract Assumption and Assignment Procedures,
and (VII) Granting Related Relief [Docket No. [●]] (the “Bidding Procedures Order”),2 authorizing
the Debtors3 to conduct an auction (the “Auction”) to select the party to purchase the Debtors’
assets. The Auction will be governed by the bidding procedures approved pursuant to the Bidding
Procedures Order (attached to the Bidding Procedures Order as Exhibit 2, the “Bidding
Procedures”).

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures and the
terms of any Successful Bid, the Debtors may assume and assign to the Successful Bidder certain

1            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, include: Mission Coal Company, LLC (8465); Beard Pinnacle, LLC (0637); Oak
             Grove Land Company, LLC (6068); Oak Grove Resources, LLC (0300); Pinnacle Land Company, LLC
             (6070); Pinnacle Mining Company, LLC (7780); Seminole Alabama Mining Complex, LLC (6631);
             Seminole Coal Resources, LLC (1795); Seminole West Virginia Mining Complex, LLC (7858); Seneca Coal
             Resources, LLC (1816); and Seneca North American Coal, LLC (5102). The location of the Debtors’ service
             address is: 7 Sheridan Square, Suite 300, Kingsport, Tennessee 37660.
2            All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
             Bidding Procedures Order.

3            This relief granted in the Bidding Procedures Order is solely limited to the Debtors.




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of the Assigned Contracts listed on the Assigned Contracts Schedule, attached hereto as Exhibit A,
to which you are a counterparty, upon approval of the Sale. The Assigned Contracts Schedule can
also be viewed on the Debtors’ Case Website (https://www.omnimgt.com/missioncoal/). The
Debtors have conducted a review of their books and records and have determined that the cure
amount for unpaid monetary obligations under such Assigned Contracts is as set forth on
Exhibit A attached hereto (the “Cure Costs”).

         PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Costs,
object to a proposed assignment to the Successful Bidder of any Assigned Contract, or object to
the ability of the Successful Bidder to provide adequate assurance of future performance with
respect to any Assigned Contract, your objection must: (i) be in writing; (ii) comply with the
applicable provisions of the Bankruptcy Rules, Local Bankruptcy Rules, and any order governing
the administration of these chapter 11 cases; (iii) state with specificity the nature of the objection
and, if the objection pertains to the proposed Cure Costs, state the correct cure amount alleged to
be owed to the objecting Contract Counterparty, together with any applicable and appropriate
documentation in support thereof; and (iv) be filed with the Court and served and actually
received no later than [March 6, 2019, at 4:00 p.m.] (prevailing Central Time) (the “Cure
Objection Deadline”) by the Court and the following parties: (a) counsel for the Debtors,
Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn.: Melissa Koss and 601
Lexington Avenue, New York, New York 10022, Attn: Ciara Foster; (b) counsel for the DIP
Lenders, Akin Gump Strauss Hauer & Feld LLP, Attn.: Lisa Beckerman and Arik Preis;
(c) counsel for the Official Committee of Unsecured Creditors, Lowenstein Sandler LLP, 1251
Avenue of the Americas, New York, New York 10020, Attn.: Jennifer Kimble and Jeffrey Cohen;
and (d) the Bankruptcy Administrator for the Northern District of Alabama.


        PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Costs(s),
(b) the proposed assignment and assumption of any Assigned Contract, or (c) adequate assurance
of the Successful Bidder’s ability to perform is filed by the Cure Objection Deadline, then (i) you
will be deemed to have stipulated that the Cure Costs as determined by the Debtors are correct,
(ii) you will be forever barred, estopped, and enjoined from asserting any additional cure amount
under the proposed assigned Assigned Contract, and (iii) you will be forever barred, estopped, and
enjoined from objecting to such proposed assignment to the Successful Bidder on the grounds that
the Successful Bidder has not provided adequate assurance of future performance as of the closing
date of the Sale.


       PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption
and assignment of an Assigned Contract or related Cure Costs in connection with the Successful
Bid that otherwise complies with these procedures yet remains unresolved as of the
commencement of the Sale Hearing, shall be heard at a later date as may be fixed by the Court.

        PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
listing of any Assigned Contract on the Cure Notice does not require or guarantee that such
Assigned Contract will be assumed by the Debtors at any time or assumed and assigned, and all
rights of the Debtors and the Successful Bidder with respect to such Executory Contracts and/or
Unexpired Leases are reserved. Moreover, the Debtors explicitly reserve their rights, in their


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reasonable discretion, to seek to reject or assume each Assigned Contract pursuant to
section 365(a) of the Bankruptcy Code and in accordance with the procedures allowing the Debtors
and/or the Successful Bidder, as applicable, to designate any Assigned Contract as either rejected
or assumed on a post-closing basis.

        PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the
prepetition nature of the Assigned Contracts or the validity, priority, or amount of any claims of a
counterparty to any Assigned Contract against the Debtors that may arise under such Assigned
Contract, (ii) creates a postpetition contract or agreement, or (iii) elevates to administrative
expense priority any claims of a counterparty to any Assigned Contract against the Debtors that
may arise under such Assigned Contract.



                           [Remainder of page intentionally left blank]




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